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             EXHIBIT 8
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                CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER


                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


E. JEAN CARROLL,
                   Plaintiff,

                                                  No. 20 Civ. 7311 (LAK) (JLC)
      v.

DONALD J. TRUMP, in his personal capacity,

                   Defendant.




           EXPERT REPORT OF PROFESSOR ASHLEE HUMPHREYS, PHD

                                   October 14, 2022
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   I. INTRODUCTION

      A. Qualifications

      I am a Professor of Integrated Marketing Communications at Medill School of Journalism

and Professor of Marketing at the Kellogg School of Management, Northwestern University. I

hold a Doctorate in Marketing from the Kellogg School of Management with a concentration in

Cultural Sociology and a Bachelor of Arts degree in Economics and Philosophy from

Northwestern University.

      I have been on the faculty at Northwestern University for 14 years, regularly teaching

classes on Social Media, Consumer Research, and Marketing Research. I instruct students on

both the strategic and analytical tasks of Marketing, which include assessing the impact of social

media campaigns and strategically directing a portfolio of social media tools to pursue

managerial goals involving persuasion, advertising, market growth, and branding.

      My current research focuses on social media and online communities. I am the author of

Social Media: Enduring Principles (Oxford University Press, 2016), a review and synthesis of

the empirical social science research on social media. My research on social media includes a

project looking at the development of norms and institutions on social media platforms like

Wikipedia and YouTube. I also have conducted recent research in the area of online search and

search engine optimization, including a project in which I use text analysis to identify consumer

goals that, when matched, can optimize advertising spending and increase click-through rates. In

this work, I have developed and refined the method of automated text analysis, which I use to

analyze textual data—a method I helped introduce to Marketing.




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      My broader research agenda concerns the role of institutions in markets. My dissertation

research examined how markets are created through shifts in social structure using the case of

casino gambling in America. This research (“Megamarketing: The Creation of Markets as a

Social Process, Journal of Marketing, 2010) was selected as a lead article in the Journal of

Marketing.

      I have received several accolades for my research. I was runner up for the Maynard Award

for best paper in Marketing. I have also won the Sidney J. Levy award in 2010 for the

contribution of my dissertation research to Consumer Culture Theory. In addition, I was named

an MSI Young Scholar in 2012 and have been selected as an MSI Scholar in 2020, one of a

select group of 35 Marketing Scholars who are counted “amongst the most prominent marketing

scholars in the world,” according to Barbara Kahn, MSI’s Executive Director.

      My full CV and list of matters in which I have testified is attached as Appendix A.


      B. Assignment

      I was engaged by Kaplan Heckler & Fink LLP on behalf of E. Jean Carroll to create an

analytic model to (1) estimate the number of impressions for the allegedly defamatory statements

(“Statements”) that were made by Donald Trump on June 21, 22, and 24, 2019, and circulated on

social and traditional media (“Impressions Model”), (2) analyze the impact, if any, of these

Statements by estimating the percentage of people who may have been receptive to these

Statements and assess the damage to Ms. Carroll’s reputation and person brand (“Impact

Model”), and (3) provide a model to estimate costs for reputational repair based on the impact of

those impressions (“Damages Model”) on behalf of Ms. Carroll in connection with the above-



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captioned case.1, 2

      The analysis detailed in this report provides an estimate of the impressions across social

and traditional media channels and their reputational impact in order to assess reputational harm

based on the information provided to me by Counsel and my independent research. Specifically,

it takes into account the multi-channel dissemination of the Statements across social media like

Twitter, traditional media like the New York Times and CNN, and websites like the Huffington

Post and the Washington Examiner.

      My analysis is presented as of October 14, 2022. On October 12, 2022, Mr. Trump made a

new statement regarding Ms. Carroll, reiterating many of the defamatory claims against Ms.

Carroll.3 Given the recency of this statement, and that the extent of its dissemination is not yet

known, it has not been incorporated into the models used to calculate damages to Ms. Carroll’s

reputation. I reserve the right to amend or supplement my opinions in consideration of this new

information or if other new information becomes available to me.


      C. Summary of Opinions

      After reviewing the data provided in this case, performing independent research and

analysis, and based on my own professional background, prior research, education, and more


1
     I was assisted in the preparation of this report by a team of research assistants at Voluble Insights, whom I
     supervised. Throughout my report, I use the word “I” to refer to work conducted by myself or work Voluble
     implemented under my direction.
2
     For the purposes of writing this report, I am being compensated at a rate of $600 per hour, subject to a 15
     percent discount. I will be compensated at a rate of $1,000 per hour for deposition testimony, and at a rate of
     $1,000 per hour for trial testimony, subject to the same 15 percent discount. My compensation is in no way
     contingent on the nature of my findings, the presentation of my findings in this report or subsequent
     testimony, or the outcome of this or any other proceeding. I have no other interest in this proceeding.
3
     https://truthsocial.com/@realDonaldTrump/posts/109158644496040450;
     https://truthsocial.com/@realDonaldTrump/posts/109158586745522514.



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than a decade of experience in the field of digital communication and marketing, I conclude the

following with a reasonable degree of certainty:

   A. Person brands are well-known people who also possess a set of brand meanings and
      associations that have value. Person brands are formed through exposure in a media
      system. They have social and cultural capital and can become devalued when an
      unpredictable event occurs, or if a negative claim is made about the person. A person
      brand that has a general popular following can be especially harmed by negative claims,
      even if only a subset of the public believes the claims. Their reputation relies on a
      “generalized perception” among the public, and public opinions and individual beliefs
      can shift when people take cues from their surroundings, including what they learn in the
      media. The damage to a person brand can be severe and lasting, no matter if the person at
      issue is at fault or whether their primary followers believe the claims.

   B. Once a popular advice columnist at Elle Magazine, Ms. Carroll had invested many years
      in forming and maintaining a person brand as a wise, personable, and insightful truth-
      seeker. As a celebrated writer, she had a broad readership, reaching about 4.5 million Elle
      readers.

   C. Mr. Trump made the at-issue Statements on June 21, 22, and 24, 2019, about Ms. Carroll
      in response to her allegation that Mr. Trump had sexually assaulted her in the mid-1990s
      in the dressing room of a Bergdorf Goodman department store in New York City. These
      Statements made by Mr. Trump, an extraordinarily high-profile person, have received
      wide and sustained dissemination and media coverage.

   D. A measure of the dissemination of the Statements is possible using an information
      cascade model to estimate impressions on social media and with ratings, circulation, and
      web traffic data to estimate impressions on traditional media. I have identified between
      142,334,424 and 188,155,507 impressions generated by Mr. Trump’s Statements
      (“Impressions Model”). This very high number of impressions reflects the prominence of
      Mr. Trump, but nonetheless is a conservative estimate for the reasons I detail in the
      description of the Impressions Model.

   E. The impressions Mr. Trump’s Statements generated across online and traditional media
      impacted Ms. Carroll’s person brand. It is possible to quantify some, but not all, of the
      negative impact. Through a qualitative analysis of media coverage, search trends, and
      comments about Ms. Carroll, it is clear that there was a significant shift in the nature of
      Ms. Carroll’s person brand. Associations with her shifted from her role as an advice
      columnist to her association with Mr. Trump. A high volume of negative and vicious
      messages has continued to be posted up to the present, indicating that her person brand
      has been, and continues to be harmed.



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   F. In an attempt to quantify at least a portion of the impact these Statements had on Ms.
      Carroll’s brand, I applied academic research and industry estimates related to audience
      composition to estimate that, of the impressions collected, an average of 25.45% of the
      impression recipients were likely receptive to Mr. Trump’s message, resulting in an
      estimated range of 34,075,512 to 42,936,354 receptive impressions that should be
      corrected (i.e., impressions that may have been received by those who likely found those
      Statements credible; “Impact Model”).

   G. The utterance and circulation of Mr. Trump’s Statements caused short- and long-term
      harm to Ms. Carroll’s person brand, shifting perceptions associated with her person brand
      with the general public and specific perceptions amongst a group of people receptive to
      the claims. Ms. Carroll’s reputational value has been diminished due to the Statements.
      This kind of reputational harm has long-lasting effect on her ability to capitalize on her
      person brand in the future because Ms. Carroll has lost control of her brand, which she
      worked for decades to develop.

   H. A holistic, integrated campaign is needed to effectively create attitudinal change and in
      turn repair reputational damage. In such a campaign, the corrective message would need
      to come from a trusted source and would need to ensure that the audience is exposed to
      the message multiple times. For example, one such solution to reputation repair is to
      enlist the help of multiple online intermediaries and sources that consumers trust. The
      campaign would need to take into account where the target audience gets their news.
      Using my estimates for the quantifiable impact of Mr. Trump’s Statements (i.e., the
      34,075,512 to 42,936,354 receptive impressions that should be corrected) and research
      related to exposures required and media considerations costs, I estimate that the cost to
      counteract the impact of the defamatory claims is between $3,333,058.72 and
      $20,998,861.18 (“Damages Model”). Given the above-stated needs of the campaign, I
      believe the minimum appropriate corrective campaign to run would be the middle range,
      from $9,999,176.17 to $12,599,316.71.

   I. My estimates of the impressions generated by the Statements, the quantification of the
      receptive impressions, and the costs of the corrective campaign are all conservative.
      Among other things, I consider only a subset of the impressions generated by Mr.
      Trump’s Statements and do not attempt quantify the significant impact of Mr. Trump’s
      status as then-President. Therefore, I undercount the receptive impressions and the costs
      needed to correct the receptive impressions.
      The materials I considered are noted in this report, provided as appendices or native files,

and/or listed in Appendix B. A glossary of technical terms used throughout my report can be

found in Appendix C.




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    II. CASE BACKGROUND

      A. The Parties

          i.   E. Jean Carroll

      Elizabeth Jean (E. Jean) Carroll is a journalist, author, former writer for Saturday Night

Live, and former advice columnist for Elle Magazine.4 Ms. Carroll wrote for Saturday Night

Live in the 1980sand hosted her own show called Ask E. Jean on MSNBC’s predecessor,

America’s Talking, from 1994 to 1996.5 Her work was featured in numerous major publications

including Rolling Stone, GQ, and Playboy. Ms. Carroll’s column for Elle Magazine, “Ask E.

Jean,” was at the time it was published, the longest running advice column in the United States.6

      Ms. Carroll is also the author of numerous books including Female Difficulties: Sorority

Sisters, Rodeo Queens, Frigid Women, Smut Stars, and Other Modern Girls, Hunter: The

Strange and Savage Life of Hunter S. Thompson, A Dog in Heat Is a Hot Dog and Other Rules to

Live By, Mr. Right, Right Now, and What Do We Need Men For?: A Modest Proposal.7

         ii.   Donald J. Trump

      Donald John Trump is an American businessman, media personality, and politician who

served as the 45th president of the United States from 2017 to 2021.8 He was a real estate

developer who owned and/or had his name on numerous hotels, casinos, golf courses, and other

buildings in New York and around the world.9 In 2004, Mr. Trump starred in “The Apprentice”


4
     https://www.elle.com/author/4913/e-jean/
5
     https://www.usatoday.com/story/money/2019/07/03/e-jean-carroll-new-york-circuit-donald-trump-assault-
     accusation/1584135001/
6
     https://www.amazon.com/E-Jean-Carroll/e/B000AP7CJM
7
     https://www.goodreads.com/author/show/30738.E_Jean_Carroll
8
     https://www.britannica.com/biography/Donald-Trump
9
     https://www.britannica.com/biography/Donald-Trump



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(later known as “The Celebrity Apprentice”), a reality television competition series where he

judged aspiring business people based on his business experience.10 He hosted for 14 seasons

until 2015.11

      In July 2016, Mr. Trump was nominated as the Republican presidential candidate and

ultimately won the 2016 U.S. presidential election.12 Throughout his time as president, Mr.

Trump enjoyed significant support from Republican voters, with an average of 87% of

Republicans saying they approved his handling of the job from 2017 through 2020.13 After

serving one term as president, Mr. Trump lost his bid for re-election and officially left the White

House in January 2021.14

      Since leaving office, there have been a number of investigations into Mr. Trump, his

business dealings, and his handling of classified information.15 Despite these investigations, polls

show that support for Mr. Trump has remained consistent. Polls tracked by FiveThirtyEight

show that Mr. Trumps maintained a favorability rating of around 40% from February 2021

through October 2022.16 Favorability among Republican voters is even higher. A September

2022 New York Times-Siena College poll found that 90% of Republican respondents had either

a very favorable or somewhat favorable impression of Mr. Trump.17 Further, the same poll found



10
     https://www.nytimes.com/2020/09/28/arts/television/trump-taxes-apprentice.html
11
     https://www.cbsnews.com/news/donald-trump-officially-fired-from-the-celebrity-apprentice/
12
     https://www.cnn.com/2016/07/19/politics/donald-trump-republican-nomination-2016-election
13
     https://www.pewresearch.org/fact-tank/2020/08/24/trumps-approval-ratings-so-far-are-unusually-stable-and-
     deeply-partisan/
14
     https://time.com/5907973/donald-trump-loses-2020-election/;
     https://www.nytimes.com/2021/01/20/us/politics/biden-president.html
15
     https://time.com/6212677/donald-trump-investigations-explained/
16
     https://projects.fivethirtyeight.com/polls/favorability/donald-trump/
17
     https://www.nytimes.com/interactive/2022/09/16/upshot/september-2022-times-siena-poll-crosstabs.html



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that 91% of Republican respondents indicated they would vote for Mr. Trump, assuming he were

the Republican nominee and President Biden were the Democratic nominee in the 2024

election.18 In an August 2022 Ipsos poll, 59% of Republicans indicated that Mr. Trump should be

the Republican party nominee for the 2024 election.19


     B. Allegedly Defamatory Statements

      Mr. Trump made a series of three Statements in which he made allegedly defamatory

claims about Ms. Carroll.20 These Statements were made in response to the allegation by Ms.

Carroll in an excerpt from her forthcoming book that Mr. Trump sexually assaulted her in the

mid-1990s in the dressing room of a Bergdorf Goodman department store in New York City.21

      The first of the three Statements was released by Mr. Trump on June 21, 2019:

       “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me at
       Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is
       trying to sell a new book—that should indicate her motivation. It should be sold
       in the fiction section.

       “Shame on those who make up false stories of assault to try to get publicity for
       themselves, or sell a book, or carry out a political agenda—like Julie Swetnick
       who falsely accused Justice Brett Kavanaugh. It’s just as bad for people to believe
       it, particularly when there is zero evidence. Worse still for a dying publication to
       try to prop itself up by peddling fake news—it’s an epidemic.

       “Ms. Carroll & New York Magazine: No pictures? No surveillance? No video?
       No reports? No sales attendants around?? I would like to thank Bergdorf
       Goodman for confirming that they have no video footage of any such incident,



18
     https://www.nytimes.com/interactive/2022/09/16/upshot/september-2022-times-siena-poll-crosstabs.html
19
     https://www.ipsos.com/en-us/news-polls/Republican-voters-continue-to-view-Trump-as-the-partys-leader
20
     Throughout this report, when I use the phrase “defamatory statements,” I mean “allegedly defamatory
     statements” and am basing my opinion on the assumption that these statements are defamatory.
21
     https://www.cnbc.com/2019/06/21/e-jean-carroll-says-donald-trump-sexually-assaulted-her.html



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       because it never happened.

       “False accusations diminish the severity of real assault. All should condemn false
       accusations and any actual assault in the strongest possible terms.

       “If anyone has information that the Democratic Party is working with Ms. Carroll
       or New York Magazine, please notify us as soon as possible. The world should
       know what’s really going on. It is a disgrace and people should pay dearly for
       such false accusations.”22

      The second Statement was made to reporters at the White House on June 22:

       [Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll. There was a
       photograph of you and her in the late 1980’s—

       [Trump]: I have no idea who this woman is. This is a woman who has also
       accused other men of things, as you know. It is a totally false accusation. I think
       she was married—as I read; I have no idea who she is—but she was married to a,
       actually, nice guy, Johnson—a newscaster.

       [Reporter]: You were in a photograph with her.

       [Trump]: Standing with coat on in a line—give me a break—with my back to the
       camera. I have no idea who she is. What she did is—it’s terrible, what’s going on.
       So it’s a total false accusation and I don’t know anything about her. And she’s
       made this charge against others.

       And, you know, people have to be careful because they’re playing with very
       dangerous territory. And when they do that—and it’s happening more and more.
       When you look at what happened to Justice Kavanaugh and you look at what’s
       happening to others, you can’t do that for the sake of publicity.

       New York Magazine is a failing magazine. It’s ready to go out of business, from
       what I hear. They’ll do anything they can. But this was about many men, and I
       was one of the many men that she wrote about. It’s a totally false accusation. I
       have absolutely no idea who she is. There’s some picture where we’re shaking
       hands. It looks like at some kind of event. I have my coat on. I have my wife
       standing next to me. And I didn’t know her husband, but he was a newscaster. But

22
     Complaint, ¶82



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       I have no idea who she is—none whatsoever.

       It’s a false accusation and it’s a disgrace that a magazine like New York—which
       is one of the reasons it’s failing. People don’t read it anymore, so they’re trying to
       get readership by using me. It’s not good.

       You know, there were cases that the mainstream media didn’t pick up. And I
       don’t know if you’ve seen them. And they were put on Fox. But there were
       numerous cases where women were paid money to say bad things about me. You
       can’t do that. You can’t do that. And those women did wrong things—that women
       were actually paid money to say bad things about me.

       But here’s a case, it’s an absolute disgrace that she’s allowed to do that.23

      The final Statement was published in an interview with The Hill on June 24, 2019: “I’ll

say it with great respect: Number one, she’s not my type. Number two, it never happened. It

never happened, OK?”24

      I understand that these three Statements contained several allegedly defamatory claims

about Ms. Carroll, including: (1) that Mr. Trump did not rape Ms. Carroll, (2) that he had never

met Ms. Carroll, (3) that he had no idea who Ms. Carroll was, (4) that she had made up the

allegation to increase the sales of her book, (5) that she made up the allegation to carry out a

political agenda, (6) that she made up the allegation as part of a conspiracy against him by the

Democratic Party, (7) that she had falsely accused other men of sexual assault, and (8) that she

had been paid money to invent the rape accusation against him.25

      As discussed below, these three Statements received widespread circulation across print,




23
     Complaint, ¶¶ 91
24
     Complaint, ¶97
25
     Complaint, ¶¶81-100



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web, social, and traditional media outlets and directly impacted Ms. Carroll’s brand.


     III. THEORETICAL BACKGROUND

      A. Reputation and Reputational Damage

       Reputation is fundamentally a social concept; one’s reputation is determined by the social

esteem held among a bounded group of people, up to and including the public sphere at large.26

It has value in the sense that it gives someone social standing and respect in society. Reputation

has been conceptualized as property—something that has economic value—and as dignity—

something that has moral value.27

       Reputation is determined in the sphere of generalized public opinion, which encompasses

individual beliefs but is more than the sum of them, a “generalized perception.”28 What people

think their friends, family, coworkers, and other members of their community think is an

important determinate of an individual’s belief, particularly if one does not have strong opinions

about an issue or person. Over time, the beliefs of a subset of society, including what is

represented in the media, can shift in public opinion and generalized associations as people take

cues from those around them who believe differently.29 If someone is receptive to a claim—if it

is congruent with their other beliefs and/or if the claim comes from a source they trust—they


26
      Weber, Max (1922/1978), Economy and Society: An Outline of Interpretive Sociology, Vol. 2: University of
      California Press.
27
      Ardia, David S. (2010) “Reputation in a Networked World: Revisiting the Social Foundations of Defamation
      Law,” Harvard Civil Rights-Civil Liberties Law Review, 45(2), 261-328, p. 261.
28
      Weber, Max (1922/1978), Economy and Society: An Outline of Interpretive Sociology, Vol. 2: University of
      California Press. Sharman, Jason C. (2007) “Rationalist and constructivist perspectives on
      reputation.” Political Studies 55, no. 1: 20-37.
29
      Dewenter, Ralf, Melissa Linder, and Tobias Thomas (2019), “Can Media Drive the Electorate? The Impact of
      Media Coverage on Voting Intentions,” European Journal of Political Economy, 58, 245-61. Huang, J., et al.
      (2021). “Large-scale quantitative evidence of media impact on public opinion toward China,” Humanities and
      Social Sciences Communications, 8(1), 1-8.



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may only need to be exposed to it once to form a belief.30 If they are less receptive to the claim,

mere exposure, again from a trusted source, can eventually change attitudes through repetition.31

An individual’s receptivity to a claim is based on the process through which people process new

information, form beliefs, and integrate beliefs with prior knowledge.32 According to the balance

theory of attitudes,33 when people do not have a belief about a person, it is relatively easy to

create a belief, particularly when it is congruent with their other beliefs.34 However, once people

have a belief, it is harder to change that belief and requires multiple exposures, often from

several different, trusted sources.35

          i.    Reputational Repair

      Reputational repair is a matter of public good and must occur in relation to the public

sphere and the sphere in which it was originally damaged. To quantify the damage to one’s

reputation, one must look to the cost to repair rather than the cost to inflict reputational harm. I



30
     Heider, Fritz (1946), “Attitudes and Cognitive Organization,” The Journal of Psychology, 21(1), 107-12,
     Hummon, Norman P and Patrick Doreian (2003), “Some Dynamics of Social Balance Processes: Bringing
     Heider Back into Balance Theory,” Social Networks, 25 (1), 17-49.
31
     Cialdini, Robert B (1987), Influence, Vol. 3: A. Michel Port Harcourt, Sterrett, David, Dan Malato, Jennifer
     Benz, Liz Kantor, Trevor Tompson, Tom Rosenstiel, Jeff Sonderman, and Kevin Loker (2019), “Who Shared
     It?: Deciding What News to Trust on Social Media,” Digital Journalism, 7 (6), 783-801.
32
     Ajzen, I. (1985). From intentions to actions: A theory of planned behavior. In J. Kuhl & J. Beckmann (Eds.),
     Action control: From cognition to behavior. Berlin, Heidelberg, New York: Springer-Verlag. (pp. 11-39).;
     Heider (1946); Cacioppo, J. T. and R. E. Petty (1980), “Persuasiveness of Communications Is Affected by
     Exposure Frequency and Message Quality: A Theoretical and Empirical Analysis of Persisting Attitude
     Change,” Current Issues and Research in Advertising, 3 (1), 97-122.
33
     Heider, Fritz (1946), “Attitudes and Cognitive Organization,” The Journal of Psychology, 21 (1), 107-12.
34
     Kunda Z. (1990), The case for motivated reasoning. Psychological Bulletin, 108(3):480-98.; Housholder and
     LaMarre (2014), Facebook Politics: Toward a Process Model for Achieving Political Source Credibility
     Through Social Media, Journal of Information Technology & Politics, 11:368–382; Festinger, L. (1962),
     “Cognitive dissonance.” Scientific American 207(4): 93-106.; Kahneman and Tversky (1974), Judgment
     under Uncertainty: Heuristics and Biases, Vol. 185, No. 4157, pp. 1124-1131.
35
     Cacioppo, John & Petty, Richard. (1979). Effects of message repetition and position on cognitive response,
     recall, and persuasion. Journal of Personality and Social Psychology. 37. 97-109.; Housholder and LaMarre
     (2014); Weiss, Robert Frank (1969), “Repetition of Persuasion,” Psychological Reports, 25 (2), 669-70.



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therefore provide three models: a model that estimates the impressions that initially created the

reputational beliefs, a model to estimate the percentage of readers or viewers who were receptive

to those claims, and a model of damages that estimates the cost to repair reputational damage.

         ii.   Person Brands and Brand Value

      Human, or person, brands are “well-known persona[e] who [are] the subject of marketing

communications efforts,” and have been shown to enhance consumers’ feelings of autonomy and

relatedness to the brand and others.36 Starting from attachment theory, scholars have researched

the ways in which consumers and audiences form attachments to people—who themselves

become brands—through exposure in a media system.37 Human brands are both biographical

people and brands—constellations of meaning—and these two elements form interdependences

as the actions of biographical people can affect their brand value.38 Brand value is the aggregate

of associations with a brand.39 If those associations change, brand value can be diminished.

      Person brands can become devalued when unpredictable or unforeseen events occur to

them.40 Fournier and Eckhardt (2019), for example, find that mortality, hubris, unpredictability,

and social embeddedness underlie the value of human brands and have the potential to build or




36
     Thomson, M. (2006). Human Brands: Investigating Antecedents to Consumers’ Strong Attachments to
     Celebrities. Journal of Marketing, 70(3), 104–119, p. 104.
37
     Dyer (1979) Heavenly Bodies: Film Stars and Society; Thomson (2006); Parmentier, Marie-Agnès, Eileen
     Fischer, and A Rebecca Reuber (2013), “Positioning Person Brands in Established Organizational Fields,”
     Journal of the Academy of Marketing Science, 41 (3), 373-87; Fournier, S., & Eckhardt, G. M. (2019).
     Putting the Person Back in Person-Brands: Understanding and Managing the Two-Bodied Brand. Journal of
     Marketing Research, 56(4), 602–619.
38
     Fournier and Eckhardt (2019).
39
     Keller, K.L. (1993) Conceptualizing, Measuring, and Managing Customer-Based Brand Equity, Journal of
     Marketing, 57:1, 1-22.
40
     Dyer (1979) Heavenly Bodies: Film Stars and Society; Gamson (1994) Claims to Fame: Celebrity in
     Contemporary America.



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diminish brand value. As Fournier and Eckhardt say, “the meaning and daily manifestations of

person-brands are inherently socially embedded in a web of relationships that the person-brand

cannot control, escape, or ignore.”41 That is, if an unpredictable event or claim is made about the

person, it affects their brand because of their embeddedness within a social system.42 The

damage to a person brand can be severe and lasting. This damage can persist, even when they are

not at fault.43 It can persist even when their primary fans or followers do not believe the claims.44

Loss of value for a person brand, particularly a person brand that has a general popular

following, can be harmed even if only a subset of the public believes the negative claims. Person

brands have social and cultural capital.45 This capital can become harmed, thereby affecting their

overall brand value to a popular audience.

      Although it may be difficult to repair reputational damage on social media, it is possible,

actionable, and important to the restoration of reputation. As Ardia (2010) notes:

       Although the global communication networks that are the hallmarks of our
       networked society have brought new reputational challenges, they also provide
       novel solutions to prevent and ameliorate those harms. One such solution is to
       enlist, through legal and social incentives, the help of private online
       intermediaries such as content hosts and search providers. These intermediaries
       play a central role in community governance and are often in a position to



41
     Fournier and Eckhardt (2019) p. 611.
42
     Fournier and Eckhardt (2019).
43
     David, John (2016), How to Protect (or Destroy) Your Reputation Online: The Essential Guide to Avoid
     Digital Damage, Lock Down Your Brand, and Defend Your Business: Red Wheel/Weiser.
44
     Luedicke, Marius K, Craig J Thompson, and Markus Giesler (2010), “Consumer Identity Work as Moral
     Protagonism: How Myth and Ideology Animate a Brand-Mediated Moral Conflict,” Journal of consumer
     research, 36 (6), 1016-32.
45
     Brooks, Gillian, Jenna Drenten, and Mikolaj Jan Piskorski (2021), “Influencer Celebrification: How Social
     Media Influencers Acquire Celebrity Capital,” Journal of Advertising, 50 (5), 528-47, Parmentier, Marie-
     Agnès, Eileen Fischer, and A Rebecca Reuber (2013), “Positioning Person Brands in Established
     Organizational Fields,” Journal of the Academy of Marketing Science, 41 (3), 373-87.



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       recognize and respond to reputational harms.46

      The public in which the reputational harm originally occurred persists on social media and

may have limited exposure to traditional media.47 Given the fracture of media audiences in the

last 10 years, new forms of media are required to reach what was formerly a relatively unified

“public” of news readers and TV viewers. Accordingly, an attempt to repair reputational harm

must now account for new channels of communication and for the importance of sources in the

communication process.


      B. Reputational Damage in a Complex Media System

      Assessing reputational damage is complex when the public sphere is fragmented by

aspects of digital technology such as filter bubbles, political polarization, ranking algorithms,

reputational cues, such as followers, and the proliferation of claims both true and false.

Understanding how the “public sphere” is constructed online requires understanding how social

media platforms filter and display content and how multiple platforms—traditional television

and print in addition to web and social media—disseminate information.

          i.   The Media System

      When a prominent person makes a claim, it enters the media system, a network of

platforms and people who circulate information.48 As illustrated in Figure 1 below, the media


46
     Ardia (2010).
47
     https://www.pewresearch.org/journalism/2020/01/24/democrats-report-much-higher-levels-of-trust-in-a-
     number-of-news-sources-than-republicans/
48
     Chadwick, Andrew (2017), The Hybrid Media System: Politics and Power: Oxford University Press; Curran,
     James, Shanto Iyengar, Anker Brink Lund, and Inka Salovaara-Moring (2009) “Media System, Public
     Knowledge and Democracy: A Comparative Study,” European Journal of Communication, 24 (1), 5-26;
     Gans, Herbert J (2004), Deciding What’s News: A Study of CBS Evening News, NBC Nightly News,
     Newsweek, and Time: Northwestern University Press.



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system consists of press briefings or reports; Associated Press or other syndication; print and

web coverage by major print and broadcast news outlets; podcasts and radio; social media posts

on Twitter and Facebook or other platforms; comments, retweets, and likes to a story; and, in

some instances, re-coverage of the claims themselves in traditional journalism or social media,49

to say nothing of word-of-mouth conversation and other informal channels such as rumor or

gossip.50 The spread of information, particularly when it originates from a high-profile individual

like Mr. Trump, is vast and sweeping. The claims of high-profile figures tend to receive more

coverage, and more sustained coverage, than others due to the routines of the newsroom and

reporting and the effects of status on public attention.51




49
     Pfeffer, Jürgen, Thomas Zorbach, and Kathleen M Carley (2014), “Understanding Online Firestorms:
     Negative Word-of-Mouth Dynamics in Social Media Networks,” Journal of Marketing Communications, 20
     (1-2), 117-28; Tuchman, Gaye (1978), Making News: A Study in the Construction of Reality, New York: Free
     Press; Curran (2009); Messner, Marcus and Marcia Watson Distaso (2008), “The Source Cycle: How
     Traditional Media and Weblogs Use Each Other as Sources,” Journalism Studies, 9 (3), 447-63.
50
     Rosnow, Ralph L. and Gary A. Fine (1976), Rumor and Gossip: The Social Psychology of Hearsay: Elsevier.
51
     Grabe, Zhou & Barnett, 1999; Gans, Herbert J (2004), Deciding What’s News: A Study of Cbs Evening News,
     Nbc Nightly News, Newsweek, and Time: Northwestern University Press; Sigal, Leon V (1973), “Bureaucratic
     Objectives and Tactical Uses of the Press,” Public Administration Review, 336-45; Whitney, D Charles,
     Marilyn Fritzler, Steven Jones, Sharon Mazzarella, and Lana Rakow (1989), “Geographic and Source Biases
     in Network Television News 1982‐1984,” Journal of Broadcasting & Electronic Media, 33 (2), 159-74.



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                                   Figure 1. The Media System52




      Estimating the number of impressions for a Statement requires itemizing impressions from

each source that disseminated the Statement. As Figure 1 above illustrates, that means that one

would need to calculate and then sum the number of impressions from, at a minimum, (1) web

and social media, (2) print, and (3) television.

         ii.   Social Media Impressions

      On social media, impressions are estimated by calculating an information cascade.53 To

model the impact of the Statements, I rely on the prior work in sociology, computer science, and

information systems concerning cascades and social networks. To understand what might be

needed to change attitudes and repair reputation, I rely on research from social psychology and

marketing concerning persuasion, media exposure, and developing effective integrated media




52
     I have grayed out media types that I am not considering in my quantitative analysis.
53
     Vosoughi, Soroush, Deb Roy, and Sinan Aral (2018), “The Spread of True and False News Online,” Science,
     359 (6380), 1146-51.



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campaigns that include social media advertising. A brief overview of prior research is necessary

to understand how impressions and damage are calculated.

      Networks and Information Cascades. Unlike traditional media, messages travel on social

media through a network—a system of users connected by exchanges of information. The

network structure—how many connections one has and how many connections those

connections have—can determine whether and how fast a message travels through the network.

Social capital is represented in the network by the number of followers, or connections, one has,

and greatly increases how broadly and deeply a message spreads. If one sends a message, it has

the potential reach of not only all of one’s followers, but all of their followers as well.

Additionally, false news spreads more broadly, more deeply in the network, and faster online

than true news.54

      Social media is a hybrid of mass and face-to-face communication.55 In mass media like

television or news, there is typically one source that sends messages out to many readers or

viewers (known as one-to-many communication). In face-to-face distribution of rumors,

messages are transmitted from one person to another, usually one at a time. In social media,

messages are transmitted both through hubs (one-to-many) and dyadically, creating chains of

messages called information cascades. The time it takes for the message to move from one

person to another in the information cascade is typically a day for traditional media but can be

only a few hours to seconds for online communication, leading to rapid dissemination of both




54
     Vosoughi et al. (2018).
55
     Humphreys, A. (2015). Social Media: Enduring Principles, Oxford University Press.



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true and false news.56

      Impression Rate. Although the number of followers is a measure of reach, it represents

only the potential impressions of a message. Information competes for attention in any attention

economy.57 Although a message may be tweeted to all followers, it is not necessarily seen by that

number of followers for a variety of reasons: only a subset of followers will sign on that day,

they follow a certain number of accounts, or ranking algorithms may not prioritize the content.

For these reasons, information scientists incorporate an impression rate when calculating social

media impressions, which represents the chance that the message was seen by a follower.58

      Engagement Rate. Engagement rate represents the percent of people who engage with—

retweet or like—a post. It has two components: ‘liking rate’ and ‘retweet rate’. Here, I

computationally consider only a subset of the engagement rate: the retweet rate, which is defined

as the percent chance that the message was retweeted (or quote tweeted).59 Only a fraction of

social media posts are seen, and only a fraction of those are retweeted or liked. While not

directly used in my calculation of impressions, ‘liking’ can be used in some algorithms to rank or

promote content. In short, content that is ‘liked’ by more people is likely to be prioritized and

therefore to be viewed by more people.60 Engagement can be used to understand impact in that it

reflects response to the statement. In social and web forms of media, comments can further



56
     Pfeffer et al. (2014); Vosoughi et al. (2018).
57
     Davenport, T. H. and J. C. Beck (2013). The attention economy: Understanding the new currency of business,
     Harvard Business Press.
58
     Wang et al. (2016); https://martech.org/facebook-twitter-impressions/.
59
     A quote tweet is a retweet with comment (https://help.twitter.com/en/using-twitter/types-of-tweets). When
     reporting the total number of retweets generated by a post, Twitter combines the number of retweets with the
     number of quote tweets.
60
     Newswhip (2019). 2019 Guide to Publishing on Facebook. http://go.newswhip.com/rs/647-QQK-
     704/images/Facebook%20Publishing%202019_Final.pdf.



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constitute and amplify the impact of false information.61

      Impression vs. Individuals. Scholarship on media viewership has provided two ways to

measure audiences: as people and as impressions. New media like social and digital media tends

to be measured in impressions62 while old media tends to be measured in reach, or people.63 One

individual may receive multiple impressions. That is, some people may receive multiple

exposures to a Statement while others may receive only one exposure. I assume that for media

broadcast on television, one viewer represents one impression and do not consider the number of

times a viewer was exposed to a statement during a broadcast, which is conservative. As I will

discuss in the Damages section, I also lower my estimate of the number of exposures needed in a

corrective campaign in order to account for the fact that the impressions generated by a

corrective campaign may reach some people more frequently than others.

       Calculating Impressions. To model the total number of impressions in an information

cascade, one calculates and sums the number of impressions that occur at each level in the

network.64 To calculate the total number of impressions at each level requires also determining

how many diffused to the next level of the network, multiplied by the chance those messages

were seen, and then adding the number of impressions at the next level, and so on (see Figure 2

below).




61
     Vosoughi et al. (2018).
62
     https://theraveagency.com/blog/finding-the-value-in-twitter-impressions.
63
     Gensch, Dennis and Paul Shaman (1980), “Models of Competitive Television Ratings,” Journal of Marketing
     Research, 17 (3), 307-15, Picard, Robert G (1988), “Measures of Concentration in the Daily Newspaper
     Industry,” Journal of Media Economics, 1 (1), 61-74.
64
     Vosoughi et al. (2018).



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                                       Figure 2. Information Cascade




          Social media. Social media impressions are measured based on the number of followers
           to an account, the account’s estimated impression rate, the number of retweets, the
           impression rate of retweeters, and their number of followers at the second level.

          The Impressions Model section details the particular parameters chosen given this prior

literature and the data presented in the case.

            iii.   Traditional Media Impressions

          Methods for calculating the number of impressions generated by traditional, mass media

have been in use since at least 1942.65 Because ratings are tied to advertising revenue, metrics are

carefully audited by services like Nielsen and the Alliance for Audited Media (AAM).66



65
         Buzzard, Karen (2012), Tracking the Audience: The Ratings Industry from Analog to Digital.
66
         https://markets.nielsen.com/us/en/solutions/measurement/television/ and
         https://auditedmedia.com/Solutions/Print-Publisher-Audits.



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Paradigms for measuring circulation and readership are well established in media and

communication scholarship.67 I therefore use the following measures of impression:

      Television. Television impressions are measured through viewership, the ratings derived
       from independently audited services like Nielsen.68

      Print. Print impressions are measured through circulation, the number of readers as reported
       by the AAM.69

      Web impressions. Though existing online, articles published on websites tend to be more
       ‘traditional’ in nature because viewership can be estimated by the amount of traffic or page
       views. I use the number of daily users, discounted by the bounce rate (the percent of users
       who do not perform an action on the site).

      Total impressions. Total impressions are calculated as the total of impressions across social
       media, television, print, and web.

         C. Assessing Damages for Defamation Online: Adapting Traditional Approaches to
            the Sphere of Social Media

             i.    Rectifying Harm to Reputation Online

           Traditional approaches to rectifying reputational harm involve attempts to repair

     reputation in the public sphere.70 However, social media has complicated these traditional

     approaches in a few ways. Some aspects of social media such as filter bubbles and echo

     chambers have fragmented the public sphere such that it is unclear how or where reputation

     repair can and should take place. Secondly, trust in traditional media has declined across the

     ideological spectrum.71 Whereas legitimate sources of news once went unquestioned, assessing

     trust of the source is now a primary concern of users when assessing claims both in social and


67
         Gensch & Shaman (1980); Picard (1988).
68
         https://markets.nielsen.com/us/en/solutions/measurement/television/
69
         https://auditedmedia.com/Solutions/Print-Publisher-Audits
70
         Ardia (2010).
71
         https://www.pewresearch.org/fact-tank/2021/08/30/partisan-divides-in-media-trust-widen-driven-by-a-
         decline-among-republicans/



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     traditional media—and this is true regardless of political ideology.72 Finally, increasing

     polarization73 in the American context means that attitudes have become more entrenched and

     therefore harder to change.74 In this section, I provide a brief overview of the theories necessary

     for understanding how reputational harm can occur, and be repaired, through social media.

           Prior cases have taken a traditional approach to assessing damages to reputation in the

     public sphere. For example, in the case of United States v. Macys.com, Inc. (D. Del. July 26,

     2000),75 the remedy for alleged violation of consumers’ expectations relating to product

     shipping time was the purchase of banner advertising on search engines to inform consumers

     about their rights when shopping online. However, the traditional approach represented by prior

     cases fails to take into account the new and complex technological infrastructure for

     communication, the erosion of trust in mass media particularly among the audience likely to be

     receptive to the Statements (i.e., people on the political right and/or supporters of Mr. Trump)76

     and the importance of personal sources that are trusted by the individual for news online.

     Persuasion online now includes influencers, social networking, and live video in addition to

     search and display advertising. The educational campaign of United States v. Bayer Corp., No.

     07-01(HAA) (D.N.J. Jan. 4, 2007) is more akin to the current state of social media. In this case,

     an educational campaign was required as remediation that included a consumer brochure,


72
         https://www.pewresearch.org/journalism/2020/01/24/democrats-report-much-higher-levels-of-trust-in-a-
         number-of-news-sources-than-republicans/
73
         https://www.pewresearch.org/politics/interactives/political-polarization-1994-2017/
74
         Conover, Michael, Jacob Ratkiewicz, Matthew Francisco, Bruno Gonçalves, Filippo Menczer, and
         Alessandro Flammini. “Political polarization on Twitter.” In Proceedings of the International AAAI
         Conference on Web and Social Media, Vol. 5, No. 1, pp. 89-96. 2011; Prior, Markus. “Media and political
         polarization.” Annual Review of Political Science 16 (2013): 101-127.
75
         https://www.ftc.gov/sites/default/files/attachments/training-materials/enforcement.pdf.
76
         https://www.pewresearch.org/fact-tank/2021/08/30/partisan-divides-in-media-trust-widen-driven-by-a-
         decline-among-republicans/



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     advertisement for that brochure, and placement of the information with key opinion leaders and

     gatekeepers, such as physicians. In this way, remediation for reputational harm entails working

     with multiple sources that consumers trust to counter false claims.


         D. Media Exposure and Counter-Attitudinal Attitude Change

          To understand how to assess the costs for repairing reputational harm on social media, one

must understand the process of attitude change, also known as persuasion.77 Source, message,

and even media type can play a role in how many exposures it requires to change attitudes.78 For

someone who holds a weak attitude or no attitude about someone or something, one exposure to

a message from a reasonably credible source is likely to be enough to change attitudes.79

However, for someone with entrenched beliefs, source and message quality become very

important, and changing that belief requires more than a few exposures from a single source.80

Due to confirmatory bias,81 people are likely to attend to information that confirms or is

congruent with their existing beliefs and ignore or discount information that is counter to them.

The more entrenched the belief, the more exposures required to change attitudes. For these

reasons, changing an attitude that is counter to one’s existing set of beliefs is exceedingly hard

and potentially requires multiple messages from multiple trusted sources.

          Here, a trusted source means a person or entity that is trusted by the user or reader, not

necessarily a source that would be deemed trustworthy by the public at large. Platforms like


77
         Cialdini R. B., R. E. Petty, J. T. Cacioppo. (1981). Attitude and Attitude Change, Annual Review of
         Psychology.
78
         Albarracin, D., and Shavitt, S. (2018). Attitudes and attitude change. Annual Review of Psychology, 69, 299–
         327; Cialdini et al. (1981).
79
         Cialdini et al. (1981).
80
         Cialdini et al. (1981).
81
         Kahneman and Tversky (1974).



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newspapers and websites can be the source, but they can also convey the information of sources

that may or may not be trusted. Research in psychology and communication shows that readers

and viewers can distinguish between the media source and the individual source when

interpreting a message.82 For example, a reader may not trust the New York Times but may trust

direct quotes attributed to a trusted source reported by the New York Times.

      On social media, attitude change can be even more complex. Filter bubbles mean that

users are likely to see only information that is congruent with their present and past beliefs and

behaviors83 and come from selective media sources that viewers trust.84 Due to homophily, we

tend to know and follow others who have the same attitudes that we do. As Garrett (2009) notes,

multiple messages coming from multiple sources about the same event or fact create the

impression for the user that the event is indeed true and that the belief is universally held.

      In all media, but particularly social media, messages are received, trusted, and interpreted

relative to their source. Social capital (i.e., how many people you know) and status (i.e.,

legitimacy) of a source is important. Messages that come from sources with no social capital

(i.e., no followers) do not have the same strength as those that come from sources with

considerable social capital.85 Because trust of unfamiliar sources is typically lacking online,86


82
     Bakker, Tom, Damian Trilling, Claes de Vreese, Luzia Helfer, and Klaus Schönbach (2013). “The Context of
     Content: The Impact of Source and Setting on the Credibility of News,” Recherches en Communication, 40,
     151-68.
83
     Pariser (2011), “The Filter Bubble: What the Internet Is Hiding from You.”
84
     https://www.pewresearch.org/journalism/2020/01/24/democrats-report-much-higher-levels-of-trust-in-a-
     number-of-news-sources-than-republicans/.
85
     Kruglanski, A. W., and Gigerenzer, G. (2011). “Intuitive and deliberate judgments are based on common
     principles”: Correction to Kruglanski and Gigerenzer (2011). Psychological Review, 118(3), 522–522.
     https://doi.org/10.1037/a0023709
86
     Metzger, M. J., and Flanagin, A. J. (2013). Credibility and trust of information in online environments: The




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known and trusted sources are particularly important when communicating messages attempting

to change attitudes online.87 In this sense, attitude change requires the message to come from

inside the filter bubble and requires considering a number of trusted sources within the echo

chamber to influence opinion.

       In sum, if harm is caused amongst a population who do not trust traditional media, the

most effective way to repair it is through alternative informational channels the audience trusts

and that mirror where people get their news.88


     IV. IMPRESSIONS MODEL

       The Impressions Model section details the particular parameters chosen given this prior

literature and the data presented in the case. In order to estimate the number of impressions

generated by the Statements, I reviewed and analyzed news coverage of the claims, including

53 online news articles, 55 social media posts, 63 television broadcasts, and 14 print articles.


      A. Web Impressions

       The web impressions analysis is limited to the set of 52 online news articles89 cited in the

Complaint in footnotes 9-14. In these footnotes, the Complaint list a set of online sources that

reported on the Statements.




      use of cognitive heuristics. Journal of Pragmatics, 59, 210–220.
      https://doi.org/10.1016/j.pragma.2013.07.012.
87
      Liu, Shixi, Cuiqing Jiang, Zhangxi Lin, Yong Ding, Rui Duan, and Zhicai Xu (2015), “Identifying Effective
      Influencers Based on Trust for Electronic Word-of-Mouth Marketing: A Domain-Aware Approach,”
      Information Sciences, 306, 34-52.
88
      For example, 35% of Republicans reported trusting national news media: https://www.pewresearch.org/fact-
      tank/2021/08/30/partisan-divides-in-media-trust-widen-driven-by-a-decline-among-republicans/
89
      Please note, my analysis incorporates 53 unique URLs as the June 21, 2019 article by Yahoo! News appeared
      on both news.yahoo.com and sports.yahoo.com.



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      To estimate the number of web impressions, I used data provided by Semrush, a company

that provides website traffic statistics.90 Semrush reports unique monthly visitors, and I

transformed this measure to daily visitors by dividing unique monthly visitors by 30. Further, to

account for people who visit the site but do not perform any other action, I multiplied daily

visitors by 1 minus the bounce rate (see Figure 3 below). A table showing the online articles

considered and the impressions estimate is included as Appendix D.


                                         Figure 3. Equation 1
           Web Impressions = (Unique Monthly Visitors/30)*(1-bounce
                                    rate)



      B. Social Media Impressions

      The social media impressions analysis is limited to the set of tweets that (a) link to one of

the 53 online news stories I considered in my analysis of web impressions, (b) were published by

the primary account of the publisher or the article’s author, and (c) contain one of the defamatory

claims contained in the Statements when viewed by a user (i.e., a user who sees the tweets is

exposed to a defamatory claim even if they do not click through to the article). A total of 55

tweets met the three criteria.

      To measure social media impressions, one must estimate the percent of followers who saw

a particular message. As described above, this is called the impression rate. Impression rates vary

depending on the number of followers and the other contextual conditions in the system such as



90
     https://www.semrush.com/kb/26-traffic-analytics



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competition for attention on any given day.91 Impression rates for Twitter are estimated at

between 1.3% to 2.6% for typical users.92 However, that range can vary depending on number of

followers, publisher/non-publisher status, frequency and relevance of tweets, and other variables.

Sites aimed at creating shareable content, including political news, can have impression rates up

to 22%.93 Account holders can directly view their impression rate for each tweet, but otherwise

the information is not publicly available. Buzzfeed, for example, has an impressions rate of 22%,

which is convergent with conventional marketing goals that aim for a rate of 20%,94 but lower

than the 30% rate that Twitter suggested in 2014.95

       Based on all publicly available information, I provide estimates using two impression

rates. The first estimate comes from Wang et al.’s (2016) formula for calculating impressions

given the total number of followers in the cascade, retweets, and followers of the original tweet

(Equation 2a). Equation 2a can be used to estimate impressions for each account, given the

account’s number of followers, the number of retweets, and the followers of the retweeters. This

means that each tweet has a unique impression rate. Wang et al. (2016) develop this equation

from a full set of data taken from Buzzfeed and Buzzfeed News and its associated accounts

(average followers at the time of Wang et al.’s analysis: Buzzfeed = 2.8 million, BuzzfeedNews

= 470,000). Based on a full set of data, they are able to provide an estimate of impressions given



91
     Wang et al., 2016; https://martech.org/facebook-twitter-impressions/.
92
     https://martech.org/facebook-twitter-impressions/
93
     https://martech.org/facebook-twitter-impressions/
94
     https://www.tweetbinder.com/blog/twitter-impressions/; https://marxcommunications.com/what-does-
     impressions-mean-on-twitter/
95
     Ad Age (2014). “Twitter Tells Brands They Can Reach 30% of Their Followers for Free,”
     https://www.adweek.com/performance-marketing/twitter-tells-brands-they-can-reach-30-their-followers-free-
     158886/.



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known and public data like followers and retweets. As a conservative step, I took into account

the potential presence of bots as followers in my estimation although it may be unnecessary in

this model.96

      The impressions estimate generated by Equation 2a may be considered low for a number

of reasons. First, Buzzfeed, from which the equation was developed, is an account that has had

and continues to have considerably fewer followers than many accounts in our data set (e.g.,

Buzzfeed2022 = 6.3 million followers vs. New York Times2022 = 54.4 million, Washington

Post2022 = 19.9 million).97 Secondly, as large publications, people are likely to be exposed to

these accounts because they are considered more legitimate than a site like Buzzfeed News.98

Finally, because they are high status, “standard-bearers” of news, people often tweet them to

share relevant, official news stories. In addition, I account for the potential presence of bots as

followers, 12.6%, based on recent estimates in computer science.99 The formula used to calculate

impressions using Equation 2a is displayed in Figure 4 below. The formula is applied for each of

the 55 tweets considered in the social media impressions analysis.




96
     This may be an unnecessarily conservative step, as Wang et al. (2016) formed their estimate of parameters
     from a set of known and actual impressions provided by Twitter, which may have already accounted for bots.
97
     Data were collected October 7th, 2022.
98
     https://www.pewresearch.org/journalism/2020/01/24/democrats-report-much-higher-levels-of-trust-in-a-
     number-of-news-sources-than-republicans/
99
     Luceri, L., Deb, A., Giordano, S., & Ferrara, E. (2019). Evolution of bot and human behavior during
     elections. First Monday, 24(9). https://doi.org/10.5210/fm.v24i9.10213



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                                            Figure 4. Equation 2a
             Social Media Impressions = 10^(0.7396 log(TF*(1-bot rate))
                                         +
                    0.0473 log(PF*(1-bot rate)) + 0.1027 log(RT))

Where:
         PF (primary followers) = number of followers of original tweet
         RT (retweets) = number of retweets to the original post
         TF (total followers) = average number of followers of all retweets*RT100 + number of
         followers of original poster (PF)
         Bot rate = 0.126

         Given the differences between Buzzfeed and some of the accounts in the Twitter dataset,

I calculated a second estimate of impressions based on an impression rate of 20% (Equation

2b).101 Not only was Buzzfeed itself purported to have a rate close to this, but it is also a rate

used as a marketing “rule of thumb” as a benchmark for most major accounts.102 Given the size

and the influence of some of the accounts in the dataset, 20% is a reasonable and likely estimate

for impression rate. Here, I again used 12.6% to account for potential bots.103 In this equation, I

include impressions at both the first level (i.e., the number of followers of the original tweet and

an impression rate of 20%) and the second level of the information cascade (i.e., the number of



100
      To collect the number of followers for all retweets, I used the Twitter API to search for both retweets and
      quote tweets (retweets with comment) of each of the 55 original tweets considered in the social media
      impressions analysis. I then filtered out any tweets that don’t reference the original tweet (e.g., retweets of
      quote tweets). After analyzing the data, I found a discrepancy between the number of retweets displayed on
      www.Twitter.com and the number of retweets I was able to collect. The discrepancy is likely due to users
      whose accounts are private and/or protected, meaning their data is not retrievable using Twitter’s API. Using
      the list of retweets and quote tweets I assembled, I collected the Tweet IDs of each user who posted a retweet
      or quote tweet and used Brandwatch to collect the follower count of each of the users at the time they posted
      the retweet or quote tweet. I then averaged the follower counts of each retweeters or quote tweeter for each of
      the 55 original tweet and multiplied the average by the number of retweets.
101
      https://martech.org/facebook-twitter-impressions/.
102
      https://www.tweetbinder.com/blog/twitter-impressions/.
103
      Luceri et al. (2019)



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retweets multiplied by the average number of followers held by people who retweeted and an

impression rate of a “typical” Twitter user of 1%104). The formula used to calculate impressions

using Equation 2b is displayed in Figure 5 below. The formula is applied for each of the 55

tweets considered in the social media impressions analysis. A table showing the tweets

considered and the impressions estimate (using both Equation 2a and Equation 2b) is included as

Appendix E.


                                             Figure 5. Equation 2b
                  Social Media Impressions = followersfirst-level*first level
                  impression rate *(1-bot rate)+retweets*followerssecond-
                      level*second level impression rate*(1-bot rate)


Where:

         Followersfirst-level = number of followers of the original tweet
         First level impression rate = 0.2
         Bot rate = 0.126
         Followerssecond-level = average number of followers of all retweets105
         Second level impression rate = 0.01


      C. Television Impressions

       To measure television impressions, I relied on the TV News Archive, a database

maintained by the Internet Archive, a non-profit archive of content from television, internet, and

audio, among many other sources.106 The Internet Archive’s TV News Archive allows users to



104
      https://martech.org/facebook-twitter-impressions/
105
      I used the same process described above to collect data on the average number of followers of all retweets. I
      collected a list of all retweets and quote tweets of the 55 original tweets using the Twitter API. Using that list,
      I collected the follower accounts of all users who published a retweet or quote tweet from Brandwatch. I then
      averaged the follower counts of each retweeters or quote tweeter for each original tweet and multiplied the
      average by the number of retweets.
106
      https://archive.org/details/tv



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search through the closed captioning of broadcasts. To identify broadcasts to incorporate into the

television impressions analysis, I searched through the closed captioning of broadcasts

mentioning “E Jean Carroll” from June 21, 2019, to June 27, 2019, from the following stations:

ABC, Fox, NBC, MSNBC, CBS, and CNN. After identifying the broadcasts, I searched through

the closed captioning to identify broadcasts that referenced the Statements. Please note, I

considered only broadcasts that included verbatim quotes from Mr. Trump’s Statements. The

search yielded a total of 63 broadcasts.

       To estimate the number of impressions these programs received, I consulted public reports

of viewership for each program from 2019,107 which are usually derived from Nielsen. Where

possible, I collected the Live + Same Day108 or P2+109 ratings estimates for the program in which

a Statement appeared. If I was unable to find ratings estimates associated with a specific

program, I relied on the average total day viewership for the network for the quarter or year

closest to June 2019. To be conservative, I only counted ratings for a particular program once per

day, even if a program appeared multiple times in the search results. For instance, the search

results include two broadcasts of Anderson Cooper 360 on June 21, 2019, one at 5pm-6pm

PDT110 and another at 8pm-9pm PDT.111 Even though both airings mention the Statements (and



107
      e.g., https://deadline.com/2020/09/abc-news-world-news-tonight-viewership-2019-20-1234582089/.
      Wherever possible, I relied on ratings estimates from June 2019 or second quarter of 2019 or. In some
      instances, it was not possible to collect data from that time period. In these cases, I relied on data that
      averages viewers from 2018 to 2019 and from 2019 to 2020.
108
      Live + Same Day is an estimate of the number of households that watched a program while it aired or
      watched it via DVR on the same day the program aired.
      (https://thevab.com/storage/app/media/Toolkit/mediaterminologyformulas.pdf;
      https://www.hollywoodreporter.com/tv/tv-news/tv-ratings-explained-a-guide-what-data-all-means-1245591/)
109
      P2+ is an estimate of the persons aged 2 or older who watched a program.
110
      https://archive.org/details/CNNW_20190622_000000_Anderson_Cooper_360/
111
      https://archive.org/details/CNNW_20190622_030000_Anderson_Cooper_360



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thereby generated two separate impressions), my analysis only incorporates ratings for one

airing. Similarly, CNN’s New Day with Alisyn Camerota and John Berman appeared in the

search results two times on June 22, 2019, once between 3am-4am PDT112 and again between

4am-5am PDT.113 New Day is a three-hour long morning show that the TV News Archive split

into three hour-long blocks. I am only counting once instance of New Day in my calculations

even though viewers would have been exposed to a Statement twice.114 A table showing the

broadcasts considered, the ratings estimate, and the source of the rating estimate is included as

Appendix F.


      D. Print Impressions

       To capture the spread of the news stories in print as well as online, I searched for print

articles covering the Statements from the publications I considered in my analysis of web

impressions. Using ProQuest’s U.S. Newstream database, a database of all U.S. news from 1980

to present,115 I searched for newspaper articles containing “E Jean Carroll” in the publications of

interest from June 21, 2019, to June 27, 2019. All articles returned by the search were reviewed

to ensure they mentioned at least one of the Statements. The search yielded 11 articles from six

news publications that mentioned the Statement.




112

       https://archive.org/details/CNNW_20190625_100000_New_Day_With_Alisyn_Camerota_and_John_Berma
      n/
113

       https://archive.org/details/CNNW_20190625_110000_New_Day_With_Alisyn_Camerota_and_John_Berma
      n/
114
      Additionally, I am also not considering whether the statements appeared multiple times within a one-hour
      block.
115
      https://about.proquest.com/en/products-services/nationalsnews_shtml/



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        To estimate the number of print impressions, I used the data provided by the Alliance for

Audited Media, a widely accepted standard for measuring print audience size that determines

advertising rates.116 I was able to find audience estimates for only five of the six publications.

Only the nine articles from these five publications with audience estimates contributed to the

print impressions estimate. A table showing the print articles considered and the circulation is

included as Appendix G.


      E. Total Impressions

       I calculated both a high and low estimate for impressions of Mr. Trump’s Statements. The

low estimate is calculated with social media impression rate using Equation 2a. The high

estimate is calculated with industry standard impression rate to estimate social media

impressions using Equation 2b.117 To calculate the total impressions across media, I aggregated

views/impressions for the (1) social media impressions, (2) TV impressions, (3) print

impressions, and (4) web impressions (see Figure 6 below).


                                            Figure 6. Equation 3
        Total impressions = social media impressions + TV impressions
                    + print impressions + web impressions


       Figure 7 below summarizes the results of the impressions analysis.




116
      https://auditedmedia.com/about/who-we-are
117
      Please note, in four cases the impressions associated with the “low” estimate are higher than the “high”
      estimate. Nonetheless, the “high” estimate is much higher than the “low” estimate overall.



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                                      Figure 7. Total Impressions
                     Social
                                        Web              Print                TV                  Total
                    Media
      High         63,040,041         13,922,234         2,613,232         108,580,000          188,155,507
      Low          17,218,959         13,922,234         2,613,232         108,580,000          142,334,424

      High=impression rate of 20% for first level followers, 1% for second level followers (Sullivan
      2014)
      Low=median impression rate of 5.2% (Wang et al. 2016)



       The Statements generated between 142,334,424 and 188,155,507 impressions between

June 21, 2019, and September 6, 2022, the time frame from which data were collected for this

analysis.

            i.   Other Impressions Not Calculated into Model

       There are a number of impressions that my estimate does not take into account. Equations

2a and 2b adjust for different impression rates, but they omit many significant sources of

impressions due to data availability or clarity. This makes both estimates a considerable

undercount of impressions.

       Web Impressions. Online news impressions are limited to the articles cited in the

Complaint. I did not count other online news articles that covered or discussed the Statements.

Additionally, some of the articles I did consider were authored by the Associated Press118 and



118
      The analysis incorporates five versions of two Associated Press articles. Darlene Superville, Trump Denies
      Knowing NY Woman Accusing Him of Sexual Assault, ASSOCIATED PRESS (June 22, 2019); Darlene
      Superville, Trump Denies Knowing E. Jean Carroll, Woman Accusing Him of Sexual Assault in Department
      Store, ABC NEWS (June 22, 2019); Associated Press, Trump on E. Jean Carroll Sexual Assault Claim:
      “She’s Not My Type”, HOLLYWOOD REP. (June 25, 2019); Associated Press, Trump Says Famed Advice
      Columnist Who Accused Him of Sexual Assault Is “Not My Type”, CHI. TRIB. (June 24, 2019); Associated
      Press, Trump: Woman Who Accused Him of Sexual Assault Not His Type, DENVER POST (June 24, 2019).



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Reuters.119 Although it likely that identical (or very similar) versions of these articles appeared in

multiple publications, I did not count these impressions due to the inability to access traffic

numbers for each of these websites. For instance, the June 25, 2019, Hollywood Reporter article,

titled “Trump on E. Jean Carroll Sexual Assault Claim: ‘She’s Not My Type,’” appeared in at

least 20 additional publications.120 Further, the June 22, 2019, Associated Press article, titled

“Trump Denies Knowing NY Woman Accusing Him of Sexual Assault” appeared in at least 7

additional publications.121




119
      The analysis incorporates two versions of the same Reuters article: Doina Chiacu, Trump Denies Woman’s
      Sexual Assault Accusation: “She’s Not My Type”, BUS. INSIDER (June 25, 2019); and Doina Chiacu,
      Trump Denies Woman’s Sexual Assault Accusation: “She’s Not My Type”, REUTERS (June 25, 2019).
120
      https://www.pbs.org/newshour/politics/trump-says-woman-who-accused-him-of-sexual-assault-is-not-his-
      type; https://www.insider.com/trump-woman-who-accused-him-of-sexual-assault-not-his-type-2019-6;
      https://abcnews.go.com/Politics/wireStory/trump-woman-accused-sexual-assault-type-63921054;
      https://www.localsyr.com/news/politics/trump-woman-who-accused-him-of-sexual-assault-not-his-type/;
      https://libn.com/2019/06/25/trump-says-woman-accusing-him-of-sexual-assault-not-my-type;
      https://www.ksbw.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-author-in-
      store/28180018; https://www.abqjournal.com/1332620/trump-woman-who-accused-him-of-sexual-assault-
      not-his-type.html; https://lasvegassun.com/news/2019/jun/24/trump-woman-who-accused-him-of-sexual-
      assault-not/; https://www.deseret.com/2019/6/24/20676380/trump-woman-who-accused-him-of-sexual-
      assault-not-his-type; https://wjla.com/news/nation-world/trump-woman-who-accused-him-of-sexual-assault-
      not-his-type; https://www.kcci.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-
      author-in-store/28180018; https://www.wvtm13.com/article/shes-not-my-type-president-trump-denies-
      sexually-assaulting-author-in-store/28180018; https://www.theguardian.com/us-news/2019/jun/25/donald-
      trump-says-assault-accuser-e-jean-carroll-not-my-type; https://www.fox35orlando.com/news/trump-said-
      woman-who-accused-him-of-sexual-assault-not-his-type.amp; https://www.abc27.com/news/us-
      world/politics/trump-woman-who-accused-him-of-sexual-assault-not-his-type/;
      https://www.wtae.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-author-in-
      store/28180018; https://www.kmbc.com/article/shes-not-my-type-president-trump-denies-sexually-
      assaulting-author-in-store/28180018; https://www.kcra.com/article/shes-not-my-type-president-trump-denies-
      sexually-assaulting-author-in-store/28180018#; https://www.nbcboston.com/news/politics/trump-e-jean-
      carroll/108391/; and https://www.necn.com/news/local/trump-e-jean-carroll/220418/.
121
      https://www.marketwatch.com/story/new-york-advice-columnist-claims-trump-sexually-assaulted-her-in-
      mid-1990s-2019-06-22; https://www.gazettenet.com/Carroll-26480259; https://www.usnews.com/news/best-
      states/new-york/articles/2019-06-21/trump-faces-new-sexual-assault-allegation-he-issues-denial;
      https://www.pressherald.com/2019/06/23/trump-denies-knowing-ny-woman-accusing-him-of-sexual-assault/;
      https://www.ksl.com/article/46579012/trump-denies-knowing-ny-woman-accusing-him-of-sexual-assault;
      https://www.courthousenews.com/trump-denies-knowing-ny-woman-accusing-him-of-sexual-assault/; and
      https://www.wwltv.com/article/news/trump-issues-denial-after-new-sexual-assault-allegation/507-33064ca1-
      b511-40e2-bbe2-57e7d672fc9f.



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         Social Media Impressions. I limited social media impressions to those generated from

tweets published by the primary account of the publisher or the article author. While I did

consider the retweets and quote tweets of the 55 original tweets, I did not consider retweets to

quote tweets even though a user who navigates to a quote tweet will be shown the text of the

original tweet. Data suggests that some of the quote tweets generated significant engagement.

For instance, four quote tweets122 of The Hill’s original tweet123 published at 7:40 am ET on June

25 generated over 100 retweets. One of those quote tweets generated over 2,000 retweets.124 For

comparison, the combined total of all retweets generated by the original tweets I considered was

5,560.

         Additionally, I did not consider any tweets from other publishers of stories covering Mr.

Trump’s Statements, tweets from users who shared links to the 52 articles (or other articles

containing the Statements), or tweets in which users repeated or otherwise amplified the

Statements.

         Additionally, the social media impressions analysis does not consider impressions

generated on other platforms, such as Facebook and Reddit because it is difficult to find research

or publicly available data on impression rates for platforms other than Twitter. Nonetheless,

there is evidence that the 52 online news articles I considered in my web impressions analysis

were shared widely on those platforms. Using CrowdTangle,125 a social media insights tool


122
      https://twitter.com/1/status/1142180829835255808; https://twitter.com/1/status/1142184727492878336;
      https://twitter.com/1/status/1142197820826501120; and https://twitter.com/1/status/1142226611380600832.
123
      https://twitter.com/1/status/1143477200148189184.
124
      https://twitter.com/Olivianuzzi/status/1142197820826501120.
125
      Meta provides a free and publicly accessible CrowdTangle extension for the Chrome browser that allows




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owned and operated by Meta,126 I searched for instances where the 52 articles were shared on

Facebook and Reddit. CrowdTangle data were available for 39 of the news articles considered,127

yielding a total of 588 shares and 396,390 interactions, disseminating to 476,196,543

followers.128 On average, the data from CrowdTangle suggest that each article was shared 15

times and generated more than 10,000 interactions per article. Given the high number of shares

and the overall number of followers associated with those shares, it is clear that my estimate of

social media impressions is a significant undercount of the actual impressions generated.

       Television Impressions. I limited the television impressions analysis to broadcasts

contained in the Internet Archive’s TV News Archive database from the following broadcasters:

ABC, Fox, NBC, MSNBC, CBS, and CNN. I did not include television shows that paraphrased

Mr. Trump’s claims but did not directly quote. For example, The Tucker Carlson Show, which

averaged over 2.8 million viewers at the time,129 covered the issue for 12 minutes on June 25,

2019,130 but I did not include it. Additionally, I only counted ratings for a particular program


      users to track shares of webpages across multiple social media platforms
      (https://apps.crowdtangle.com/chrome-extension). For each share in CrowdTangle’s database, the Chrome
      extension provides a list of each share, the number of interactions (i.e., the number of reactions, upvotes,
      likes, comments, and shares) generated by that share, and the total number of followers associated with the
      share. (Followers are defined as “The sum of Page Likes, Instagram followers, Twitter followers, or
      Subreddit subscribers for all of the matching results.”) The browser extension does not track reach or
      impressions generated by a post nor does the list of shares incorporate data from private or restricted
      accounts.
126
      https://help.crowdtangle.com/en/articles/4201940-about-us
127
      It was not possible to find shares of the Washington Examiner article, likely due to the way the Washington
      Examiner structures its URL. Instead of generating URLs with unique identifiers, articles are assigned tags
      (in this case, the tag was “donald-trump”) and stored on a single webpage in reverse chronological order. As a
      result, using the CrowdTangle Chrome extension returns the shares of all articles assigned the “Donald
      Trump” tag, rather than shares of the specific at-issue article.
128
      To arrive at the total number of followers, I summed together all the followers associated with each share. It
      was not possible to deduplicate unique followers across different articles and channels.
129
      https://www.forbes.com/sites/markjoyella/2021/06/15/tucker-carlson-has-most-watched-show-in-cable-news-
      as-fox-leads-basic-cable-for-17-straight-weeks/?sh=6c4a2379661c
130
      https://archive.org/details/tv.



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once in a day, even if a program was aired multiple times in day. I also did not consider the

number of times a Statement was mentioned during a broadcast, even though multiple mentions

of a Statement generate multiple impressions.

       Print Impressions. I limited the print impressions analysis to publications that published

an online news article that was cited in the Complaint. I did not count other print news articles

about Carroll that may have mentioned the claims, even though I was able to find 33 print

articles via ProQuest published between June 22, 2019, and September 28, 2022, that referenced

the Statements.131 None of these 33 articles overlapped with the 14 articles I considered in my

analysis. Further, only five of the six publications contributed to the impressions estimate

because I was unable to find publicly available circulation for all six publications.

       Other Sources of Impressions. I did not include podcast impressions, although there is

anecdotal evidence that these claims were discussed on podcasts and radio shows like The Kevin

Jackson Show and the New York Times’ The Daily.132 I did not include impressions generated

from people who were exposed to the Statements in article headlines while browsing Google

News, Apple News, or other news aggregating applications. As well, I did not include face-to-

face pass-along of the claims.

       For these reasons, the estimate of impressions I provide is a conservative estimate in

which several sources of further dissemination were not taken into account. A summary of



131
      Proquest search query of US Newstream: (e jean carroll) AND (stype.exact(“Newspapers”) AND
      ps.exact(“Carroll, E Jean”))
132
      https://www.listennotes.com/podcasts/the-kevin-jackson/20190626-h1-s1-e-jean-FQEPcIrl3Rk/,
      https://www.listennotes.com/podcasts/the-kevin-jackson/20190626-h1-s2-e-jean-4OxWMCNKko_/, and
      https://www.listennotes.com/podcasts/the-daily/corroborating-e-jean-carroll-PfFq5DHZoag/



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conservative steps taken in the impressions analysis is included in Appendix J.


   V. IMPACT ASSESSMENT

      In this section, I provide an impact assessment to evaluate the nature and amount of harm

done to Ms. Carroll’s person brand as a result of Mr. Trump’s Statements. The impact of these

Statements should be viewed both qualitatively and quantitatively.

      In the qualitative assessment, I assess the nature of the Statements and their more

generalized harm to a brand that faces a general (rather than niche) public. I also take into

account the nature of the associations and their likely harm to the person brand of a professional

woman and assess the long-term nature of this harm. These are dynamics that occur on the

sociocultural level and therefore require more qualitative assessment. Further, they impact the

generalized social perceptions of Ms. Carroll, thereby diminishing her reputational value to

speak to a broad and diverse public. As such, this kind of reputational harm may impact her

ability to capitalize on her person brand in the future.

      I also provide a quantitative impact assessment to link the impressions estimate with the

damages estimate. How many people saw and might have believed or been receptive to Mr.

Trump’s Statements? There are some who would have read/heard his Statement and dismissed it

out of hand. While the Statement itself may represent some generalized harm, to calculate a fair

estimate to rectify the more specific harm, one must take into account the fact that not everyone

may have read/heard and readily believed Mr. Trump’s Statements. Yet, political science

provides tools for estimating the quantitative impact by incorporating the likelihood that a reader

or viewer would have been receptive to Mr. Trump’s Statements.



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      A. Qualitative Impact Assessment

       To conduct the qualitative impact analysis, I relied on materials publicly available from

before and after Mr. Trump’s Statements on June 21, 22, and 24, 2019. These include media

coverage of Ms. Carroll both before and after the Statements,133 Amazon reviews of her

books,134 negative social media comments generated after the Statements, and negative messages

sent privately to Ms. Carroll.

       Prior to the Statements on June 21, 2019, Ms. Carroll was a popular advice columnist at

Elle Magazine, where she had been a mainstay for 25 years.135 Her brand personality was that of

a sassy dating advice columnist and author of books on a range of topics, including dating,

culture, and the life of Hunter S. Thompson. As the columnist of “Ask E. Jean” at Elle, she

reached about 4.5 million readers, according to her publisher.136 Ms. Carroll was known widely

for her personable, modern advice for women.137 Over the years of her popularity, she was

heralded as “feminism’s answer to Hunter S. Thompson.”138 She is the author of A Dog in Heat

is a Hot Dog and Other Rules to Live By, (1996) and Mr. Right, Right Now! (2005), books that

offer “sassy” dating and personal advice.139 Former Elle editor-in-chief Robbie Myers, who until




133
      Proquest search query of US Newstream: (e jean carroll) AND (stype.exact(“Newspapers”) AND
      ps.exact(“Carroll, E Jean”)).
134
      https://www.amazon.com/product-reviews/0060530286 and https://www.amazon.com/product-
      reviews/0525935681/.
135
      Deposition of Robbie Myers, October 12, 2022, 31:20-22, 32:4-12;
      https://www.nytimes.com/2020/02/19/business/media/e-jean-carroll-elle.html.
136
      https://web.archive.org/web/20200520030235/http:/www.ellemediakit.com/r5/showkiosk.asp?listing_id=574
      8326. I was unable to find readership data prior to 2020.
137
      Deposition of Robbie Myers, October 12, 2022, 23:7-24:4.
138
      Quammen, David. “A Cheap Hide Out for Writers.” New York Times. 01 Nov 1981: A.14.
139
      Joan Kelly. “Get a Grip and Take Some Sassy but Sane Advice from Elle’s E. Jean.” Newsday. 22 Mar 1994:
      B.13.



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2017 was Ms. Carroll’s boss,140 described her as a gifted, beloved writer:

        “That’s a -- the term that came to mind is sort of she’s a baller, meaning she’s --
        as a writer. She's a gifted writer. She is a journalist first and everything that she
        writes is informed by that, meaning the facts, but she -- she also, you know, has a
        lot of wit and I think that’s why her readers loved her so much.”141

       Ms. Myers noted Ms. Carroll’s “high public profile” and credited her with elevating the

national advice column genre and building trust with her readers by being witty but grounded in

the facts of journalism:

        “…I mean, what other people are doing is great, right, and it’s fun and interesting,
        but women really trusted E. Jean and we got lots of feedback from readers that
        she helped them. Also, you know, they loved her voice because she puts a lot of
        funny in there or sort of -- but it’s always undergirded by reporting.”142

       Ms. Myers stated that Ms. Carroll had made significant positive contributions to Elle in

helping to build the magazine’s audience both in print and online, which resulted in both a raise

and increased space allotted to the “Ask. E. Jean” column.143

          i.    Reception to Ms. Carroll’s Professional Work

       Ms. Carroll was known to her readers as a “a sharp and funny social commentator, and a

terrific journalist,”144 offering “sassy female insights.”145 Ms. Carroll was noted for dishing out

“SASSY BUT SANE ADVICE,” “E. Jean’s PUNCHY wisdom SHINES in compilation.”146

        “E. Jean Carroll, with her razor-sharp insights and wildly popular way of serving

140
      Deposition of Robbie Myers, October 12, 2022, 9:11-13.
141
      Deposition of Robbie Myers, October 12, 2022, 21:15-22.
142
      Deposition of Robbie Myers, October 12, 2022, 22:12-18.
143
      Deposition of Robbie Myers, October 12, 2022, 28:9-14, 28:18-21, and 32:9-12
144
      https://www.amazon.com/gp/customer-
      reviews/RD84I3FPD8DS1/ref=cm_cr_arp_d_rvw_ttl?ie=UTF8&ASIN=0060530286.
145
      https://www.amazon.com/gp/customer-
      reviews/RBTLK02LIQ4ED/ref=cm_cr_arp_d_rvw_ttl?ie=UTF8&ASIN=0060530286.
146
      Dan. “E. Jean's PUNCHY wisdom SHINES in compilation.” Indianapolis Star. 31 Mar 1996: D.6.



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        them up to the masses, is, above all else, a truth-seeker.”147

        “She’s a real writer, a sharp and funny social commentator, and a terrific
        journalist, and I love her voice. Smart readers will be particularly impressed with
        her skill reporting the current research in sex and marriage. I admire the way she
        covers the waterfront. She goes to rock-climbing spots, moto-cross tracks, gun
        clubs, university labs, millionaires’ cocktail parties. About halfway through, I
        realized, this woman is an explorer. I think we’re lucky that someone with her
        quality of mind and sense of humor has turned her attention to one of the most
        frustrating dilemmas of contemporary women: how to find someone real to love.”

       After June 2019, the associations with Ms. Carroll’s person brand shifted. One way to

examine the shift in associations is through word association, as represented in a word cloud.148

As can be seen in Figure 8 and Figure 9 below, the semantic associations shifted from those

associated with her role as a sassy news columnist (“love,” “dating,” and “men”) to being

associated with Mr. Trump, sexual assault, and this case (“defamation,” “justice”). While some

shift was attributable to the publication of her memoir and New York Magazine piece in which

she detailed the alleged encounter with Mr. Trump,149 an analysis of Google search data in

Subsection iii below, illustrates that Mr. Trump’s response, and not her initial claim, resulted in

the escalating attention that she has received and played a considerable role in shifting the nature

and valence of associations with her name.




147
      https://www.amazon.com/gp/customer-reviews/R2KGOC1J5G6VTR/
148
      Humphreys and Wang (2018)
149
      https://www.thecut.com/2019/06/donald-trump-assault-e-jean-carroll-other-hideous-men.html.



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Figure 8. Before June 2019 (top 200 words in news articles about E. Jean Carroll)




Figure 9. After June 2019 (top 200 words in news articles about E. Jean Carroll)




   ii.   Elle’s Readership

 It is also noteworthy to consider the composition of Elle’s readership. In 2019, 36% of the




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American public identified as conservative.150 Elle has a large and diverse readership in all

regions of the country.151 Its readers have a median age of 41 and an income of $194,000 per

year.152 Given the composition of the United States and the reach of Elle’s readership, a

meaningful proportion of Elle readers, roughly 1 in 3 readers, is likely conservative. Further,

according to a poll conducted by YouGov,153 76% of Republicans polled either found the

allegations of sexual harassment and sexual assault made against Mr. Trump to be not credible or

needed more information about the claims, which I consider to mean that they are receptive to

believing the Statements in this case.154 Taken together, this means that 26%155 of Elle readers—

or about one in four—may have been receptive to Mr. Trump’s Statements. While not all Elle

readers would have been receptive, a considerable portion would have.

       One in four Elle readers being receptive to the Statements is a considerable portion of

readers to critically damage Ms. Carroll’s brand as a columnist for the magazine. Elle reported

having 4.5 million readers in 2019,156 meaning more than a million readers may have been

receptive to the claim that she was a “totally lying” about having been sexually assaulted by Mr.

Trump. Further, the shift in associations provoked by the Statements undermines generalized,

public perceptions of Ms. Carroll in ways that can unsettle prior perceptions about her. These


150
      https://news.gallup.com/poll/328367/americans-political-ideology-held-steady-2020.aspx
151
      AAM 2019
152
      http://www.ellemediakit.com/r5/showkiosk.asp?listing_id=5748326;
      https://www.nytimes.com/interactive/2019/08/08/opinion/sunday/party-polarization-quiz.html
153
      https://today.yougov.com/topics/politics/articles-reports/2020/05/06/how-americans-view-sexual-assault-
      allegations-poll
154
      The YouGov poll was conducted in 2020, after Ms. Carroll published the allegations about Mr. Trump.
155
      26% is the product of multiplying the 34.7% of Elle who identify as conservative and the 76% of republicans
      polled who found the allegations of sexual harassment and sexual assault made against Mr. Trump to be
      either not credible or needed more information about the claims.
156
      https://web.archive.org/web/20200520030235/http:/www.ellemediakit.com/r5/showkiosk.asp?listing_id=574
      8326



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readers also have friends, family, neighbors, and colleagues. They are part of the public at large.

As sociologists argue, public perception can be colored not only by what an individual thinks,

but also by what an individual’s friends and family think.157 For example, if someone not

inclined to believe Mr. Trump’s claims about Ms. Carroll is friends with or married to someone

who does find them credible, this also imperils reputational value due to the nature of social

influence, particularly over time.158

         iii.    Search Interest

       Google Trends provides another way to assess the impact of Mr. Trump’s Statements on

Ms. Carroll’s brand. Google Trends is a free tool that allows users to compare relative search

interest on up to five different search terms and topics. Data on Google Trends are presented on a

relative scaled from 0 to 100, indexed to the peak search volume achieved during the time period

of interest. Using Google Trends, I can analyze the change in search volume related to E. Jean

Carroll following New York Magazine publishing an excerpt from her memoir on June 21, 2019,

and Mr. Trump making the Statements on June 21, 22, and 24, 2019.

       The graph in Figure 10 below shows the relative search interest in E. Jean Carroll159 from

June 1, 2019, through June 30, 2022, for searches conducted in the United States.160, 161 The data



157
      Johnson, Cathryn, Timothy J. Dowd, and Cecilia L. Ridgeway (2006), “Legitimacy as a Social Process,”
      Annual Review of Sociology, 32, 53-78.
158
      Ardia (2010).
159
      I relied on the “E. Jean Carroll” topic (as opposed to terms) when conducting the search. Topics are groups of
      keywords and phrases Google categorizes as referring to the same concept. Searching by topic is beneficial as
      it allows the results to incorporate misspellings and different ways of referring to the concept of interest.
      https://support.google.com/trends/answer/4359550?hl=en
160
      https://trends.google.com/trends/explore?date=2019-06-01%202019-06-30&geo=US&q=%2Fm%2F02qwtqv
161
      When exporting data from Google Trends, Google will sometimes list the daily volume as “<1” when the
      relative volume is between 0 and 1. I have converted all instances of “<1” to 0.5.



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show two clear spikes in search volume. The first spike occurred on June 22, the day Mr. Trump

made his second Statement. The second occurred on June 24, the day that Mr. Trump made the

third Statement. Notably, the relative search volume on June 21 (the day New York Magazine

released an excerpt from Ms. Carroll’s memoir) was 55, or nearly half the relative volume

generated on June 22 (94) and June 25 (100), indicating the Mr. Trump’s response to Ms.

Carroll’s accusation may have been at least as impactful as Ms. Carroll’s allegations.


        Figure 10. Daily Relative Search Interest for E. Jean Carroll for June 2019

     100



      75



      50



      25



       0




                             E. Jean Carroll Relative Search Volume
                             NY Mag Excerpt / Mr. Trump's 1st Statement
                             Mr. Trump's 2nd Statement
                             Mr. Trump's 3rd Statement

      Another way to measure the impact of Mr. Trump’s statement using data from Google

Trends is by analyzing the “related queries.” Related queries are other searches users conducted


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when searching for the topic of interest. Like search interest, related queries are indexed to the

most commonly searched words and phrases and reported on a scale from 0 to 100. I reviewed

the top related queries for searches of E. Jean Carroll to determine the degree to which

consumers searching for Ms. Carroll were interested in her “Ask E. Jean” column compared to

searches linking her to Mr. Trump.

      The tables in Figure 11 below show the top related queries associated with searches of E.

Jean Carroll162 across three different time periods. The first time period (the “before” period)

incorporates searches conducted from January 1, 2019, through June 20, 2019.163 The second

period (the “after – short” period) incorporates searches conducted from June 21, 2019, through

November 3, 2019,164 the day before Ms. Carroll filled the present lawsuit. The third period (the

“after – long” period) incorporates searches conducted from November 4, 2019, through the end

of the most recent month before I conducted my analysis, August 31, 2022.165 Rows highlighted

in green indicate related queries that link Ms. Carroll to her “Ask E. Jean” column; rows

highlighted in yellow indicate related queries that link Ms. Carroll to Mr. Trump. As the data

show, consumer associations for Ms. Carroll changed following her accusation and Mr. Trump’s

response. Prior to her allegations, related searches associated with Ms. Carroll’s column were

relatively high. After the allegations and Mr. Trump’s response, queries related to Ms. Carroll’s

column disappear from the list and are replaced by queries linking Ms. Carroll to Mr. Trump.




162
      Here too, I relied on the “E. Jean Carroll” topic when searching on Google Trends.
163
      https://trends.google.com/trends/explore?date=2019-01-01%202019-06-20&geo=US&q=%2Fm%2F02qwtqv
164
      https://trends.google.com/trends/explore?date=2019-06-21%202019-11-03&geo=US&q=%2Fm%2F02qwtqv
165
      https://trends.google.com/trends/explore?date=2019-11-04%202022-08-31&geo=US&q=%2Fm%2F02qwtqv



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                     Figure 11. Top Related Queries for E. Jean Carroll
            Before                          After – Short                     After – Long
    (01/01/19 – 06/20/19)             (06/21/2019 – 11/03/19)            (11/04/19 – 08/31/22)
                    Relative                             Relative                         Relative
Related Query                       Related Query                     Related Query
                      Value                               Value                            Value
     e jean            100            jean carroll         100          jean carroll        100
   ask e jean           75               e jean            66              e jean            51
  jean carroll          69              e carroll          60             e carroll          49
   dear abby            14           jean e carroll        60          jean e carroll        48
 miss manners           6                e. jean           23              trump             21
                                    e. jean carroll        22         e. jean carroll        21
                                         trump             16       jean carroll trump       18
                                                                       trump e jean
                                      carroll trump        15              carroll           11
                                   trump jean carroll      13           trump rape           5
                                      e jean carroll                  e. jean carroll
                                          trump             8              trump             4
                                   jean carroll young       6       jean carroll young       4
                                      e jean carroll
                                          young             5        jean carroll dna        4
                                     donald trump           3         donald trump           3
                                                                       e jean carroll
                                      trump rape            3           trump rape           3
                                     e. jean carroll
                                          trump             3           trump dna            3
                                  jean carroll donald                  e jean carroll
                                          trump             3              young             2
                                   anderson cooper          2       e jean carroll dna       2
                                      jean carroll
                                   anderson cooper          2       e jean carroll news      2
                                                                        e jean carroll
                                          e.jean            2           donald trump         2
                                    donald trump e                      e jean carroll
                                      jean carroll          2               twitter          2
                                       jean carrol          2       e jean carroll case      2
                                     john johnson           1            trump news          2
                                     e.jean carroll         1         trump rape case        1
                                      e jean carrol         1        jean carroll dress      1
                                     e jean carroll                     e jean carroll
                                   anderson cooper          1               lawsuit          1




       iv.    Engagement Analysis

    Comments and Engagement on Social Media News Article Shares. As an additional



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qualitative indicator of the impact of these Statements in the public sphere, I examined

engagement on social media that resulted as a response to news articles covering Mr. Trump’s

Statements. The news articles I analyzed in the Impressions Model and that were posted on

Twitter by the publications received 7,880 responses and 10,982 likes. Comments on these

articles repeated and agreed with Mr. Trump’s Statements about Ms. Carroll, showing yet again

that his Statements about her resonated with some people. For example, on a Washington Post

article, one commenter said, “Baloney---For over 20 years silence and now since book is ready

for sale we need new sensation to boost sale.”166 Another commenter, on the New York Magazine

article, replied, “I could care less about this phony article being that the source is a leftist

mouthpiece for brainwashing and helping an agenda of the antiAmerican left Communist

Democrats in DC work toward Communism of our country. TRUMP is doing a great job. I

voted for him and will do it again in 2020. New York has the worst Mayor ever in the entire

United States. SUPPORT CAPITALISM AND SAVE OUR NATION. VOTE TRUMP

2020!”167

       Since the news broke in June 2019, these same news publications have continued to cover

the story, which has extended the effect of Mr. Trump’s Statements further into the present day.

To gain insight into whether the public continued to view Carroll negatively, I selected a sample

of four publications that covered Mr. Trump’s Statements and were included in my Impressions


166
      Colby Itkowitz, Magazine Columnist Accuses Trump of Sexual Assault More than Two Decades Ago, an
      Allegation He Denies, WASH. POST (June 21, 2019), https://www.washingtonpost.com/politics/magazine-
      columnist-accuses-trump-of-sexual-assault-more-than-two-decades-ago-an-allegation-he-
      denies/2019/06/21/2afc6f12-945a-11e9-b58a-a6a9afaa0e3e_story.html.
167
      Sarah Jones, E. Jean Carroll: “Trump Attacked Me in the Dressing Room of Bergdorf Goodman.”, N.Y.
      MAG. (June 21, 2019), https://nymag.com/intelligencer/2019/06/president-donald-trump-faces-new-rape-
      accusation.html.



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Model (New York Times, Daily Caller, Washington Examiner, and USA Today.) I identified

these news outlets’ coverage of Ms. Carroll on Twitter and Facebook, after June 2019, when the

statements first appeared in news through when I conducted this analysis on September 28,

2022.168 Searching for replies using three phrases that reference a subset of Mr. Trump’s claims

(“book sale,” “sell her book” and “agenda”) and three negative terms (“crazy,” “whore,” and

“bitch”) led me to hundreds of negative comments about Ms. Carroll. Figure 12 below includes

some of these comments, and Appendix H contains over a hundred additional examples.




168
      On Twitter, I used the Twitter API to search for Carroll-related tweets authored by each of the four specified
      news publication, using a query such as “e jean carroll from:usatoday since: 2019-07-01.” On Facebook, I
      went on each publication’s Facebook Page and searched for posts mentioning “e jean carroll” since July
      2019. I then collected all the comments and replies to these tweets and Facebook posts.



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          Figure 12. Sample of Replies Generated by Long-Term News Coverage169




       The nature of the engagement around this news coverage continues to reference Mr.

Trump’s Statements to this day and illustrates the changed tenor and malice of the associations

with Ms. Carroll’s name. For example, in response to recent press coverage, readers say, “…

after all the women who have lied in court under oath about being raped by someone in or

affiliated with the trump administration, yeah ima call this bitch a liar. …”, and label her a

“attention whore” and “lying bitch” in response to articles that contain the allegedly defamatory



169
      https://twitter.com/1/status/1304903451625713664, https://twitter.com/1/status/1303742205648142336,
      https://twitter.com/1/status/1303700235210891265, https://twitter.com/1/status/1438311461110095873,
      https://twitter.com/1/status/1572592008316981250, https://twitter.com/1/status/1572467301315940352.



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claims. These negative messages are further indication of the lingering negative effect of Mr.

Trump’s claims about Ms. Carroll on her person brand.

       Posts on Twitter. The negative and malicious nature of the messages to Ms. Carroll extend

to social media more broadly as evidenced by posts with no direct connection to the original

Statements. Using the same search phrases as I did above led me to thousands of negative posts

in response to or mentioning Ms. Carroll.170 Many of the replies and tweets I found explicitly

reference and/or repeat Mr. Trump’s defamatory claims about Ms. Carroll, as illustrated in

Figure 13 below.

       For example, RunnerMoe24 calls Ms. Carroll a “Liar…a disgusting person” and accuses

her of making up the story to “draw sales for your book,” as Mr. Trump claimed. These kinds of

comments continue into the present, with Angerisinnate calling her a “sick, ugly, rejected old

hag,” and repeating Mr. Trump’s claim that she is attempting to sell books as recently as

September 2022.




170
      I used Brandwatch to conduct this search. I searched for posts from January 1, 2019 through September 28,
      2022 with the following query: (ejeancarroll OR “e jean carroll” OR “jean carroll” OR jeancarroll) OR
      engagingWith:ejeancarroll.



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Figure 13. Sample of Twitter Commentary about Ms. Carroll Following Mr. Trump’s
                                 Statements171




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       Replies Directly to Ms. Carroll on Facebook and Instagram. Additionally, I reviewed

comments and replies to posts made by Ms. Carroll on her personal Facebook and Instagram,

accounts where I found hundreds of negative and malicious messages and attacks on her

character (see Figure 14 and Figure 15 below.) One, for example, says, “I hope you’re sued into

hell and back for these FALSE allegations.” Another says, “Pathetic.... you are a true POS... cry

wolf years later? 20+ years??? Your (sic) a sorry sack of shit... not brave... brave would have

been to call it out then and there....”




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                 Figure 14. Examples from Ms. Carroll’s Facebook Page172




172
      https://www.facebook.com/EJeanCarroll/posts/pfbid043HtweB8cSVrpUX4jTsLnYVcZ51tESLc41qzM8fSB
      Vm74Hipc1pe44QMxaibif3Zl?comment_id=10161904009925176;
      https://www.facebook.com/EJeanCarroll/posts/pfbid043HtweB8cSVrpUX4jTsLnYVcZ51tESLc41qzM8fSB
      Vm74Hipc1pe44QMxaibif3Zl?comment_id=10161904500605176;
      https://www.facebook.com/EJeanCarroll/posts/pfbid02KbarmdFqXiqXWMMy4C4QLfMNXp7iaVe7cJ4e6n
      8b39SJVjExHMdnN8vXuRgib9pjl?comment_id=10162947248725176;
      https://www.facebook.com/EJeanCarroll/posts/pfbid0pM1JLR679TDR96NHp2CdGZPFJS9xmq4cbSBCFpS
      CfFKJJw9LyAes1sWYJZSJDC93l?comment_id=505171354452764.



                             Expert Report of Professor Humphreys                              56
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                    Figure 15. Examples from Ms. Carroll’s Instagram173




      The negative impression people have of Ms. Carroll persists to the present, as the hateful

messages continue to be posted and continue to reference Mr. Trump’s Statements (see, for

example, Appendix H). While there are many messages of support for Ms. Carroll among the

posts I reviewed, the fact that I was able to find a high volume of negative and vicious messages

using a limited set of phrases is indicative of the persistent and ongoing harm to her person


173
      https://www.instagram.com/p/ByS3GZAnG8T/c/18055365523120673,
      https://www.instagram.com/p/ByS3GZAnG8T/c/17890688779356795,
      https://www.instagram.com/p/ByS3GZAnG8T/c/17885005825367171,
      https://www.instagram.com/p/CGsjKyxJcHA/c/18081883450220561,
      https://www.instagram.com/p/CbF28JKuJmw/c/18146401978279673.



                             Expert Report of Professor Humphreys                               57
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brand. Appendix I contains over 1,000 examples of these acerbic and hurtful public comments,

both from responses to her personal accounts and from Twitter more generally.

      In addition to these types of general social media comments, Ms. Carroll received many

malicious direct messages and emails, over 80 examples of which can be found in Appendix I.

These hateful messages continue into 2022, calling her a “liar and a fraud” and a “stupid

bitch.”174 The direct messages to Ms. Carroll come from a wide range of platforms including

email, Facebook, Twitter, and the submission email account for her “Ask E. Jean” column.

      Overall, my qualitative impact analysis indicates that Ms. Carroll’s person brand has been

harmed by Mr. Trump’s Statements. While her brand was associated with dating and advice prior

to the Statements in 2019, after the Statements, her name is, and continues to be, associated with

a different set of associations, and she is assailed publicly and continually online, often with

direct reference to Mr. Trump’s Statements. The news coverage of her and search traffic about

her continues to be tied to Mr. Trump and his Statements. While some public attention came just

after the publication of her book, the highest volume of attention came directly after Mr.

Trump’s Statements.


      B. Quantitative Impact Assessment

      In addition to a qualitative analysis of the tenor and nature of the impact of Mr. Trump’s

Statements on Ms. Carroll’s person brand, I conducted a quantitative analysis to assess the

portion of impressions calculated in the impressions analysis that would have been made to a

receptive audience (the “receptive impressions”). To approximate the receptive impressions, I


174
      CARROLL_028059 and CARROLL_029774.



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used estimates of the percent of the readership/viewership who identify as Trump supporters

and/or are Republicans and estimates of the percent of Republicans who did not find allegations

of sexual harassment and sexual assault made against Mr. Trump to be credible. I then

discounted the total number of impressions generated by the Statements (as calculated in the

Impressions Model) by the estimated percent of receptive impressions.

          i.    Readership Analysis

       Readership Based on Pew Data. What percentage of the impressions were made to an

audience that was inclined to believe them? To understand the impact of Mr. Trump’s claims

regarding Ms. Carroll, I used data from Pew Research’s ongoing survey of American Trends.

Pew Research is a non-partisan think-tank that does “data-driven social research.”175 Their

American Trends panel survey provides information about Americans’ political beliefs, and I use

it to calculate the percent of readership that were receptive to his claims.176 I used data from the

survey Pew conducted between October 29 and November 11, 2019, making it a reasonable

approximation of the composition of readership of the sources where the June 21, 22, and 24,

2019 Statements appeared (subscription periods tend to be on a yearly basis). The survey data

and documentation are publicly available.177 The Pew survey is “a national, probability-based

online panel of adults living in households in the United States” and generated 12,043 responses

collected from a nationally-representative sample.178


175
      https://www.pewresearch.org/about/
176
      https://www.pewresearch.org/our-methods/u-s-surveys/
177
      The data from this study was downloaded and produced. Pew Research Center’s American Trends Panel
      Wave 57, Pathways to Election News Project, November 26, 2019,
      https://www.pewresearch.org/journalism/dataset/american-trends-panel-wave-57/.
178
      With a probabilistic sample of this size, the sampling error was ± 1.43 percentage points,
      https://www.pewresearch.org/our-methods/u-s-surveys/the-american-trends-panel/.



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        The following variables were used in the analysis:

     SOURCEUSE: “Please click on all of the sources that you got political and election news
      from in the past week. This includes any way that you can get the source. If you are unsure,
      please DO NOT click it. [KEEP IN SAME ORDER AS SOURCEHEARD]”

     PARTY: “In politics today, do you consider yourself a: ASK IF INDEP/SOMETHING
      ELSE (PARTY=3 or 4) OR MISSING: PARTYLN As of today do you lean more to…”

     THERMO: “We’d like to get your feelings toward a number of people on a ‘feeling
      thermometer.’ A rating of zero degrees means you feel as cold and negative as possible. A
      rating of 100 degrees means you feel as warm and positive as possible. You would rate the
      person at 50 degrees if you don’t feel particularly positive or negative toward them.”
      (recoded to Trump receptive if value was >=50).

        Receptivity based on YouGov Poll. Not every Republican is necessarily inclined to be

receptive to Mr. Trump’s Statements. For that reason, I corrected by discounting according to the

percent of Republicans who either (1) found the various allegations of sexual harassment and

assault made against Mr. Trump to not be credible (49%) or (2) needed more information (27%),

for a total of 76%.179 I did not include those who were unsure. These responses indicate a

reasonable expectation that the respondent either already believed Mr. Trump’s Statements or

was open to believing them, given their other beliefs and their current lack of information (i.e.,

they did not select that they did believe the allegations made against Mr. Trump were credible).

        I performed the following calculations:

     Percent Republicans = percent of a publications’ audience that are Republican180

     Percent Receptive Republicans = Percent Republicans * Percent of Republicans Receptive to
      the claims (.76, YouGov)



179
       https://today.yougov.com/topics/politics/articles-reports/2020/05/06/how-americans-view-sexual-assault-
       allegations-poll
180
       Republicans were identified as PARTY=1 in the raw data.



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     Percent Trump Supporters = sum of all people who were receptive towards Mr. Trump181

         Based on this analysis, I can conclude that an average of 25% of the total impressions

were to individuals inclined to be receptive to the Statements of Mr. Trump. As can be seen in

Figure 16 below, the minimum receptive audience was 11.25% (Huffington Post), while

publications like the Daily Caller had a more receptive audience of 68.63%.




181
       I considered all people who listed a “feeling thermometer” greater than or equal to 50 to be receptive to Mr.
       Trump (i.e., THERMO>=50).



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      Figure 16. Percentages of Republican or Republican-Leaning Readers/Viewers and the
                    Percentage of Trump Supporters for Each Publication182

         Publication        Percent Republican Percent Receptive Republicans Trump Supporters
The New York Times                  16.3%                        12.39%                       13.7%
ABC                                 34.7%                        26.37%                       32.5%
NBC                                 31.0%                        23.56%                       29.5%
CBS                                 33.7%                        25.61%                       31.6%
Washington Post                     18.1%                        13.76%                       14.6%
Time                                21.0%                        15.96%                       18.5%
Huffington Post                     14.8%                        11.25%                       12.4%
Daily Caller                        90.3%                        68.63%                       84.9%
Fox News                            69.8%                        53.05%                       68.2%
MSNBC                               20.5%                        15.58%                       19.9%
CNN                                 23.6%                        17.94%                       23.3%
The Wall Street Journal             38.7%                        29.41%                       31.6%
USA Today                           34.9%                        26.52%                       32.6%
Politico                            22.4%                        17.02%                       17.8%
BuzzFeed                            23.2%                        17.63%                       19.8%
Newsweek                            23.1%                        17.56%                       20.9%
Business Insider                    31.5%                        23.94%                       26.3%
The Hill                            32.1%                        24.40%                       26.6%
Washington Examiner                 65.7%                        49.93%                       58.4%
The Guardian                        19.2%                        14.59%                       16.7%
Average                                                         25.25%




         To calculate the final number of impressions to a receptive audience, I took the lowest of

these variables, which is the Receptive Republicans, and multiplied the impressions generated by


182
        Pew Research Center’s American Trends Panel Wave 57, Pathways to Election News Project, November 26,
        2019



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each media source by that percent. Data was not available for some of the publications

considered in the Impressions Model. I used the average for all other publications if data was

unavailable for a specific publication. Multiplying the impressions estimate from the Impressions

Model by the Percent Receptive Republicans yields the percent of impressions made to people

who were receptive to them. This estimate of the receptive impressions can then be carried

forward to assess how much it would cost to repair reputational damage with this population.

The formula used to calculate receptive impressions is displayed in Figure 17 below. The

formula is applied to each of the media analyzed in the Impressions Model.


                             Figure 17. Receptive Impressions Calculation

                  Receptive Impressions = Percent Republicans * Percent of
                            Receptive Republicans * Impressions Estimate


Where:
         Percent Republican = percent of a publications’ audience that are Republican
         Receptive Republicans = Republicans receptive to the claims (.76, YouGov)183
         Impressions Estimate = the total impressions from the Impressions Model

       Figure 18 below summarizes the total receptive impressions generated by the Statements.

Appendix J includes the detailed results of the quantitative impact model.


                                 Figure 18. Total Receptive Impressions
                                Social Media           Web           Print           TV             Total
              High                   12,441,816      3,275,673      444,737      26,774,128       42,936,354
              Low                     3,580,974      3,275,673      444,737      26,774,128       34,075,512




183
      If data related to Percent Republicans is not available, the equation is as follows: the average Percent
      Receptive Republicans (25.25%) * Impressions Estimate.



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      The quantitative impact analysis uses information about readership, political ideology, and

receptivity given political ideology to calculate the number of impressions generated by Mr.

Trump’s Statements that were made to a receptive audience. Certainly, as detailed in the

qualitative impact analysis and impression analysis, the Statements caused sufficient harm to Ms.

Carroll’s brand to a general public, meaning individuals across the ideological spectrum. The

quantitative impact analysis provides an estimate of the target audience for a corrective

campaign. That said, the total harm done to Ms. Carroll’s brand in the eyes of the generalized

public exceeds the very limited bounds of this quantitative impact and damages calculation.

Appendix J includes a summary of the various reasons why the quantitative impact analysis is an

undercount.


   VI. MODELING THE COSTS FOR REPUTATION REPAIR IN SOCIAL MEDIA

      A. Modeling Reputation Repair on Social Media

      As detailed in the theoretical background section above, defamation causes harm to one’s

reputation in the public sphere. As a corrective measure to repair reputation, an advertising and

strategic communications plan can attempt to change attitudes that may have been affected by

the Statements. This section details the methodology for calculating the costs to repair reputation

damage via social media channels. The costs to repair the reputation are based on the estimates

of the number of receptive impressions. The goal of the corrective campaign is to counteract the

number of receptive impressions generated by the Statements, enabling Ms. Carroll to repair the

damage done to her person brand by Mr. Trump. The best way to allocate spending on media for

this kind of campaign would be to create a media mix that is based on how the target audience




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gets their information.184 Further, a particular group that does not trust traditional media, such as

those who identify as Republicans and/or support Mr. Trump, requires alternative information

channels that they do trust.

           i.    Campaign Goals, Platforms, and Measurements

       In my opinion, and given the prior literature summarized in Section II, a campaign to

repair reputational damage must include (i) hiring influencers whom the audience regards as

trusted sources, (ii) circulating statements in multiple media to replicate the echo chambers in

which they originated, (iii) ensuring that the audience is exposed to the message multiple times

in order to create attitude change, and (iv) extending for a long enough time to allow for

dissemination, given what is known about the slow spread of true versus false claims online185

and the multifaceted nature of effective corrective repair through online channels (e.g., United

States v. Bayer Corp., No. 07-01(HAA) (D.N.J. Jan. 4, 2007). A holistic social media campaign

that includes these integrated elements is therefore the most effective way to repair reputational

damage in this case.186

       An effective social media campaign to repair reputational damage must be multi-pronged

and include a mix of platforms and people. A typical social media campaign will combine

display and search advertising along with hiring influencers to promote a message via blogs and

on their Instagram, YouTube, and other channels. Production costs for video and to promote



184
      Ardia 2010.
185
      Vosoughi et al. (2018).
186
      Shankar, V., and Kushwaha, T. (2020). Omnichannel Marketing: Are Cross-Channel Effects Symmetric?
      International Journal of Research in Marketing; Payne, E. M., Peltier, J. W., & Barger, V. A. (2017). Omni-
      channel marketing, integrated marketing communications and consumer engagement: A research agenda.
      Journal of Research in Interactive Marketing, 11(2), 185–197.



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content are often also included. Because the source—and not just the message—is so critical to

attitude change, particularly on social media, it is important to work with credible and likeable

sources likely to gain traction with the intended audience. For this reason, hiring social and mass

media influencers is critical to one’s ability to repair reputational damage.

          ii.   Media Mix

       To allocate media budget and media spend across each platform, I relied on the Pew data

previously cited in the impact analysis. Using the Pew data, I conducted an analysis of the ways

individuals who identify as Trump supporters reported getting their news (see Figure 19 below).

Respondents who identified as Trump supporters187 were asked “what is the most common way

you get political and election news?” News websites or apps were the most commonly cited

media used, with 23.1%. I added this together with social media (13%) to allocate the online and

influencer budget. The next most common responses were cable (21.3%), local (15.6%), and

national network television (14%), which I allocated to the mass media budget. I allocated radio

(9.1%) and print (3.4%) accordingly as well, using publicly available data on rates for these

media channels.




187
      I analyzed the media habits of Trump supporters (THERMO variable >50), as that was the closest reflection
      of the receptive Republican audience in the Pew data.



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       Figure 19. The Media Mix of Respondents who Identify as Trump Supporters

       NEWS_MOST_W57. What is the most common way you get political and election news?
                                                                          Valid       Cumulative
                                             Frequency      Percent
                                                                         Percent       Percent
      Print newspaper or magazines               162          3.4          3.4           3.4
      Radio                                      438          9.1          9.1          12.5
      Local television                           748         15.6         15.6          28.1
      National network television                669           14           14          42.1
      Cable television                          1020         21.3         21.3          63.3
      Social media                               623           13           13          76.3
      News website or app                       1109         23.1         23.1          99.5
      Refused                                    26           0.5          0.5           100
      Total                                     4795          100          100
                                                           99.5
       To estimate the cost for repair on each platform, two measurements are used as the

industry standard. To assess the number of impressions, one can use the cost per thousand

impressions, otherwise known as cost per mille (CPM) to estimate how many impressions would

be gained for each dollar spent and cost per click (CPC) to estimate the number of engagements

each dollar is likely to yield. For each channel, I calculated either the CPM or CPC multiplied by

the number of receptive impressions generated by the Statements (as discussed, below I also

incorporated an attitude-change multiplier to account for the fact it takes multiple exposures to

change an existing attitude). I also included costs to have social and mass media influencers

share the message across their channels, similar to the method in which Mr. Trump’s Statements

were spread and that mirrors the ways in which Trump supporters get their news, according to

analysis of the Pew Research poll.188

       Costs of advertising were calculated as CPM or CPC multiplied by the target number of



188
      Pew Research Center’s American Trends Panel Wave 57, Pathways to Election News Project, November 26,
      2019.



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impressions of each channel or platform. Whether to use CPM or CPC in a cost calculation

depends on the goal of the campaign. Annual industry benchmark reports of CPM and CPC for

different channels and platforms published by research firms and advertising networks are used

in the damages model to estimate costs for reputation repair. When the cost of advertising of a

specific channel could be calculated from either CPM or CPCI used CPC in the final cost of this

channel in order to ensure attitude change/conversion. For influencer promotion and mass media

advertising, only CPM was used for cost calculation because CPC is usually not available.

         iii.   Attitude Change Multiplier

       As covered in the aforementioned psychological literature, an attitude is not changed by

one impression alone. In order to actually change attitudes, a campaign would need to serve

multiple impressions per person; showing someone a counter-attitudinal message one time will

not change their attitude. This is true in traditional media,189 but it is particularly true in the

crowded attention marketplace of social media. While prior research has found that it requires

about 3 to 5 impressions to change an attitude in traditional advertising exposure, on social

media the number of exposures is likely much higher. Taking into account the attention

environment, the strength of attitudes, and the impression rate (likelihood of an exposure leading

to an actual impression), I estimate that a message would need to be seen approximately 3 to 5

times on social media from a credible source before it would lead to attitude change. With some

audiences, 7 times may be more appropriate. For some audiences, it would be impossible to

change attitudes.



189
      Cacioppo and Petty (1980).



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         iv.    Potential Overlap in Impressions

        As mentioned above, the aim of the corrective campaign is to repair the harm to Ms.

Carroll’s brand caused by the receptive impressions. Yet the literature on attitude change

multipliers is based on individuals and not impressions (i.e., one individual would require

between 3 and 5 impressions to change attitudes). It is possible that the proposed campaign,

which is measured in impressions, could serve multiple impressions to one individual, even

without an attitude change multiplier. In order to account for this potential overlap, I provide

estimates as low as a multiplier of 1, which would undercover the number of impressions needed

for attitude change. For informative purposes, the damages model that I include provides a range

of attitude change multiples, from 1 to 5. However, owing to the need to include multiple

exposures for everyone in the target audience,190 I believe at least 3 impressions would be needed

to change attitudes in this case.

        Empirical data suggest that a multiplier of 1 is overly conservative, especially given the

media habits of the audience who were likely receptive to the Statements. Using the Pew dataset

referenced previously, I conducted an analysis of media habits of Trump supporters. The data

show that Trump supporters191 are more likely to use only one news source (37% vs. 27% for

non-Trump supporters), and they are more likely to use cable news than non-Trump supporters

(21% vs. 16%).192 If the audience tends to consume one news source, it is unlikely that they will


190
      Cacioppo and Petty (1980); Housholder and LaMarre (2014); Weiss (1969).
191
      Because the survey did not have a “receptive Republicans” measure and I could not infer it on an individual
      level, I used survey respondents who indicated support for Trump. According to my prior analysis, this
      percentage is roughly equivalent to receptive Republicans.
192
      The most common way Trump supporters get their news is through a news website (23.1%), followed closely
      by cable television (21.3%). Although only 13% report commonly getting news from social media, 43.4%




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receive multiple impressions from a campaign with a frequency multiplier of 1. A campaign that

would actually change attitudes for this audience would need to show multiple impressions,

particularly to those who only use one primary news source (the others would be likely to get

multiple impressions if they use more than one news source).193 Taking into account the potential

overlap of impressions per person in this instance, the damages model therefore presents a

conservative range from 1 impression—which I feel is an underestimate—to 5 impressions.


      B. Costs of the Corrective Campaign

        Figure 20 below shows the total costs of the corrective campaign. I include three costs: a

low estimate, which incorporates an attitude change multiplier of 1; a medium estimate, which

incorporates an attitude change multiplier of 3; and a high estimate, which incorporates an

attitude change multiplier of 5. As detailed above, I believe a multiplier of at least 3 (the medium

estimate) would constitute the minimum corrective campaign to run, given the importance of

multiple exposures and the likelihood that the audience will receive them and be affected by

them.194 Appendix K includes the detailed results of the damages model.




      report often or sometimes getting news from social media (17.9% reporting that they often get news from
      social media). The most common sources for political news by media can be found by analyzing the Pew
      Research 2019 dataset. For each channel, I used the rates associated with the most common response, as
      listed in the Pew Survey (variables MAINSOPOL_USE_W57 and NEWS_MOST_W57). Respondents also
      provided an open-ended response about what media sources they use, which provided insight into the best
      channels for placement and guided rate selection.
193
      Note that a campaign with a multiplier of 1 may result in some people seeing the same message more than
      once (say, for example on cable television), even if they only get their information from one news source.
      Nonetheless, a 1x multiplier mimics the number of initial impressions they received on a 1:1 basis, not a 3:1
      basis, as I would suggest for counter-attitudinal messages.
194
      Cacioppo and Petty (1980); Housholder and LaMarre (2014); Weiss (1969).



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                                Figure 20. Final Damages Calculations
                                         Low                   Medium                    High
                 High
              Impressions           $4,199,772.24          $12,599,316.71          $20,998,861.18
                 Low
               Impression           $3,333,058.72           $9,999,176.17          $16,665,293.62

             High & low impressions from the Impressions Model
             Low = 1x attitude change multiplier, Medium = 3x, High = 5x
             In the campaign, I assume an impression rate of 5%195 and
             a bounce rate of 90%.196


        The damages model presents a conservative estimate of the cost to run a multi-media

campaign to correct attitudes amongst the audience most likely to have been receptive to the

Statements (see Appendix J for the reasons why the damages model is conservative). It does not

account for the harm to Ms. Carroll’s brand in the public at large, but only among this specific

receptive audience. The campaign takes into account readership and viewership patterns in the

target audience, the number of receptive impressions, and the current advertising costs across

media. In this case, the Statements came from Mr. Trump, a high-profile individual with a loyal

following whom the media covered, and continues to cover, extensively. Given his status, Mr.

Trump’s Statements received a very large number of impressions. Of the large audience where

these statements appeared, at least 25% were receptive to them. The estimate to correct

reputational damage is therefore of the same magnitude as the inflicted harm.


195
      The CPMs I rely on for Twitter, Facebook, and YouTube influencers are based on an influencer’s number of
      followers or subscribers. For the reasons described above, not all a user’s followers will see an influencer’s
      post. As a result, to ensure the corrective campaign generates sufficient impressions, it is necessary to
      incorporate an impression rate. In this case, I am relying on an impression rate of 5% which is the median
      impression rate calculated using Equation 2a from the Impression Model.
196
      The CPM I rely on for web blog influencers is based on site visits. To account for people who visit a
      blogger’s website but do not perform any other action, I multiplied the impressions needed by a bounce rate
      of 90%, a typically bounce rate for blogs. (https://influencermarketinghub.com/glossary/bounce-rate/).



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    VII. CONCLUSION

      I conclude that Mr. Trump’s Statements about Ms. Carroll have significantly harmed her

person brand. My conclusion is based on my academic research and expertise and my analysis of

the facts of this case and of data I collected regarding the dissemination of, and receptivity to,

Mr. Trump’s Statements; it is also supported by abundant qualitative evidence. The models I

developed demonstrate how Mr. Trump’s Statements spread to a receptive audience across

online and traditional media platforms and provide the basis for calculating the cost of an effort

to repair the damage done to Ms. Carroll’s person brand. My conclusions are as follows:

   Impressions Model Conclusion: Mr. Trump’s Statements made on June 21, 22, and 24,
    2019, received between 142,334,424 and 188,155,507 impressions across social, digital,
    television, and print media. The extraordinary dissemination of the Statements is in keeping
    with the high profile and ongoing media coverage of Mr. Trump. While extraordinary, this
    number of impressions is a conservative estimate for reasons I have previously delineated.

   Impact Model Conclusion: Of the impressions generated, an average of 25% of recipients
    were receptive to these Statements, resulting in between 34,075,512 and 42,936,354
    impressions that should be corrected. Further, my qualitative assessment of the impact of the
    dissemination of Mr. Trump’s Statements is that they caused short- and long-term harm to
    Ms. Carroll beyond the estimate of receptive impressions calculated in my Impact Model.
    Evidence from a number of sources indicates that there has been a shift in the perceptions
    associated with Ms. Carroll’s person brand with the general public and specific perceptions
    amongst a group of people receptive to the claims.

   Damages Model Conclusion: The cost to counteract the impact of these Statements is
    between $3,333,058.72 and $20,998,861.18. I believe the minimum corrective campaign to
    repair reputational damage would be the middle range, from $9,999,176.17 to
    $12,599,316.71 for reasons outlined above. Because I took a conservative approach to
    calculating the Impressions input, this range represents a conservative estimate.

      I reserve the right to revisit and supplement this analysis and amend these conclusions

should additional informatin and/or documents become available, such as Mr. Trump’s October

12 statement, reiterating many of the defamatory claims against Ms. Carroll, in response to a




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judge’s denial of Mr. Trump’s request to delay his deposition. I further reserve the right to

respond to opinions and issues raised by any opposing experts. Finally, I reserve the right to use

demonstrative and/or other exhibits to present the opinions expressed in this report and/or any

supplemental, amended, and/or rebuttal reports.




Dated: October 14, 2022




______________________________
 Professor Ashlee Humphreys




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 APPENDIX A. PROFESSOR HUMPHREYS’ CV AND PRIOR TESTIMONY


                      [Produced in Native Format]




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                         APPENDIX B. MATERIALS CONSIDERED


Bates Stamped Documents

       CARROLL_024475-79
       CARROLL_024499
       CARROLL_024554
       CARROLL_024559
       CARROLL_024562
       CARROLL_024640-41
       CARROLL_024684
       CARROLL_024796
       CARROLL_024944
       CARROLL_024974
       CARROLL_025080
       CARROLL_026326
       CARROLL_026329
       CARROLL_026331
       CARROLL_026473
       CARROLL_026479
       CARROLL_026596
       CARROLL_028058-59
       CARROLL_028063-65
       CARROLL_028069
       CARROLL_028115
       CARROLL_028549
       CARROLL_028588
       CARROLL_028592
       CARROLL_029331
       CARROLL_029774-75
       CARROLL_030105-08
       CARROLL_030111-29
       CARROLL_030131-48
       CARROLL_030150-56


Legal Filings and Depositions

       Complaint, November 4, 2019.
       Deposition of Robbie Myers, October 12, 2012.



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        jean-carroll-not-my-type
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        allegation/507-33064ca1-b511-40e2-bbe2-57e7d672fc9f


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       http://twitter.com/firethornranch/statuses/1142194188852895746
       http://twitter.com/floccinaucini1/statuses/1142196689148813313
       http://twitter.com/pinochet_pilot/statuses/1566945839679180800
       http://twitter.com/RunnerMo24/statuses/1142182659071860737
       http://twitter.com/ScottLHarris1/statuses/1142493161886892032
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       https://twitter.com/1/status/1142180829835255808
       https://twitter.com/1/status/1142184727492878336
       https://twitter.com/1/status/1142197820826501120
       https://twitter.com/1/status/1142226611380600832
       https://twitter.com/1/status/1143477200148189184
       https://twitter.com/1/status/1303700235210891265
       https://twitter.com/1/status/1303742205648142336



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       https://twitter.com/1/status/1438311461110095873
       https://twitter.com/1/status/1572467301315940352
       https://twitter.com/1/status/1572592008316981250
       https://twitter.com/AP/status/1580371759240548353
       https://twitter.com/MCWAY2000/status/1422939994235228162
       https://twitter.com/Olivianuzzi/status/1142197820826501120
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       https://www.instagram.com/p/ByS3GZAnG8T/c/17890688779356795
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                                APPENDIX C. GLOSSARY OF TERMS


Bounce Rate: The percentage of users who leave a page without taking any action.

Cost Per Click (CPC): The cost an advertiser pays each time a user clicks on an
advertisement.197

Cost Per Mille (CPM): The cost an advertiser pays per one thousand impressions generated by
an advertisement on a web page.198

Echo Chamber: An environment where a person only encounters information or opinions that
reflect and reinforce their own.199

Engagement: Measures of audience involvement with or responsiveness to a particular
message. Can include metrics such as likes, retweets, and comments/replies.

Engagement Rate: The percentage of people who engage with a post. Engagement rate is
calculated by dividing the number of impressions by the number of engagements.

Filter Bubble: An environment isolated by algorithms that prevent users from being exposed to
information and perspectives they haven’t already expressed an interest in.200

Followers: The total number of users who could potentially see another user’s post.

Impressions: The total number of times a post or other piece of content has been displayed to
users.201

Impression Rate: The percentage of a user’s followers who are exposed to a post. Impression
rates are unique to each account and are not publicly available. Nonetheless, academic
researchers have developed a formula to estimate the impressions rate using follower counts.202

Influencers: People with specialized knowledge, authority, or insight into a specific niche or
industry that can sway the opinions of a target audience.

Information Cascade: The way information is exchanged on social media networks. After a
user posts content to social media, that user’s followers observe that behavior and repeat the

197
      https://www.investopedia.com/terms/c/cpm.asp
198
      https://www.investopedia.com/terms/c/cpm.asp
199
      https://edu.gcfglobal.org/en/digital-media-literacy/what-is-an-echo-chamber/1/
200
      https://edu.gcfglobal.org/en/digital-media-literacy/how-filter-bubbles-isolate-you/1/
201
      https://help.twitter.com/en/managing-your-account/using-the-tweet-activity-dashboard
202
      Wang et al., 2016



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same process by reposting or sharing the original user’s content. Through sharing and reposting,
an unbroken chain of messages is formed with a common, singular origin, that keeps extending
until individuals stop spreading or reposting it.203

Media System: A network of platforms, institutions, practices, and people understood as
circulating information, who by interacting with one another, shape each other’s opinions.204

Network: A system of users connected by exchanges of information.

Network Structure: The number of connections (e.g., followers) one user has and the number
of connections that user’s connections have.

Person Brand: An actively curated image that projects how a person wants the public to view
them. The brand image often consists of the person’s unique combination of skills, experience,
and personality.205

Ranking Algorithm: The algorithm each social media platform relies on to determine what
content to display to each user.206

Reach: The total number of people who could potentially be exposed to a post or other piece of
content.

Retweet Rate: The percentage of a user’s followers who retweeted a post. The retweet rate is
calculated by dividing the number of retweets by the number of followers.

Social Capital: The quality and quantity of social connections. Social capital can be measured
by the number of connections a user has on a social media network. Users with high social
capital are able to spread a message broadly and deeply on a network.

Social Media Platform: The websites and applications that focus on communication,
community-based input, interaction, content-sharing, and collaboration. Some popular examples
of social media platforms include Twitter, Facebook, Reddit, and YouTube.

Source Credibility: The extent to which the persons or entities generating information on social
media are perceived to be trustworthy, knowledgeable, and believable.207
203
      Vosoughi et al., 2018; Singh et al., 2020
      (https://www.sciencedirect.com/science/article/pii/S1877050920315283);
      https://blogs.cornell.edu/info2040/2016/11/16/information-cascade-in-social-media/
204
      https://oxfordre.com/politics/view/10.1093/acrefore/9780190228637.001.0001/acrefore-9780190228637-e-
      205
205
      https://hbr.org/2022/02/whats-the-point-of-a-personal-brand; https://influencermarketinghub.com/what-is-
      personal-branding/
206
      https://sproutsocial.com/insights/social-media-algorithms/
207
      Zha et al., 2018



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Unique Visitors: The total number of unique visits to a given page. Each visitor to the site is
counted once during the reporting period.208




208
      https://www.semrush.com/kb/975-traffic-analytics-top-landing-pages



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                                                   APPENDIX D. WEB IMPRESSIONS MODEL


                                                                                                                Unique
                                                               Publication                                                   Bounce    Impressions
      No.               Title                   Author                                   Website               Monthly
                                                                  Date                                                       Rate210    Estimate211
                                                                                                               Visitors209
               US writer says Trump             Agence
      W-1     sexually assaulted her in      France-Presse      6/21/2019             aljazeera.com             3,200,000    0.4052      43,221
                   mid-1990s212                 (AFP)
              E. Jean Carroll Accuses
                                               Alexandra
      W-2   Trump of Sexual Assault in                          6/21/2019          newyorktimes.com            60,400,000    0.4767      959,756
                                                 Alter
                   Her Memoir213
             Trump On E. Jean Carroll
            Rape Allegation: 'I've Never         Jenna
      W-3                                                       6/21/2019             huffpost.com             24,200,000    0.5484      442,376
               Met This Person In My            Amatulli
                       Life'214
             Trump Responds To Rape
            Accuser: ‘People Should Pay
      W-4                                    Amber Athey        6/21/2019            dailycaller.com            4,600,000    0.4859      74,505
               Dearly For Such False
                  Accusations’215
            Trump Says He 'Never Met'
      W-5    Author Who Has Accused          Brian Bennett      6/21/2019               time.com               12,800,000    0.3216      137,216
             Him of Sexual Assault216


209
        The total number of unique visitors to a given page in June 2019. Data collected from Semrush.
210
        The percentage of users who leave a page without taking any action
211
        Impressions estimate calculated using the following formula: (Unique Monthly Visitors/30)*(1-bounce rate)
212
        https://www.aljazeera.com/news/2019/6/21/us-writer-says-trump-sexually-assaulted-her-in-mid-1990s
213
        https://www.nytimes.com/2019/06/21/books/e-jean-carroll-trump.html
214
        https://www.huffpost.com/entry/trump-response-e-jean-carroll-rape-allegation_n_5d0d4a42e4b0a39418626c52
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        https://dailycaller.com/2019/06/21/trump-rape-accusation-false-e-jean-carroll/
216
        https://time.com/5612502/trump-jean-carroll-sexual-assault-allegation/



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                                                                                                               Unique
                                                              Publication                                                    Bounce     Impressions
      No.               Title                   Author                                  Website               Monthly
                                                                 Date                                                        Rate210     Estimate211
                                                                                                              Visitors209
              Trump Issues Blistering
      W-6    Denial of E. Jean Carroll's     Ellie Bufkin      6/21/2019       washingtonexaminer.com         15,400,000     0.2133        109,494
                 Rape Allegation217
             Noted Advice Columnist
             Says Trump Raped Her in
            Manhattan Department Store
      W-7                                   Adam Carlson       6/21/2019              people.com              27,400,000     0.3455        315,557
                in the '90s — 'Never
                 Happened,' Trump
                     Responds218
            Trump dismisses new sexual
      W-8                                   Matthew Choi       6/21/2019              politico.com            14,100,000     0.4098        192,606
                 assault allegation219
            Writer says she was raped by
      W-9                                   Casey Darnell      6/21/2019           news.yahoo.com             13,900,000     0.4611        213,643
                  Trump in 1990s220
            Writer says she was raped by
  W-10                                      Casey Darnell      6/21/2019           sports.yahoo.com           11,000,000     0.4943        181,243
                  Trump in 1990s221
               E. Jean Carroll Alleges
  W-11        President Donald Trump          EJ Dickson       6/21/2019           rollingstone.com           9,800,000      0.4129        134,881
                   Assaulted Her222
             Trump responds to E Jean
  W-12                                             -           6/21/2019            theguardian.com           28,100,000     0.4327        405,296
               Carroll's allegations223


217
        https://www.washingtonexaminer.com/tag/donald-trump?source=%2Fnews%2Ftrump-issues-blistering-denial-of-e-jean-carrolls-rape-allegation
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        https://people.com/politics/donald-trump-raped-e-jean-carroll/
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        https://www.politico.com/story/2019/06/21/trump-dismisses-new-sexual-assault-allegation-1376698
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        5d0d4b9e8f081e872734c692#block-5d0d4b9e8f081e872734c692



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                                                                                                                Unique
                                                               Publication                                                    Bounce      Impressions
      No.               Title                   Author                                   Website               Monthly
                                                                  Date                                                        Rate210      Estimate211
                                                                                                               Visitors209
            Magazine columnist accuses
                                             Beth Reinhard
              Trump of sexual assault
  W-13                                        and Colby         6/21/2019          washingtonpost.com          42,300,000      0.5450        768,450
            more than two decades ago,
                                               Itkowitz
             an allegation he denies224
              E. Jean Carroll: “Trump
            attacked me in the dressing
  W-14                                        Sarah Jones       6/21/2019              nymag.com                8,100,000      0.4640        125,280
                 room of Bergdorf
                   Goodman.”225
                E. Jean Carroll Says
              Bringing Rape Charges
  W-15       Against Trump Would Be           Hilary Lewis      6/22/2019        hollywoodreporter.com         11,500,000      0.3343        128,148
            “Disrespectful” to Migrant
                     Women226
             Advice Columnist E. Jean
                                              Caitlin Mac
  W-16        Carroll Accuses Donald                            6/21/2019        talkingpointsmemo.com          1,800,000      0.5923        35,538
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            Trump Of Sexual Assault227
            Longtime advice columnist
              E. Jean Carroll accuses
  W-17                                        Alex Pappas       6/21/2019             foxnews.com              71,500,000      0.4955       1,180,942
            Trump of sexual assault in
                      1990s228




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        https://www.washingtonpost.com/politics/magazine-columnist-accuses-trump-of-sexual-assault-more-than-two-decades-ago-an-allegation-he-
        denies/2019/06/21/2afc6f12-945a-11e9-b58a-a6a9afaa0e3e_story.html
225
        https://nymag.com/intelligencer/2019/06/president-donald-trump-faces-new-rape-accusation.html
226
        https://www.hollywoodreporter.com/lifestyle/lifestyle-news/writer-e-jean-carroll-no-disrespectful-rape-charges-trump-1220447/
227
        https://talkingpointsmemo.com/news/e-jean-carroll-donald-trump-sexual-assault
228
        https://www.foxnews.com/politics/longtime-advice-columnist-e-jean-carroll-accuses-trump-of-sexual-assault-in-1990s



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      No.               Title                   Author                                  Website               Monthly
                                                                 Date                                                        Rate210    Estimate211
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              Trump Goes on Tirade to
                 Deny Latest Assault
  W-18         Allegation: Women Are         Daniel Politi     6/22/2019               slate.com              10,500,000     0.3781      132,335
            “Paid Money” to Make False
                      Claims229
               Author E. Jean Carroll
                                               Christina
  W-19       accuses President Trump of                        6/21/2019           bostonglobe.com            3,700,000      0.5045      62,222
                                               Prignano
              sexual assault in 1990s230
            Trump claims he's never met
               the columnist who just
  W-20          accused him of sexual        Eliza Relman      6/21/2019              insider.com             5,000,000      0.3806      63,433
                 assault despite photo
            evidence of them together231
             Trump denies knowing NY
                                               Darlene
  W-21         woman accusing him of                           6/22/2019              apnews.com              13,700,000     0.2070      94,530
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             Trump Denies New Sexual
                Assault Allegation By
  W-22                                      Jessica Taylor     6/21/2019                npr.org               40,400,000     0.2309      310,945
              Advice Columnist E. Jean
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        https://slate.com/news-and-politics/2019/06/trump-slams-e-jean-carroll-accusation-sexual-assault-bergdorg-goodman.html
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        https://www.bostonglobe.com/news/politics/2019/06/21/author-jean-carroll-accuses-president-trump-sexual-
        assault/g3iN16JP6dqpiK5g0n9OJN/story.html
231
        https://www.businessinsider.com/trump-says-e-jean-carroll-falsely-accused-him-sexual-assault-2019-6
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        https://apnews.com/article/politics-ap-top-news-new-york-donald-trump-sexual-assault-899e37de570940a3a88d2245609ee328
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        https://www.npr.org/2019/06/21/734918876/trump-denies-new-sexual-assault-allegation-by-advice-columnist-e-jean-carroll



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                                                                                                              Visitors209
             Columnist E. Jean Carroll          Josh
  W-23       Accuses Trump of Sexual        Wingrove and       6/21/2019              fortune.com             4,900,000      0.3350         54,717
                 Assault in 1990s234         Bloomberg
              Trump dismisses E. Jean
  W-24        Carroll rape allegation as           -           6/22/2019                bbc.com               30,500,000     0.4985        506,808
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             Woman Accuses Trump of
                                                 Josh
  W-25      Sexual Assault at New York                         6/21/2019            bloomberg.com             18,100,000     0.3615        218,105
                                               Wingrove
                  Store in 1990s236
                Remarks by President
  W-26       Trump Before Marine One               -           6/22/2019              white house             2,100,000      0.3076         21,532
                     Departure237
            Trump goes on manic tirade
            after being asked about new
                                               Matthew
  W-27      rape allegation: Women get                         6/22/2019             rawstory.com             2,800,000      0.6100         56,933
                                               Chapman
               'paid money to say bad
                 things about me'238
            Writer E. Jean Carroll made
              a claim of sexual assault        William
  W-28                                                         6/25/2019             usatoday.com             43,100,000     0.3823        549,238
            against Trump. Here's what        Cummings
                     we know239


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        https://fortune.com/2019/06/21/e-jean-carroll-trump-rape-new-yorker/
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        https://www.bbc.com/news/world-us-canada-48727972
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        https://www.bloomberg.com/news/articles/2019-06-21/e-jean-carroll-accuses-trump-of-sexual-assault#xj4y7vzkg
237
        https://trumpwhitehouse.archives.gov/briefings-statements/remarks-president-trump-marine-one-departure-49/
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        https://www.rawstory.com/2019/06/trump-goes-on-manic-tirade-after-being-asked-about-new-rape-allegation-women-get-paid-money-to-say-bad-things-
        about-me/
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        https://www.usatoday.com/story/news/politics/onpolitics/2019/06/25/e-jean-carroll-what-we-know-sexual-assault-claim-against-trump/1546559001/



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                                                                  Date                                                        Rate210      Estimate211
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               George Conway Says
               Trump's Credibility is
                                                 Gillian
  W-29      'Annihilated' After President                       6/22/2019            newsweek.com              13,100,000      0.3319        144,930
                                                Edevane
              Denies Knowing Alleged
                 Assault Victim240
                                              Lulu Garcia-
             It Hurt. And It Was Against
                                              Navarro and
  W-30        My Will': Trump Accuser                           6/22/2019                 npr.org              40,400,000      0.2309        310,945
                                                Daniella
                Stands By Her Story241
                                               Cheslow
              Trump repeats contested
              claim he does not know            Amanda
  W-31                                                          6/22/2019            theguardian.com           28,100,000      0.4327        405,296
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                assault allegation243
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                                                Darlene
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        https://www.newsweek.com/george-conway-says-trumps-credibility-annihilated-after-president-denies-knowing-alleged-1445387
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        https://www.npr.org/2019/06/22/735080909/it-hurt-and-it-was-against-my-will-trump-accuser-stands-by-her-story
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        https://www.theguardian.com/us-news/2019/jun/22/trump-sexual-assault-accuser-e-jean-carroll
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        https://www.washingtonpost.com/politics/trump-compares-himself-to-kavanaugh-in-latest-sexual-assault-allegation/2019/06/22/81e2c1b4-9509-11e9-
        aadb-74e6b2b46f6a_story.html
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        https://abcnews.go.com/Politics/wireStory/trump-faces-sexual-assault-allegation-issues-denial-63873470



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      No.               Title                   Author                                   Website               Monthly
                                                                  Date                                                        Rate210      Estimate211
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  W-35       Assault Allegations: ‘She’s      Julia Arciga      6/25/2019           thedailybeast.com          24,500,000      0.3059       249,818
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              vehemently denies E. Jean
  W-36                                        and Saagar        6/24/2019              thehill.com             17,500,000      0.3991       232,808
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              Trump says famed advice
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             columnist who accused him
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                 Trump: Woman who                 The
  W-39          accused him of sexual          Associated       6/24/2019            denverpost.com            3,200,000       0.4071        43,424
                assault not his type250          Press




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        https://www.nytimes.com/2019/06/22/us/e-jean-carroll-donald-trump.html
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        https://www.thedailybeast.com/trump-on-e-jean-carrolls-assault-allegations-shes-not-my-type
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        https://thehill.com/homenews/administration/450116-trump-vehemently-denies-e-jean-carroll-allegation-shes-not-my-type/
248
        https://www.hollywoodreporter.com/news/politics-news/trump-says-accuser-e-jean-carroll-not-my-type-1220818/
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        https://www.chicagotribune.com/nation-world/ct-nw-e-jean-carroll-donald-trump-sexual-assault-allegation-20190625-wqtl77cbtra7fd2fuq64xhs6b4-
        story.html
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        https://www.denverpost.com/2019/06/24/trump-addresses-sexual-assault-allegations/



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      No.               Title                  Author                                  Website               Monthly
                                                                 Date                                                       Rate210    Estimate211
                                                                                                             Visitors209
            Trump Says Columnist Who
  W-40        Accused Him Of Rape Is         Amber Athey       6/24/2019            dailycaller.com          4,600,000      0.4859      74,505
                  ‘Not My Type’251
              Trump, accused again of
                                              Peter Baker
             sexual misconduct, insults
  W-41                                         and Niel        6/25/2019           bostonglobe.com           3,700,000      0.5045      62,222
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                   assaulted her252
             Trump On E. Jean Carroll
                                               Antonia
  W-42        Accusing Him Of Rape:                            6/24/2019             huffpost.com            24,200,000     0.5484      442,376
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               Trump denies woman's
  W-43       sexual assault accusation:        Reuters         6/25/2019             insider.com             5,000,000      0.3806      63,433
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               Trump denies woman's
  W-44       sexual assault accusation:        Reuters         6/25/2019             reuters.com             11,900,000     0.3870      153,510
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            I believe the president': GOP
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  W-45       stands by Trump on sexual                         6/25/2019             politico.com            14,100,000     0.4098      192,606
                                               Melanie
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        https://www.bostonglobe.com/news/nation/2019/06/25/trump-accused-again-sexual-misconduct-insults-woman-who-said-assaulted-
        her/ebBy7ynB1nOE96gZPbwa4M/story.html
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        https://www.huffpost.com/entry/trump-e-jean-carroll-rape-allegation-denial_n_5d1157dce4b0a39418678e0e
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        https://www.insider.com/trump-denies-womans-sexual-assault-accusation-shes-not-my-type-2019-6
255
        https://www.reuters.com/article/usa-trump-women-idUSL2N23W0IF
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        https://www.politico.com/story/2019/06/25/trump-accuse-gop-1382385



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      No.                Title                   Author                                   Website               Monthly
                                                                  Date                                                          Rate210      Estimate211
                                                                                                                Visitors209
             Trump says he didn't rape
                                                Rebecca
  W-46         author E. Jean Carroll:                           6/24/2019               axios.com               4,500,000      0.4717          70,755
                                                Falconer
               "She's not my type"257
                The Real Meaning of
  W-47        Trump’s ‘She’s Not My          Megan Garber        6/25/2019            theatlantic.com           15,600,000      0.2615          135,980
                  Type’ Defense258
             She's not my type': Trump
                again denies E. Jean            Rebecca
  W-48                                                           6/24/2019             usatoday.com             43,100,000      0.3823          549,238
            Carroll's sexual misconduct          Morin
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                A Look At President
                                               Ari Shapiro
                 Trump's Pattern Of
  W-49                                          and Anna         6/25/2019                npr.org               40,400,000      0.2309          310,945
            Responding To Accusations
                                                  North
              Of Sexual Misconduct260
            Trump Responds to E. Jean
  W-50        Carroll Rape Allegation:         Matt Stieb        6/25/2019              thecut.com               5,200,000      0.4347          75,348
              ‘She’s Not My Type’261
            E. Jean Carroll’s Accusation
            Against Donald Trump, and
  W-51                                        Jia Tolentino      6/25/2019            newyorker.com              6,900,000      0.4737          108,951
            the Raising, and Lowering,
                    of the Bar262



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        https://www.axios.com/2019/06/24/trump-says-he-didnt-rape-author-e-jean-carroll-shes-not-my-type
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        https://www.theatlantic.com/entertainment/archive/2019/06/trump-e-jean-carroll-rape-allegation-not-my-type-defense/592555/
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        https://www.usatoday.com/story/news/politics/2019/06/24/trump-e-jean-carroll-shes-not-my-type/1554116001/
260
        https://www.npr.org/2019/06/25/735930764/a-look-at-president-trumps-pattern-of-responding-to-accusations-of-sexual-miscon
261
        https://www.thecut.com/2019/06/trump-on-e-jean-carroll-rape-claim-shes-not-my-type.html
262
        https://www.newyorker.com/news/our-columnists/e-jean-carrolls-accusation-against-donald-trump-and-the-raising-and-lowering-of-the-bar



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                                                            Publication                                         Bounce    Impressions
      No.              Title                  Author                            Website           Monthly
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            Donald Trump Responds to
              E. Jean Carroll's Rape
  W-52                                       Jay Willis     6/25/2019           gq.com            4,300,000     0.5004      71,724
            Allegation: "She's Not My
                     Type"263
            Trump says sexual assault
  W-53      accuser E Jean Carroll 'not          -          6/25/2019           bbc.com           30,500,000    0.4985      506,808
                    my type'264
                                                                                            TOTAL WEB IMPRESSIONS         13,922,234




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        https://www.gq.com/story/trump-not-my-type
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        https://www.bbc.com/news/world-us-canada-48754959



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                                              APPENDIX E. SOCIAL MEDIA IMPRESSIONS MODEL


                                                                                     Average
                                                    Primary                                           Total        Impression          Impressions
             Original Tweet          Article                                           RT
  No.                                               Followers      Retweets267                      Followers       Estimate            Estimate
                  ID265            Referenced           266                         Followers           269
                                                                                        268                       Equation 2a270      Equation 2b271
  S‐1       @LauraLitvan272             N/A           17,586           597            10,946          28,532          302,891              60,190
  S‐2        @nytimes273                W‐2         43,602,518         123            1,062        43,603,580        1,517,403           7,622,861
  S‐3       @dailycaller274             W‐4           509,377          82             1,404          510,781           50,916              90,045
  S‐4       @dailycaller275             W‐4           509,211          241            4,319          513,530          111,412              98,107
  S‐5       @dailycaller276             W‐4           509,023          379            1,846          510,869           97,086              95,090
  S‐6         @time277                  W‐5         16,073,840          34             702         16,074,542         605,662            2,809,916
  S‐7        @people278                 W‐7          7,515,391          17             598          7,515,989         310,072            1,313,779


265
        Twitter's unique identifier for the original tweet
266
        Number of followers of original tweet
267
        Total number of retweets (and quote tweets) to the original tweet
268
        Estimated average number of followers of all retweets. Estimate is based on retweets accessible via the Twitter API.
269
        (Average RT Followers * Retweets) + Primary Followers
270
        Equation 2a: 10^(0.7396 log(Total Followers*(1-bot rate)) + 0.0473 log(Primary Followers*(1-bot rate)) + 0.1027 log(Retweets)). Where:
        “Bot rate” is an estimate rate of bot activity on Twitter. I’m estimating a 12.6% bot rate.
271
        Equation 2b: (primary followers * First Level Impression Rate * (1-bot rate of 12.6%)) + (Retweets * Second Level Impression Rate * (1-bot rate)).
        Where:
        “First Level Impression Rate” is an estimated impression rate for the original tweet. I’m estimating a 20% First Level Impression Rate.
        “Second Level Impression Rate” an estimated impression rate for the retweets of the original tweet. I’m estimating a 1% Second Level Impression Rate.
272
        https://twitter.com/LauraLitvan/status/1142179819075121154
273
        https://twitter.com/nytimes/status/1142469834170601477
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        https://twitter.com/DailyCaller/status/1143013379558334464
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        https://twitter.com/DailyCaller/status/1142809657653813248
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        https://twitter.com/DailyCaller/status/1142420738865078272
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        https://twitter.com/TIME/status/1142190416256782337
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        https://twitter.com/people/status/1142189984574836736



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                                                                               Average
                                                  Primary                                   Total       Impression       Impressions
            Original Tweet          Article                                      RT
  No.                                             Followers     Retweets267               Followers      Estimate         Estimate
                 ID265            Referenced          266                     Followers       269
                                                                                 268                   Equation 2a270   Equation 2b271
  S‐8       @politico279             W‐8          3,838,011         621        8,539       3,846,550      501,872          717,229
  S‐9       @politico280             W‐8          3,838,042         168        3,051       3,841,093      253,407          675,370
 S‐10       @politico281             W‐8          3,838,042          66         1,727      3,839,769      214,427          671,886
 S‐11       @politico282             W‐8          3,838,042          67         1,805      3,839,847      215,038          671,947
 S‐12      @RollingStone283          W‐11         6,278,602          16         1,584      6,280,186      268,022         1,097,721
 S‐13     @washingtonpost284         W‐13        13,798,619         229        4,023      13,802,642      684,581         2,420,050
 S‐14        @Slate285               W‐18         1,778,594          24         1,661      1,780,255      104,961          311,247
 S‐15        @Slate286               W‐18         1,778,506          15        10,499      1,789,005      104,756          312,259
 S‐16        @Slate287               W‐18         1,778,538          12        3,580       1,782,118       97,870          311,264
 S‐17        @Slate288               W‐18         1,778,659          13        5,059       1,783,718       99,595          311,484
 S‐18        @Slate289               W‐18         1,778,670          10        2,492       1,781,162       95,355          311,129
 S‐19        @Slate290               W‐18         1,778,685           9        7,318       1,786,003       95,909          311,490
 S‐20        @Slate291               W‐18         1,778,560           8        1,622       1,780,182       92,734          311,006
 S‐21        @Slate292               W‐18         1,778,681           9          464       1,779,145       93,526          310,950

279
        https://twitter.com/politico/status/1142187206834081792
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        https://twitter.com/politico/status/1142205734639362048
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        https://twitter.com/politico/status/1142205735553634305
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        https://twitter.com/Slate/status/1142492014820438016
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        https://twitter.com/Slate/status/1142617601220259840
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        https://twitter.com/Slate/status/1142884945943289856
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        https://twitter.com/Slate/status/1143296495204126723
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                                                                              Average
                                                 Primary                                   Total       Impression       Impressions
            Original Tweet          Article                                     RT
  No.                                            Followers     Retweets267               Followers      Estimate         Estimate
                 ID265            Referenced         266                     Followers       269
                                                                                268                   Equation 2a270   Equation 2b271
 S‐22        @Slate293               W‐18         1,778,697         5           692      1,779,389       88,022           310,946
 S‐23        @Slate294               W‐18         1,778,705         3          2,678     1,781,383       83,682           310,988
 S‐24        @Slate295               W‐18         1,778,696         5          1,481     1,780,177       88,166           310,981
 S‐25        @Slate296               W‐18         1,778,673         7           547      1,779,220       91,129           310,945
 S‐26        @Slate297               W‐18         1,778,701         3          1,903     1,780,604       83,601           310,967
 S‐27        @NPR298                 W‐22         7,770,046         94          956      7,771,002       382,281         1,358,989
          @FortuneMagazine
                   299                            2,262,542          1          0        2,262,542       90,034           395,492
 S‐28                                W‐23
 S‐29       @BBCNews300              W‐24        10,029,760          31        767       10,030,527      414,204         1,753,410
 S‐30       @BBCWorld301             W‐24        25,250,057          66       3,758      25,253,815      930,727         4,415,878
 S‐31       @BBCWorld302             W‐24        25,251,777         118      109,206     25,360,983     1,330,634        4,526,637
 S‐32       @RawStory303             W‐27          198,447          39        7,764        206,211        38,345           37,335
 S‐33       @newsweek304             W‐29         3,333,156          48       1,025       3,334,181      183,730          583,066
 S‐34         @NPR305                W‐30         7,770,824          95       1,060       7,771,884      383,118         1,359,220


293
        https://twitter.com/Slate/status/1143242046377025538
294
        https://twitter.com/Slate/status/1143103358351360001
295
        https://twitter.com/Slate/status/1143077862464983040
296
        https://twitter.com/Slate/status/1142966568806227968
297
        https://twitter.com/Slate/status/1143195574482677761
298
        https://twitter.com/NPR/status/1142260932703334400
299
        https://twitter.com/FortuneMagazine/status/1142556629906415616
300
        https://twitter.com/BBCNews/status/1142225240942141440
301
        https://twitter.com/BBCWorld/status/1142220276538720256
302
        https://twitter.com/BBCWorld/status/1142380908311453696
303
        https://twitter.com/RawStory/status/1142478448746749952
304
        https://twitter.com/Newsweek/status/1142781858796703746
305
        https://twitter.com/NPR/status/1142824913822244864



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                                                                               Average
                                                  Primary                                   Total       Impression       Impressions
            Original Tweet          Article                                      RT
  No.                                             Followers     Retweets267               Followers      Estimate         Estimate
                 ID265            Referenced          266                     Followers       269
                                                                                 268                   Equation 2a270   Equation 2b271
 S‐35     @guardiannews306           W‐31         2,875,794          10         2,203      2,877,997      138,523          502,881
 S‐36     @washingtonpost307         W‐32        13,801,157         450        2,709      13,803,866      744,815         2,423,097
 S‐37     @washingtonpost308         W‐32        13,802,210         426        7,599      13,809,809      813,052         2,440,919
 S‐38        @nytimes309             W‐34        43,606,559         102        3,864      43,610,423     1,495,243        7,625,871
 S‐39      @thedailybeast310         W‐35         1,220,166          42         5,081      1,225,247       91,591          215,150
 S‐40        @thehill311             W‐36         3,294,185         125         1,681      3,295,866      207,974          577,660
 S‐41        @thehill312             W‐36         3,294,122          68        26,072      3,320,194      256,624          591,307
 S‐42        @thehill313             W‐36         3,294,403          31         1,554      3,295,957      174,036          576,283
 S‐43        @thehill314             W‐36         3,294,049           9         3,448      3,297,497      152,682          576,071
 S‐44       @dailycaller315          W‐40          509,572          151        1,738        511,310        63,413           91,367
 S‐45       @dailycaller316          W‐40          509,664           17          867        510,531        38,068           89,218
 S‐46       @huffpost317             W‐42        11,437,397         266        4,559      11,441,956      615,996         2,009,856
 S‐47        @politico318            W‐45         3,840,348          61        14,392      3,854,740      242,492          678,966
 S‐48         @axios319              W‐46          277,660          46         1,481        279,141       30,111           49,130

306
        https://twitter.com/guardiannews/status/1142535020504113167
307
        https://twitter.com/washingtonpost/status/1142492789336346624
308
        https://twitter.com/washingtonpost/status/1142615547688955917
309
        https://twitter.com/nytimes/status/1142794459052224512
310
        https://twitter.com/thedailybeast/status/1143302340235202561
311
        https://twitter.com/thehill/status/1143499091789471747
312
        https://twitter.com/thehill/status/1143477200148189184
313
        https://twitter.com/thehill/status/1143535330164953089
314
        https://twitter.com/thehill/status/1143445235445436416
315
        https://twitter.com/DailyCaller/status/1143314226095755265
316
        https://twitter.com/DailyCaller/status/1143492790329970688
317
        https://twitter.com/HuffPost/status/1143300651532898304
318
        https://twitter.com/politico/status/1143648348945178624
319
        https://twitter.com/axios/status/1143292968771604480



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                                                                             Average
                                                Primary                                   Total      Impression       Impressions
            Original Tweet         Article                                     RT
  No.                                           Followers     Retweets267               Followers     Estimate         Estimate
                 ID265           Referenced         266                     Followers       269
                                                                               268                  Equation 2a270   Equation 2b271
 S‐49       @usatoday320            W‐48       3,812,700   18       1,852     3,814,552               183,849           666,751
 S‐50        @thecut321             W‐50       1,411,305   5       12,513     1,423,818                75,654           247,243
 S‐51      @GQMagazine322           W‐52       1,302,850    5        160      1,303,010                68,828           227,745
 S‐52      @GQMagazine323           W‐52       1,302,856   3        3,926     1,306,782                65,717           227,842
 S‐53      @GQMagazine324           W‐52       1,302,845   4         771      1,303,616                67,356           227,764
 S‐54       @BBCNews325             W‐53      10,033,926  104        844     10,034,770               471,389          1,754,697
 S‐55      @BBCWorld326             W‐53      25,264,091  362       1,322    25,265,413              1,116,377        4,420,345
                                           TOTAL SOCIAL MEDIA IMPRESSIONS (LOW/HIGH)                 17,218,959       63,040,041




320
        https://twitter.com/USATODAY/status/1143375768682160128
321
        https://twitter.com/TheCut/status/1143501166678106112
322
        https://twitter.com/GQMagazine/status/1143610084611768320
323
        https://twitter.com/GQMagazine/status/1143645060262694919
324
        https://twitter.com/GQMagazine/status/1143952085978947586
325
        https://twitter.com/BBCNews/status/1143451392058830848
326
        https://twitter.com/bbcworld/status/1143414344287510528



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                                                    APPENDIX F. TV IMPRESSIONS MODEL


                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                   5:00pm-6:00pm         CNN (San
      T-1                        Anderson Cooper 360328                             6/21/2019                                             877,000329
                                                                                                         PDT             Francisco)
                                                                                                   8:00pm-9:00pm         CNN (San
      T-2                        Anderson Cooper 360330                             6/21/2019                                                 N/A
                                                                                                         PDT             Francisco)
                                                                                                       9:00pm-           CNN (San
      T-3                         Cuomo Prime Time331                               6/21/2019                                             936,000332
                                                                                                    10:00pm PDT          Francisco)
                                                                                                   6:30pm-7:00pm
      T-4                         CBS Evening News333                               6/21/2019                           KPIX (CBS) 5,863,000334
                                                                                                         PDT
                                                                                                      10:00pm-            KTVU
      T-5             The Ten O’Clock News on KTVU Fox 2335                         6/21/2019                                            1,401,000336
                                                                                                    10:59pm PDT           (FOX)
                                                                                                      10:00pm-            MSNBC
      T-6             The Last Word With Lawrence O'Donnell337                      6/21/2019                                            2,010,000338
                                                                                                    11:00pm PDT            West


327
        I only count ratings for a particular program once in a day. I use “N/A” to denote broadcasts that I am not counting.
328
        https://archive.org/details/CNNW_20190622_000000_Anderson_Cooper_360/
329
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/?ver=1663095759923
330
        https://archive.org/details/CNNW_20190622_030000_Anderson_Cooper_360/
331
        https://archive.org/details/CNNW_20190622_040000_Cuomo_Prime_Time
332
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
333
        https://archive.org/details/KPIX_20190622_013000_CBS_Evening_News
334
        https://www.thewrap.com/broadcast-evening-news-ratings-2019-2020/
335
        https://archive.org/details/KTVU_20190622_050000_The_Ten_OClock_News_on_KTVU_Fox_2
336
        https://press.foxnews.com/2019/12/fox-news-channel-notches-highest-rated-primetime-in-network-history
337
        https://archive.org/details/MSNBCW_20190622_050000_The_Last_Word_With_Lawrence_ODonnell
338
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                   5:00pm-6:00pm          MSNBC
      T-7                       All In With Chris Hayes339                          6/21/2019                                            1,552,000340
                                                                                                         PDT               West
                                                                                                       9:00pm-            MSNBC
      T-8                     The Rachel Maddow Show341                             6/21/2019                                            2,561,000342
                                                                                                    10:01pm PDT            West
                                                                                                   1:00am-2:00am         CNN (San
      T-9                        CNN Newsroom Live343                               6/22/2019                                             628,000344
                                                                                                         PDT             Francisco)
                                                                                                       12:00am-          CNN (San
  T-10                           CNN Newsroom Live345                               6/22/2019                                                 N/A
                                                                                                     1:00am PDT          Francisco)
                                                                                                       12:00pm-          CNN (San
  T-11                   CNN Newsroom With Ana Cabrera346                           6/22/2019                                                 N/A
                                                                                                     1:00pm PDT          Francisco)
                                                                                                   3:00am-4:00am         CNN (San
  T-12      New Day Weekend With Victor Blackwell and Christi Paul347 6/22/2019                                                           534,000348
                                                                                                         PDT             Francisco)
                                                                                                   4:00am-5:00am         CNN (San             N/A
  T-13      New Day Weekend With Victor Blackwell and Christi Paul349 6/22/2019
                                                                                                         PDT             Francisco)
                                                                                                   5:00am-6:00am         CNN (San             N/A
  T-14      New Day Weekend With Victor Blackwell and Christi Paul350 6/22/2019
                                                                                                         PDT             Francisco)

339
        https://archive.org/details/MSNBCW_20190622_000000_All_In_With_Chris_Hayes
340
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
341
        https://archive.org/details/MSNBCW_20190622_040000_The_Rachel_Maddow_Show
342
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
343
        https://archive.org/details/CNNW_20190622_080000_CNN_Newsroom_Live
344
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/?ver=1663095759923
345
        https://archive.org/details/CNNW_20190622_070000_CNN_Newsroom_Live
346
        https://archive.org/details/CNNW_20190622_190000_CNN_Newsroom_With_Ana_Cabrera
347
        https://archive.org/details/CNNW_20190622_100000_New_Day_Weekend_With_Victor_Blackwell_and_Christi_Paul
348
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
349
        https://archive.org/details/CNNW_20190622_110000_New_Day_Weekend_With_Victor_Blackwell_and_Christi_Paul
350
        https://archive.org/details/CNNW_20190622_120000_New_Day_Weekend_With_Victor_Blackwell_and_Christi_Paul



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                                                                                                                              Ratings
      No.                                Title                                    Date            Time           Network
                                                                                                                             Estimate327
                                                                                            7:00am-8:00am       CNN (San         N/A
  T-15       CNN Newsroom With Victor Blackwell and Christi Paul351            6/22/2019
                                                                                                  PDT           Francisco)
                                                                                            8:00am-9:00am       CNN (San        N/A
  T-16              CNN Newsroom With Fredricka Whitfield352                   6/22/2019
                                                                                                  PDT           Francisco)
                                                                                            7:00am-9:00am       Fox News
  T-17                              Cavuto Live353                             6/22/2019                                     1,401,000354
                                                                                                  PDT              West
                                                                                                9:00am-         Fox News
  T-18                          America's News HQ355                           6/22/2019                                     1,401,000356
                                                                                             11:00am PDT           West
                                                                                            5:30pm-5:59pm         KNTV
  T-19                 NBC Nightly News With Lester Holt357                    6/22/2019                                     6,769,000358
                                                                                                  PDT             (NBC)
                                                                                            4:00am-5:59am
  T-20                           CBS This Morning359                           6/22/2019                        KPIX (CBS) 2,700,000360
                                                                                                  PDT
                                                                                               10:00pm-           KTVU
  T-21               The Ten O’Clock News on KTVU Fox 2361                     6/22/2019                                     1,401,000362
                                                                                             10:44pm PDT          (FOX)




351
        https://archive.org/details/CNNW_20190622_140000_CNN_Newsroom_With_Victor_Blackwell_and_Christi_Paul
352
        https://archive.org/details/CNNW_20190622_150000_CNN_Newsroom_With_Fredricka_Whitfield
353
        https://archive.org/details/FOXNEWSW_20190622_140000_Cavuto_Live
354
        https://press.foxnews.com/2019/12/fox-news-channel-notches-highest-rated-primetime-in-network-history
355
        https://archive.org/details/FOXNEWSW_20190622_160000_Americas_News_HQ
356
        https://press.foxnews.com/2019/12/fox-news-channel-notches-highest-rated-primetime-in-network-history
357
        https://archive.org/details/KNTV_20190623_003000_NBC_Nightly_News_With_Lester_Holt
358
        https://press.nbcnews.com/2019/07/02/nbc-nightly-news-with-lester-holt-wins-second-quarter-of-2019/
359
        https://archive.org/details/KPIX_20190622_110000_CBS_This_Morning
360
        https://pagesix.com/2019/06/27/cbs-this-morning-ratings-plunge-after-massive-shake-up/
361
        https://archive.org/details/KTVU_20190623_050000_The_Ten_OClock_News_on_KTVU_Fox_2
362
        https://press.foxnews.com/2019/12/fox-news-channel-notches-highest-rated-primetime-in-network-history



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                       7:00am-             KTVU
  T-22                       KTVU Mornings on 2 at 7am363                           6/22/2019                                            1,401,000364
                                                                                                    10:00am PDT            (FOX)
                                                                                                   5:00am-7:00am          MSNBC
  T-23                            Up With David Gura365                             6/22/2019                                             900,000366
                                                                                                         PDT                West
                                                                                                   6:00pm-7:00pm          MSNBC
  T-24                        The Rachel Maddow Show367                             6/22/2019                                            2,561,000368
                                                                                                         PDT                West
                                                                                                       9:00am-            MSNBC
  T-25                         Weekends With Alex Witt369                           6/22/2019                                             900,000370
                                                                                                    11:00am PDT             West
                                                                                                      10:00pm-           CNN (San
  T-26                            Cuomo Prime Time371                               6/24/2019                                             936,000372
                                                                                                    11:00pm PDT          Francisco)
                                                                                                      11:00pm-           CNN (San
  T-27                     CNN Tonight With Don Lemon373                            6/24/2019                                             833,000374
                                                                                                    12:00am PDT          Francisco)



363
        https://archive.org/details/KTVU_20190622_140000_KTVU_Mornings_on_2_at_7am
364
        https://press.foxnews.com/2019/12/fox-news-channel-notches-highest-rated-primetime-in-network-history
365
        https://archive.org/details/MSNBCW_20190622_120000_Up_With_David_Gura
366
        https://www.adweek.com/tvnewser/q2-19-ratings-msnbc-remains-one-of-the-most-watched-networks-on-cable-but-saw-a-key-program-slip-in-the-
        demo/407840/
367
        https://archive.org/details/MSNBCW_20190623_010000_The_Rachel_Maddow_Show
368
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
369
        https://archive.org/details/MSNBCW_20190622_160000_Weekends_With_Alex_Witt
370
        https://www.adweek.com/tvnewser/q2-19-ratings-msnbc-remains-one-of-the-most-watched-networks-on-cable-but-saw-a-key-program-slip-in-the-
        demo/407840/
371
        https://archive.org/details/CNNW_20190625_050000_Cuomo_Prime_Time
372
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
373
        https://archive.org/details/CNNW_20190625_060000_CNN_Tonight_With_Don_Lemon
374
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                      12:00pm-           CNN (San
  T-28                 CNN Newsroom With Brooke Baldwin375                          6/24/2019                                             534,000376
                                                                                                    1:00pm PDT           Francisco)
                                                                                                   3:00pm-4:00pm         CNN (San
  T-29                    Situation Room With Wolf Blitzer377                       6/24/2019                                             168,000378
                                                                                                        PDT              Francisco)
                                                                                                   4:00am-5:00am         CNN (San
  T-30           New Day With Alisyn Camerota and John Berman379                    6/24/2019                                             460,000380
                                                                                                        PDT              Francisco)
                                                                                                   5:00am-6:00am         CNN (San
  T-31           New Day With Alisyn Camerota and John Berman381                    6/24/2019                                                 N/A
                                                                                                        PDT              Francisco)
                                                                                                   5:00pm-6:00pm         CNN (San
  T-32                           Anderson Cooper 360382                             6/24/2019                                             877,000383
                                                                                                        PDT              Francisco)
                                                                                                   6:00pm-7:00pm         CNN (San             N/A
  T-33                            Cuomo Prime Time384                               6/24/2019
                                                                                                        PDT              Francisco)
                                                                                                   7:00pm-8:00pm         CNN (San             N/A
  T-34                     CNN Tonight With Don Lemon385                            6/24/2019
                                                                                                        PDT              Francisco)


375
        https://archive.org/details/CNNW_20190624_190000_CNN_Newsroom_With_Brooke_Baldwin
376
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
377
        https://archive.org/details/CNNW_20190624_220000_Situation_Room_With_Wolf_Blitzer
378
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
379
        https://archive.org/details/CNNW_20190624_110000_New_Day_With_Alisyn_Camerota_and_John_Berman
380
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
381
        https://archive.org/details/CNNW_20190624_120000_New_Day_With_Alisyn_Camerota_and_John_Berman
382
        https://archive.org/details/CNNW_20190625_000000_Anderson_Cooper_360
383
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/?ver=1663095759923
384
        https://archive.org/details/CNNW_20190625_010000_Cuomo_Prime_Time
385
        https://archive.org/details/CNNW_20190625_020000_CNN_Tonight_With_Don_Lemon



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                       9:00pm-           CNN (San            N/A
  T-35                           Anderson Cooper 360386                             6/24/2019
                                                                                                    10:00pm PDT          Francisco)
                                                                                                      10:00pm-            MSNBC
  T-36                The Last Word With Lawrence O'Donnell387                      6/24/2019                                            2,010,000388
                                                                                                    11:00pm PDT            West
                                                                                                   2:00am-3:00am          MSNBC
  T-37                                  First Look389                               6/24/2019                                             385,000390
                                                                                                          PDT              West
                                                                                                   3:00am-6:00am          MSNBC
  T-38                                Morning Joe391                                6/24/2019                                            1,033,000392
                                                                                                          PDT              West
                                                                                                        9:00am-           MSNBC
  T-39                          Andrea Mitchell Reports393                          6/24/2019                                             839,000394
                                                                                                    10:00am PDT            West
                                                                                                       12:00am-          CNN (San
  T-40                     CNN Tonight With Don Lemon395                            6/25/2019                                             833,000396
                                                                                                     1:00am PDT          Francisco)
                                                                                                   2:00am-3:00am         CNN (San
  T-41          Early Start With Christine Romans and Dave Briggs397                6/25/2019                                             534,000398
                                                                                                          PDT            Francisco)

386
        https://archive.org/details/CNNW_20190625_040000_Anderson_Cooper_360
387
        https://archive.org/details/MSNBCW_20190625_050000_The_Last_Word_With_Lawrence_ODonnell
388
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
389
        https://archive.org/details/MSNBCW_20190624_090000_First_Look
390
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
391
        https://archive.org/details/MSNBCW_20190624_100000_Morning_Joe
392
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
393
        https://archive.org/details/MSNBCW_20190624_160000_Andrea_Mitchell_Reports
394
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
395
        https://archive.org/details/CNNW_20190625_070000_CNN_Tonight_With_Don_Lemon
396
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
397
        https://archive.org/details/CNNW_20190625_090000_Early_Start_with_Christine_Romans_and_Dave_Briggs
398
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                   3:00am-4:00am         CNN (San
  T-42           New Day With Alisyn Camerota and John Berman399                    6/25/2019                                                 N/A
                                                                                                        PDT              Francisco)
                                                                                                   4:00am-5:00am         CNN (San
  T-43           New Day With Alisyn Camerota and John Berman400                    6/25/2019                                             460,000401
                                                                                                        PDT              Francisco)
                                                                                                   7:00am-8:00am         CNN (San
  T-44          CNN Newsroom with Poppy Harlow and Jim Sciutto402                   6/25/2019                                             534,000403
                                                                                                        PDT              Francisco)
                                                                                                   2:42am-4:00am
  T-45                             World News Now404                                6/25/2019                           KGO (ABC) 3,929,000405
                                                                                                        PDT
                                                                                                   5:30pm-6:00pm
  T-46              ABC World News Tonight With David Muir406                       6/25/2019                           KGO (ABC) 9,390,000407
                                                                                                        PDT
                                                                                                   7:00am-9:00am
  T-47                          Good Morning America408                             6/25/2019                           KGO (ABC) 3,920,000409
                                                                                                        PDT




399
        https://archive.org/details/CNNW_20190625_100000_New_Day_With_Alisyn_Camerota_and_John_Berman
400
        https://archive.org/details/CNNW_20190625_110000_New_Day_With_Alisyn_Camerota_and_John_Berman
401
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
402
        https://archive.org/details/CNNW_20190625_140000_CNN_Newsroom_with_Poppy_Harlow_and_Jim_Sciutto
403
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/
404
        https://archive.org/details/KGO_20190625_094200_World_News_Now
405
        https://www.adweek.com/tvnewser/morning-show-ratings-q2-2019-week-of-june-24/407846/
406
        https://archive.org/details/KGO_20190626_003000_ABC_World_News_Tonight_With_David_Muir
407
        https://deadline.com/2020/09/abc-news-world-news-tonight-viewership-2019-20-1234582089/
408
        https://archive.org/details/KGO_20190625_140000_Good_Morning_America
409
        https://www.adweek.com/tvnewser/morning-show-ratings-q2-2019-week-of-june-24/407846/



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                                                                                                                                         Ratings
      No.                                   Title                                      Date             Time             Network
                                                                                                                                        Estimate327
                                                                                                     11:35pm-
  T-48                  The Late Show With Stephen Colbert410                       6/25/2019                          KPIX (CBS) 3,800,000411
                                                                                                   12:37am PDT
                                                                                                  6:00pm-6:30pm
  T-49                         KPIX 5 News at 6:00PM412                             6/25/2019                          KPIX (CBS) 5,468,000413
                                                                                                       PDT
                                                                                                  6:30pm-7:00pm
  T-50                            CBS Evening News414                               6/25/2019                          KPIX (CBS) 5,863,000415
                                                                                                       PDT
                                                                                                  7:00am-9:00am
  T-51                            CBS This Morning416                               6/25/2019                          KPIX (CBS) 2,700,000417
                                                                                                       PDT
                                                                                                  1:00pm-2:00pm          MSNBC
  T-52                          Deadline: White House418                            6/25/2019                                           1,378,000419
                                                                                                       PDT                West
                                                                                                  2:00am-3:00am          MSNBC
  T-53                                 First Look420                                6/25/2019                                            385,000421
                                                                                                       PDT                West
                                                                                                  3:00am-6:00am          MSNBC
  T-54                                Morning Joe422                                6/25/2019                                           1,033,000423
                                                                                                       PDT                West

410
        https://archive.org/details/KPIX_20190626_063500_The_Late_Show_With_Stephen_Colbert
411
        https://www.nytimes.com/2019/03/05/business/media/colbert-fallon-ratings-nielsen.html?login=email&auth=login-email&login=email&auth=login-
        email#:~:text=The%20latest%20season-to-date,viewers%20in%20that%20same%20period.
412
        https://archive.org/details/KPIX_20190626_010000_KPIX_5_News_at_600PM
413
        https://www.adweek.com/tvnewser/morning-show-ratings-q2-2019-week-of-june-24/407846/
414
        https://archive.org/details/KPIX_20190626_013000_CBS_Evening_News
415
        https://www.thewrap.com/broadcast-evening-news-ratings-2019-2020/
416
        https://archive.org/details/KPIX_20190625_140000_CBS_This_Morning
417
        https://pagesix.com/2019/06/27/cbs-this-morning-ratings-plunge-after-massive-shake-up/
418
        https://archive.org/details/MSNBCW_20190625_200000_Deadline_White_House
419
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
420
        https://archive.org/details/MSNBCW_20190625_090000_First_Look
421
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
422
        https://archive.org/details/MSNBCW_20190625_100000_Morning_Joe
423
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/



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                                                                                                                                          Ratings
      No.                                   Title                                      Date              Time             Network
                                                                                                                                         Estimate327
                                                                                                   6:00am-7:00am          MSNBC
  T-55                   MSNBC Live With Stephanie Ruhle424                         6/25/2019                                             984,000425
                                                                                                         PDT               West
                                                                                                   7:00am-8:00am          MSNBC
  T-56                    MSNBC Live With Hallie Jackson426                         6/25/2019                                             887,000427
                                                                                                         PDT               West
                                                                                                   8:00am-9:00am          MSNBC
  T-57                     MSNBC Live With Craig Melvin428                          6/25/2019                                             800,000429
                                                                                                         PDT               West
                                                                                                       9:00am-            MSNBC
  T-58                          Andrea Mitchell Reports430                          6/25/2019                                             839,000431
                                                                                                    10:00am PDT            West
                                                                                                      12:37am-            KNTV
  T-59                       Late Night With Seth Meyers432                         6/26/2019                                            1,293,000433
                                                                                                    1:37am PDT            (NBC)
                                                                                                   3:12am-4:00am
  T-60                           CBS Overnight News434                              6/26/2019                           KPIX (CBS) 2,986,000435
                                                                                                         PDT
                                                                                                   8:00am-9:00am         CNN (San
  T-61                     At This Hour With Kate Bolduan436                        6/27/2019                                             534,000437
                                                                                                         PDT             Francisco)

424
        https://archive.org/details/MSNBCW_20190625_130000_MSNBC_Live_With_Stephanie_Ruhle
425
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
426
        https://archive.org/details/MSNBCW_20190625_140000_MSNBC_Live_With_Hallie_Jackson
427
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
428
        https://archive.org/details/MSNBCW_20190625_150000_MSNBC_Live_With_Craig_Melvin
429
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
430
        https://archive.org/details/MSNBCW_20190625_160000_Andrea_Mitchell_Reports
431
        https://www.adweek.com/tvnewser/here-are-the-top-cable-news-shows-of-q2-2019/407842/
432
        https://archive.org/details/KNTV_20190626_073700_Late_Night_With_Seth_Meyers
433
        https://thecomicscomic.com/2020/05/26/late-night-tv-ratings-for-2019-2020/
434
        https://archive.org/details/KPIX_20190626_101200_CBS_Overnight_News
435
        https://www.adweek.com/tvnewser/morning-show-ratings-q2-2019-week-of-june-24/407846/
436
        https://archive.org/details/CNNW_20190627_150000_At_This_Hour_With_Kate_Bolduan
437
        https://www.adweek.com/tvnewser/q2-2019-ratings-cnn-is-a-top-10-basic-cable-network-in-total-day-but-remains-stuck-behind-fox-news-and-msnbc-
        during-prime-time/407838/



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                                                                                                                                  Ratings
      No.                                    Title                                       Date                 Time    Network
                                                                                                                                 Estimate327
                                                                                                     3:30pm-4:00pm
  T-62               ABC World News Tonight With David Muir438                        6/27/2019                      KGO (ABC) 9,390,000439
                                                                                                          PDT
                                                                                                     7:00pm-7:30pm
  T-63                   NBC Nightly News With Lester Holt440                         6/27/2019                      WRC (NBC) 6,769,000441
                                                                                                          EDT
                                                 TOTAL TV IMPRESSIONS ESTIMATE                                                   108,580,000




438
        https://archive.org/details/KGO_20190627_223000_ABC_World_News_Tonight_With_David_Muir
439
        https://deadline.com/2020/09/abc-news-world-news-tonight-viewership-2019-20-1234582089/
440
        https://archive.org/details/WRC_20190627_230000_NBC_Nightly_News_With_Lester_Holt
441
        https://press.nbcnews.com/2019/07/02/nbc-nightly-news-with-lester-holt-wins-second-quarter-of-2019/



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                                                   APPENDIX G. PRINT IMPRESSIONS MODEL


      No.                                       Article Title                                         Publication     Date    Circulation442
      P-1          Donald Trump accused of sexually assaulting writer E Jean Carroll                 The Guardian   6/21/2019      N/A
      P-2                     N.Y. writer says Trump assaulted her in the '90s                      Washington Post 6/22/2019  229,475443
      P-3       Trump Repeatedly Denies Sexual Assault Claim by an Advice Columnist                New York Times   6/23/2019  454,861444
      P-4      Trump Calls His New Accuser a Liar And Says, 'No. 1, She's Not My Type'              New York Times  6/25/2019  454,861445
      P-5                            Trump says latest accuser is 'lying'                           Washington Post 6/25/2019  229,475446
      P-6        If this nation cared about sexual assault, Trump would not be president             Boston Globe   6/25/2019   92,515447
      P-7                         Don't ignore latest Trump rape allegation                           USA Today     6/25/2019  544,002448
      P-8     Why did the media downplay the latest sexual assault allegation against Trump?         The Guardian   6/25/2019      N/A
      P-9       Latest sex assault allegation against Trump draws muted political reaction          Washington Post 6/26/2019  229,475449
      P-10                              America, listen to Ms. Carroll                              Washington Post 6/26/2019  229,475450
      P-11               Latest sex allegation against Trump draws muted reaction                   Chicago Tribune 6/26/2019  149,093451
                                                                                                   TOTAL PRINT IMPRESSIONS      2,613,232




442
         I use “N/A” for publications for which I do not have circulation data.
443
         Audited Report for Washington Post (12 months ended September 30, 2019), Alliance for Audited Media.
444
         Audited Report for New York Times (12 months ended March 31, 2020), Alliance for Audited Media.
445
         Audited Report for New York Times (12 months ended March 31, 2020), Alliance for Audited Media.
446
         Audited Report for Washington Post (12 months ended September 30, 2019), Alliance for Audited Media.
447
         Audited Report for Boston Globe (12 months ended March 31, 2020), Alliance for Audited Media.
448
         Audited Report for USA Today (12 months ended December 31, 2019), Alliance for Audited Media.
449
         Audited Report for Washington Post (12 months ended September 30, 2019), Alliance for Audited Media.
450
         Audited Report for Washington Post (12 months ended September 30, 2019), Alliance for Audited Media.
451
         Audited Report for Chicago Tribune (12 months ended March 31, 2020), Alliance for Audited Media.



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APPENDIX H. EXAMPLES OF NEGATIVE COMMENTS AND POSTS ABOUT

                               MS. CARROLL


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  APPENDIX I. EXAMPLES OF DIRECT MESSAGES AND EMAILS TO MS.

                                 CARROLL


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                                                            APPENDIX J. IMPACT MODEL


                                                                                                                            Receptive          Receptive
                                                                   Percent           Impression         Impression
                            Percent       Receptive                                                                        Impressions        Impressions
 Category        No.                                              Receptive           Estimate           Estimate
                          Republican452 Republicans453                                                                      Estimate           Estimate
                                                                Republicans454        (Low)455           (High)456
                                                                                                                             (Low)457          (High)458
      Web       W-1                                                 25.45%              43,221             43,221             10,999            10,999
      Web       W-2           16.30%             76.00%             12.39%             959,756            959,756            118,895            118,895
      Web       W-3           14.80%             76.00%             11.25%             442,376            442,376             49,758            49,758
      Web       W-4           90.30%             76.00%             68.63%              74,505            74,505              51,131            51,131
      Web       W-5           21.00%             76.00%             15.96%             137,216            137,216             21,900            21,900
      Web       W-6           65.70%             76.00%             49.93%             109,494            109,494             54,673            54,673
      Web       W-7                                                 25.45%             315,557            315,557             80,301            80,301
      Web       W-8           22.40%             76.00%             17.02%             192,606            192,606             32,789            32,789
      Web       W-9                                                 25.45%             213,643            213,643             54,366            54,366
      Web       W-10                                                25.45%             181,243            181,243             46,122             46,122
      Web       W-11                                                25.45%             134,881            134,881             34,324             34,324
      Web       W-12          19.20%             76.00%             14.59%             405,296            405,296             59,141            59,141

452
       Percent of a publications’ audience that are Republican, based on data from Pew Research. Cell is empty when data for the relevant publication is not
       available.
453
       Republicans receptive to the claims (.76, YouGov). Cell is empty when Percent Republican data is not available for the relevant publication.
454
       Calculated using the following formula: Percent Republicans * Receptive Republicans. When Percent Republican data is not available, I rely on the
       average Percent Receptive Republicans (25.25%)
455
       The impressions estimate calculated in the Impressions Model. For social media posts, the high estimate is calculated using Equation 2a.
456
       The impressions estimate calculated in the Impressions Model. For social media posts, the low estimate is calculated using Equation 2b.
457
       Calculated using the following formula: Percent Republicans * Receptive Republicans * Impressions Estimate. If data related to Percent Republicans is
       not available, the equation is as follows: Average Percent Receptive Republicans (25.25%) * Impressions Estimate. The high receptive impressions
       estimate is based on the impressions estimate incorporating Equation 2a.
458
       Calculated using the following formula: Percent Republicans * Receptive Republicans * Impressions Estimate. If data related to Percent Republicans is
       not available, the equation is as follows: Average Percent Receptive Republicans (25.25%) * Impressions Estimate. The low Receptive Impressions
       Estimate is based on the impressions estimate incorporating Equation 2b.



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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
  Web      W-13     18.10%          76.00%          13.76%         768,450        768,450       105,708       105,708
  Web      W-14                                     25.45%         125,280        125,280        31,880        31,880
  Web      W-15                                     25.45%         128,148        128,148        32,610        32,610
  Web      W-16                                     25.45%          35,538         35,538         9,043         9,043
  Web      W-17     69.80%          76.00%          53.05%        1,180,942      1,180,942      626,466       626,466
  Web      W-18                                     25.45%         132,335        132,335        33,676        33,676
  Web      W-19                                     25.45%          62,222         62,222        15,834        15,834
  Web      W-20     31.50%          76.00%          23.94%          63,433         63,433        15,186        15,186
  Web      W-21                                     25.45%          94,530         94,530        24,055        24,055
  Web      W-22                                     25.45%         310,945        310,945        79,127        79,127
  Web      W-23                                     25.45%          54,717         54,717        13,924        13,924
  Web      W-24                                     25.45%         506,808        506,808       128,969       128,969
  Web      W-25                                     25.45%         218,105        218,105        55,502        55,502
  Web      W-26                                     25.45%          21,532         21,532         5,479         5,479
  Web      W-27                                     25.45%          56,933         56,933        14,488        14,488
  Web      W-28     34.90%          76.00%          26.52%         549,238        549,238       145,680       145,680
  Web      W-29     34.90%          76.00%          26.52%         144,930        144,930        38,441        38,441
  Web      W-30                                     25.45%         310,945        310,945        79,127        79,127
  Web      W-31     19.20%          76.00%          14.59%         405,296        405,296        59,141        59,141
  Web      W-32     18.10%          76.00%          13.76%         768,450        768,450       105,708       105,708
  Web      W-33     34.70%          76.00%          26.37%         228,704        228,704        60,314        60,314
  Web      W-34     16.30%          76.00%          12.39%         959,756        959,756       118,895       118,895
  Web      W-35                                     25.45%         249,818        249,818        63,572        63,572
  Web      W-36     32.10%          76.00%          24.40%         232,808        232,808        56,796        56,796
  Web      W-37                                     25.45%         128,148        128,148        32,610        32,610
  Web      W-38                                     25.45%         112,603        112,603        28,655        28,655
  Web      W-39                                     25.45%          43,424         43,424        11,050        11,050
  Web      W-40     90.30%          76.00%          68.63%          74,505         74,505        51,131        51,131


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
  Web      W-41                                     25.45%          62,222         62,222        15,834        15,834
  Web      W-42     14.80%          76.00%          11.25%         442,376        442,376        49,758        49,758
  Web      W-43     31.50%          76.00%          23.94%          63,433         63,433        15,186        15,186
  Web      W-44                                     25.45%         153,510        153,510        39,064        39,064
  Web      W-45     22.40%          76.00%          17.02%         192,606        192,606        32,789        32,789
  Web      W-46     22.40%          76.00%          17.02%          70,755         70,755        12,045        12,045
  Web      W-47                                     25.45%         135,980        135,980        34,603        34,603
  Web      W-48     34.90%          76.00%          26.52%         549,238        549,238       145,680       145,680
  Web      W-49                                     25.45%         310,945        310,945        79,127        79,127
  Web      W-50                                     25.45%          75,348         75,348        19,174        19,174
  Web      W-51                                     25.45%         108,951        108,951        27,725        27,725
  Web      W-52                                     25.45%          71,724         71,724        18,252        18,252
  Web      W-53                                     25.45%         506,808        506,808       128,969       128,969
 Social    S-1                                      25.45%         302,891         60,190        77,078        15,317
 Social    S-2      16.30%          76.00%          12.39%        1,517,403      7,622,861      187,976       944,320
 Social    S-3      90.30%          76.00%          68.63%          50,916         90,045        34,943        61,796
 Social    S-4      90.30%          76.00%          68.63%         111,412         98,107        76,460        67,329
 Social    S-5      90.30%          76.00%          68.63%          97,086         95,090        66,628        65,259
 Social    S-6      21.00%          76.00%          15.96%         605,662       2,809,916       96,664       448,463
 Social    S-7                                      25.45%         310,072       1,313,779       78,905       334,322
 Social    S-8      22.40%          76.00%          17.02%         501,872        717,229        85,439       122,101
 Social    S-9      22.40%          76.00%          17.02%         253,407        675,370        43,140       114,975
 Social    S-10     22.40%          76.00%          17.02%         214,427        671,886        36,504       114,382
 Social    S-11     22.40%          76.00%          17.02%         215,038        671,947        36,608       114,392
 Social    S-12                                     25.45%         268,022       1,097,721       68,205       279,341
 Social    S-13     18.10%          76.00%          13.76%         684,581       2,420,050       94,171       332,902
 Social    S-14                                     25.45%         104,961        311,247        26,710        79,204
 Social    S-15                                     25.45%         104,756        312,259        26,658        79,462


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
 Social    S-16                                     25.45%          97,870        311,264        24,905        79,208
 Social    S-17                                     25.45%          99,595        311,484        25,344        79,264
 Social    S-18                                     25.45%          95,355        311,129        24,265        79,174
 Social    S-19                                     25.45%          95,909        311,490        24,406        79,266
 Social    S-20                                     25.45%          92,734        311,006        23,598        79,143
 Social    S-21                                     25.45%          93,526        310,950        23,800        79,128
 Social    S-22                                     25.45%          88,022        310,946        22,399        79,128
 Social    S-23                                     25.45%          83,682        310,988        21,295        79,138
 Social    S-24                                     25.45%          88,166        310,981        22,436        79,136
 Social    S-25                                     25.45%          91,129        310,945        23,190        79,127
 Social    S-26                                     25.45%          83,601        310,967        21,274        79,133
 Social    S-27                                     25.45%         382,281       1,358,989       97,280       345,827
 Social    S-28                                     25.45%          90,034        395,492        22,911       100,642
 Social    S-29                                     25.45%         414,204       1,753,410      105,404       446,196
 Social    S-30                                     25.45%         930,727       4,415,878      236,845      1,123,723
 Social    S-31                                     25.45%        1,330,634      4,526,637      338,611      1,151,908
 Social    S-32                                     25.45%          38,345         37,335         9,758         9,501
 Social    S-33     23.10%          76.00%          17.56%         183,730        583,066        32,256       102,363
 Social    S-34                                     25.45%         383,118       1,359,220       97,493       345,885
 Social    S-35     19.20%          76.00%          14.59%         138,523        502,881        20,213        73,380
 Social    S-36     18.10%          76.00%          13.76%         744,815       2,423,097      102,457       333,321
 Social    S-37     18.10%          76.00%          13.76%         813,052       2,440,919      111,843       335,773
 Social    S-38     16.30%          76.00%          12.39%        1,495,243      7,625,871      185,231       944,693
 Social    S-39                                     25.45%          91,591        215,150        23,308        54,750
 Social    S-40     32.10%          76.00%          24.40%         207,974        577,660        50,737       140,926
 Social    S-41     32.10%          76.00%          24.40%         256,624        591,307        62,606       144,255
 Social    S-42     32.10%          76.00%          24.40%         174,036        576,283        42,458       140,590
 Social    S-43     32.10%          76.00%          24.40%         152,682        576,071        37,248       140,538


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
 Social    S-44     90.30%          76.00%          68.63%          63,413         91,367        43,519        62,703
 Social    S-45     90.30%          76.00%          68.63%          38,068         89,218        26,125        61,229
 Social    S-46     14.80%          76.00%          11.25%         615,996       2,009,856       69,287       226,069
 Social    S-47     22.40%          76.00%          17.02%         242,492        678,966        41,282       115,587
 Social    S-48                                     25.45%          30,111         49,130         7,662        12,502
 Social    S-49     34.90%          76.00%          26.52%         183,849        666,751        48,764       176,849
 Social    S-50                                     25.45%          75,654        247,243        19,252        62,917
 Social    S-51                                     25.45%          68,828        227,745        17,515        57,955
 Social    S-52                                     25.45%          65,717        227,842        16,723        57,980
 Social    S-53                                     25.45%          67,356        227,764        17,140        57,960
 Social    S-54                                     25.45%         471,389       1,754,697      119,956       446,524
 Social    S-55                                     25.45%        1,116,377      4,420,345      284,088      1,124,860
  Print    P-1                                                                       0              0            0
  Print    P-2      18.10%          76.00%          13.76%         229,475        229,475        31,567        31,567
  Print    P-3      16.30%          76.00%          12.39%         454,861        454,861        56,348        56,348
  Print    P-4      16.30%          76.00%          12.39%         454,861        454,861        56,348        56,348
  Print    P-5      18.10%          76.00%          13.76%         229,475        229,475        31,567        31,567
  Print    P-6                                      25.45%          92,515         92,515        23,543        23,543
  Print    P-7      34.90%          76.00%          26.52%         544,002        544,002       144,291       144,291
  Print    P-9      18.10%          76.00%          13.76%         229,475        229,475        31,567        31,567
  Print    P-8                                                                       0              0            0
  Print    P-10     18.10%          76.00%          13.76%         229,475        229,475        31,567        31,567
  Print    P-11                                     25.45%         149,093        149,093        37,940        37,940
   TV      T-1      34.70%          76.00%          26.37%        9,390,000      9,390,000     2,476,331     2,476,331
   TV      T-2      34.70%          76.00%          26.37%        9,390,000      9,390,000     2,476,331     2,476,331
   TV      T-3      20.50%          76.00%          15.58%        1,552,000      1,552,000      241,802       241,802
   TV      T-4      69.80%          76.00%          53.05%        1,401,000      1,401,000      743,202       743,202
   TV      T-5      23.60%          76.00%          17.94%         877,000        877,000       157,299       157,299


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
  TV       T-7      23.60%          76.00%          17.94%         877,000        877,000       157,299       157,299
  TV       T-8                                                                       0             0             0
  TV       T-9      20.50%          76.00%          15.58%         839,000        839,000       130,716       130,716
  TV       T-10     20.50%          76.00%          15.58%         839,000        839,000       130,716       130,716
  TV       T-11     23.60%          76.00%          17.94%         534,000        534,000        95,778        95,778
  TV       T-12     69.80%          76.00%          53.05%        1,401,000      1,401,000      743,202       743,202
  TV       T-13     33.70%          76.00%          25.61%        5,863,000      5,863,000     1,501,632     1,501,632
  TV       T-14     33.70%          76.00%          25.61%        5,863,000      5,863,000     1,501,632     1,501,632
  TV       T-15     33.70%          76.00%          25.61%        2,986,000      2,986,000      764,774       764,774
  TV       T-16     33.70%          76.00%          25.61%        2,700,000      2,700,000      691,524       691,524
  TV       T-17     33.70%          76.00%          25.61%        2,700,000      2,700,000      691,524       691,524
  TV       T-18     23.60%          76.00%          17.94%         628,000        628,000       112,638       112,638
  TV       T-19                                                                      0             0             0
  TV       T-20                                                                      0             0             0
  TV       T-21     23.60%          76.00%          17.94%         534,000        534,000        95,778        95,778
  TV       T-22                                                                      0             0             0
  TV       T-23     23.60%          76.00%          17.94%         534,000        534,000        95,778        95,778
  TV       T-24                                                                      0             0             0
  TV       T-25     23.60%          76.00%          17.94%         833,000        833,000       149,407       149,407
  TV       T-26                                                                      0             0             0
  TV       T-27     23.60%          76.00%          17.94%         833,000        833,000       149,407       149,407
  TV       T-28     23.60%          76.00%          17.94%         936,000        936,000       167,881       167,881
  TV       T-29     23.60%          76.00%          17.94%         936,000        936,000       167,881       167,881
  TV       T-30                                                                      0             0             0
  TV       T-31     20.50%          76.00%          15.58%        1,378,000      1,378,000      214,692       214,692
  TV       T-32     23.60%          76.00%          17.94%         534,000        534,000        95,778        95,778
  TV       T-33     20.50%          76.00%          15.58%         385,000        385,000        59,983        59,983
  TV       T-34     20.50%          76.00%          15.58%         385,000        385,000        59,983        59,983


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                 Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457     (High)458
  TV       T-35     34.70%          76.00%          26.37%        3,920,000      3,920,000     1,033,782     1,033,782
  TV       T-36     33.70%          76.00%          25.61%        5,468,000      5,468,000     1,400,464     1,400,464
  TV       T-37     69.80%          76.00%          53.05%        1,401,000      1,401,000      743,202       743,202
  TV       T-38     31.00%          76.00%          23.56%        1,293,000      1,293,000      304,631       304,631
  TV       T-39     20.50%          76.00%          15.58%        1,033,000      1,033,000      160,941       160,941
  TV       T-40     20.50%          76.00%          15.58%        1,033,000      1,033,000      160,941       160,941
  TV       T-41     20.50%          76.00%          15.58%         800,000        800,000       124,640       124,640
  TV       T-42     20.50%          76.00%          15.58%         887,000        887,000       138,195       138,195
  TV       T-43     20.50%          76.00%          15.58%         984,000        984,000       153,307       153,307
  TV       T-44     31.00%          76.00%          23.56%        6,769,000      6,769,000     1,594,776     1,594,776
  TV       T-45     31.00%          76.00%          23.56%        6,769,000      6,769,000     1,594,776     1,594,776
  TV       T-46     23.60%          76.00%          17.94%         534,000        534,000        95,778        95,778
  TV       T-47                                                                      0             0             0
  TV       T-48                                                                      0             0             0
  TV       T-49     23.60%          76.00%          17.94%         460,000        460,000        82,506        82,506
  TV       T-50                                                                      0             0             0
  TV       T-51                                                                      0             0             0
  TV       T-52     23.60%          76.00%          17.94%         460,000        460,000        82,506        82,506
  TV       T-53     23.60%          76.00%          17.94%         168,000        168,000        30,132        30,132
  TV       T-54     20.50%          76.00%          15.58%        2,010,000      2,010,000      313,158       313,158
  TV       T-55     20.50%          76.00%          15.58%        2,010,000      2,010,000      313,158       313,158
  TV       T-56     33.70%          76.00%          25.61%        3,800,000      3,800,000      973,256       973,256
  TV       T-57     20.50%          76.00%          15.58%        2,561,000      2,561,000      399,004       399,004
  TV       T-58     20.50%          76.00%          15.58%        2,561,000      2,561,000      399,004       399,004
  TV       T-59     69.80%          76.00%          53.05%        1,401,000      1,401,000      743,202       743,202
  TV       T-60     69.80%          76.00%          53.05%        1,401,000      1,401,000      743,202       743,202
  TV       T-61     20.50%          76.00%          15.58%         900,000        900,000       140,220       140,220
  TV       T-62     20.50%          76.00%          15.58%         900,000        900,000       140,220       140,220


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                                                                                               Receptive     Receptive
                                                    Percent       Impression     Impression
                    Percent       Receptive                                                   Impressions   Impressions
Category   No.              452                    Receptive       Estimate       Estimate
                  Republican    Republicans453                                                  Estimate      Estimate
                                                 Republicans454    (Low)455       (High)456
                                                                                                (Low)457      (High)458
  TV       T-63     34.70%          76.00%          26.37%     3,929,000   3,929,000           1,036,156     1,036,156
                                             TOTAL RECEPTIVE IMPRESSIONS (LOW/HIGH)            34,075,512    42,936,354




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                                                           APPENDIX K. DAMAGES MODEL


High Impression Estimate, 1x Attitude Change Multiplier

Impression Target:459 42,936,354
Attitude Change Multiplier: 1x
Impression Rate: 5%
Bounce Rate: 90%
                                                                                      Target            Adjusted         CPM (per 1,000
      Ad Category                    Media Type                     Weight460                                                                  Total Cost463
                                                                                  Impressions461     Impressions462       impressions)
                             Twitter Promoted Tweets                 6.50%          2,790,863          2,790,863            $6.46464            $18,028.98
         Native
                       Facebook Native Ads - Promoted Posts           6.50%          2,790,863          2,790,863           $14.40465           $40,188.43
                               Web Blog Influencer                    5.00%          2,146,818         21,468,177           $60.00466         $1,288,090.62
                                 Twitter Influencer                   7.00%          3,005,545         60,110,896           $2.00467           $120,221.79
       Influencer
                               Facebook Influencer                    7.00%          3,005,545         60,110,896           $25.00468         $1,502,772.39
                               YouTube Influencer                     4.60%          1,975,072         39,501,446           $20.00469          $790,028.91
                        Broadcast TV (Excluding Primetime)           29.60%         12,709,161         12,709,161           $16.00470          $203,346.57
                         Cable TV (Excluding Primetime)              21.30%          9,145,443          9,145,443           $10.00471           $91,454.43
       Traditional                   Podcasts                        5.00%          2,146,818           2,146,818           $19.00472           $40,789.54
                                       Radio                          4.10%          1,760,391          1,760,391            $4.00473           $7,041.56
                                 Print newspapers                     3.40%          1,459,836          1,459,836           $67.00474           $97,809.01
                                       Total                        100.00%         42,936,354                                                $4,199,772.24




459
         The impressions estimate from the Impressions Model.
460
         The percentage of impressions allocated to different media types. Allocations based on Trump supporters most common way of getting political and
         election news.
463
         Calculated using the following formula: (Adjusted Impressions / 1000) * CPM.




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462
      The number of impressions allocated to the media type, taking into account the impression rate for Twitter, Facebook, and YouTube influencers and the
      bounce rate for web blog influencers. For all other media types the Adjusted Impressions are the same as the Target Impressions.
463
      Calculated using the following formula: (Adjusted Impressions / 1000) * CPM.
464
      https://blog.hootsuite.com/twitter-statistics/
465
      https://www.wordstream.com/blog/ws/2021/07/12/facebook-ads-cost
466
      https://www.webfx.com/social-media/pricing/influencer-marketing/
467
      https://www.webfx.com/social-media/pricing/influencer-marketing/
468
      https://www.webfx.com/social-media/pricing/influencer-marketing/
469
      https://www.webfx.com/social-media/pricing/influencer-marketing/
470
      https://oaaa.org/Portals/0/2022_01%20Solomon%27s%20US%20Major%20Media%20CPM%20ComparisonvOAAA.pdf
471
      https://oaaa.org/Portals/0/2022_01%20Solomon%27s%20US%20Major%20Media%20CPM%20ComparisonvOAAA.pdf
472
      https://oaaa.org/Portals/0/2022_01%20Solomon%27s%20US%20Major%20Media%20CPM%20ComparisonvOAAA.pdf
473
      https://oaaa.org/Portals/0/2022_01%20Solomon%27s%20US%20Major%20Media%20CPM%20ComparisonvOAAA.pdf
474
      https://www.gaebler.com/Washington+Examiner-DC-Newspaper-Advertising-Costs++12549



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High Impression Estimate, 3x Attitude Change Multiplier

Impression Target: 42,936,354
Attitude Change Multiplier: 3x
Impression Rate: 5%
Bounce Rate: 90%
                                                                     Target       Adjusted    CPM (per 1,000
 Ad Category                 Media Type                 Weight                                                  Total Cost
                                                                  Impressions   Impressions    impressions)
     Native            Twitter Promoted Tweets            6.50%     8,372,589     8,372,589       $6.46          $54,086.93
                 Facebook Native Ads - Promoted Posts     6.50%     8,372,589     8,372,589      $14.40         $120,565.28
                         Web Blog Influencer             5.00%     6,440,453     64,404,531      $60.00        $3,864,271.86
   Influencer              Twitter Influencer            7.00%     9,016,634    180,332,687       $2.00         $360,665.37
                         Facebook Influencer             7.00%     9,016,634    180,332,687      $25.00        $4,508,317.17
                         YouTube Influencer              4.60%     5,925,217    118,504,337      $20.00        $2,370,086.74
                  Broadcast TV (Excluding Primetime)     29.60%    38,127,482    38,127,482      $16.00         $610,039.72
                   Cable TV (Excluding Primetime)        21.30%    27,436,330    27,436,330      $10.00         $274,363.30
   Traditional
                               Podcasts                  5.00%     6,440,453      6,440,453      $19.00         $122,368.61
                                 Radio                    4.10%     5,281,172     5,281,172       $4.00          $21,124.69
                           Print newspapers               3.40%     4,379,508     4,379,508      $67.00         $293,427.04
                                 Total                  100.00%   128,809,062                                  $12,599,316.71




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High Impression Estimate, 5x Attitude Change Multiplier

Impression Target: 42,936,354
Attitude Change Multiplier: 5x
Impression Rate: 5%
Bounce Rate: 90%
                                                                     Target       Adjusted    CPM (per 1,000
 Ad Category                 Media Type                 Weight                                                  Total Cost
                                                                  Impressions   Impressions    impressions)
     Native            Twitter Promoted Tweets            6.50%    13,954,315    13,954,315       $6.46          $90,144.88
                 Facebook Native Ads - Promoted Posts     6.50%    13,954,315    13,954,315      $14.40         $200,942.14
                         Web Blog Influencer             5.00%     10,734,089   107,340,885      $60.00        $6,440,453.10
   Influencer              Twitter Influencer            7.00%     15,027,724   300,554,478       $2.00         $601,108.96
                         Facebook Influencer             7.00%     15,027,724   300,554,478      $25.00        $7,513,861.95
                         YouTube Influencer              4.60%      9,875,361   197,507,228      $20.00        $3,950,144.57
                  Broadcast TV (Excluding Primetime)     29.60%    63,545,804    63,545,804      $16.00        $1,016,732.86
                   Cable TV (Excluding Primetime)        21.30%    45,727,217    45,727,217      $10.00         $457,272.17
   Traditional
                               Podcasts                   5.00%    10,734,089    10,734,089      $19.00         $203,947.68
                                 Radio                    4.10%     8,801,953     8,801,953       $4.00          $35,207.81
                           Print newspapers               3.40%     7,299,180     7,299,180      $67.00         $489,045.07
                                 Total                  100.00%   214,681,770                                  $20,998,861.18




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Low Impression Estimate, 1x Attitude Change Multiplier

Impression Target: 34,075,512
Attitude Change Multiplier: 1x
Impression Rate: 5%
Bounce Rate: 90%
                                                                     Target       Adjusted    CPM (per 1,000
 Ad Category                 Media Type                  Weight                                                 Total Cost
                                                                  Impressions   Impressions    impressions)
     Native            Twitter Promoted Tweets            6.50%     2,214,908     2,214,908       $6.46          $14,308.31
                 Facebook Native Ads - Promoted Posts     6.50%     2,214,908     2,214,908      $14.40          $31,894.68
                         Web Blog Influencer             5.00%     1,703,776     17,037,756      $60.00        $1,022,265.36
   Influencer              Twitter Influencer            7.00%     2,385,286     47,705,717       $2.00          $95,411.43
                         Facebook Influencer             7.00%     2,385,286     47,705,717      $25.00        $1,192,642.92
                         YouTube Influencer              4.60%     1,567,474     31,349,471      $20.00         $626,989.42
                  Broadcast TV (Excluding Primetime)     29.60%    10,086,352    10,086,352      $16.00         $161,381.62
                   Cable TV (Excluding Primetime)        21.30%     7,258,084     7,258,084      $10.00          $72,580.84
   Traditional
                               Podcasts                  5.00%     1,703,776      1,703,776      $19.00          $32,371.74
                                 Radio                   4.10%      1,397,096     1,397,096       $4.00           $5,588.38
                           Print newspapers               3.40%     1,158,567     1,158,567      $67.00          $77,624.02
                                 Total                  100.00%    34,075,512                                  $3,333,058.72




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Low Impression Estimate, 3x Attitude Change Multiplier

Impression Target: 34,075,512
Attitude Change Multiplier: 3x
Impression Rate: 5%
Bounce Rate: 90%
                                                                     Target       Adjusted    CPM (per 1,000
 Ad Category                 Media Type                  Weight                                                 Total Cost
                                                                  Impressions   Impressions    impressions)
     Native            Twitter Promoted Tweets            6.50%     6,644,725     6,644,725       $6.46          $42,924.92
                 Facebook Native Ads - Promoted Posts     6.50%     6,644,725     6,644,725      $14.40          $95,684.04
                         Web Blog Influencer             5.00%     5,111,327     51,113,268      $60.00        $3,066,796.08
   Influencer              Twitter Influencer            7.00%     7,155,858    143,117,150       $2.00         $286,234.30
                         Facebook Influencer             7.00%     7,155,858    143,117,150      $25.00        $3,577,928.76
                         YouTube Influencer              4.60%     4,702,421     94,048,413      $20.00        $1,880,968.26
                  Broadcast TV (Excluding Primetime)     29.60%    30,259,055    30,259,055      $16.00         $484,144.87
                   Cable TV (Excluding Primetime)        21.30%    21,774,252    21,774,252      $10.00         $217,742.52
   Traditional
                               Podcasts                  5.00%     5,111,327      5,111,327      $19.00          $97,115.21
                                 Radio                    4.10%     4,191,288     4,191,288       $4.00          $16,765.15
                           Print newspapers               3.40%     3,475,702     3,475,702      $67.00         $232,872.05
                                 Total                  100.00%   102,226,536                                  $9,999,176.17




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Low Impression Estimate, 5x Attitude Change Multiplier

Impression Target: 34,075,512
Attitude Change Multiplier: 5x
Impression Rate: 5%
Bounce Rate: 90%
                                                                       Target         Adjusted    CPM (per 1,000
 Ad Category                 Media Type                  Weight                                                     Total Cost
                                                                    Impressions     Impressions    impressions)
     Native            Twitter Promoted Tweets             6.50%     11,074,541      11,074,541       $6.46          $71,541.54
                 Facebook Native Ads - Promoted Posts      6.50%     11,074,541      11,074,541      $14.40         $159,473.40
                         Web Blog Influencer              5.00%      8,518,878       85,188,780      $60.00        $5,111,326.80
   Influencer              Twitter Influencer             7.00%      11,926,429     238,528,584       $2.00         $477,057.17
                         Facebook Influencer              7.00%      11,926,429     238,528,584      $25.00        $5,963,214.60
                         YouTube Influencer               4.60%       7,837,368     156,747,355      $20.00        $3,134,947.10
                  Broadcast TV (Excluding Primetime)      29.60%     50,431,758      50,431,758      $16.00         $806,908.12
                   Cable TV (Excluding Primetime)         21.30%     36,290,420      36,290,420      $10.00         $362,904.20
   Traditional
                               Podcasts                   5.00%      8,518,878        8,518,878      $19.00         $161,858.68
                                 Radio                     4.10%      6,985,480       6,985,480       $4.00          $27,941.92
                           Print newspapers                3.40%      5,792,837       5,792,837      $67.00         $388,120.08
                                 Total                   100.00%    170,377,560                                    $16,665,293.62


Summary of Calculated Damages:

     Attitude Change
                                 1x                 3x                  5x
        Multiplier
     Low Receptive
                            $3,333,058.72      $9,999,176.17       $16,665,293.62
   Impression Estimate
     High Receptive
                            $4,199,772.24     $12,599,316.71       $20,998,861.18
   Impression Estimate




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                     APPENDIX L. LIST OF CONSERVATIVE STEPS TAKEN


                                         IMPRESSIONS MODEL

                                                       Online news impressions are limited to the
                                                        articles cited in the Complaint. I did not count
                                                        other online news articles that covered or
                                                        discussed the Statements.


                                                       Further, some of the articles from the
                                                        Complaint were authored by the Associated
      Online News Articles Considered
                                                        Press and Reuters.475 It is likely that identical
                                                        (or very similar) versions of these articles
                                                        appeared in multiple publications. For instance,
                                                        the June 25, 2019 Hollywood Reporter article,
                                                        titled “Trump on E. Jean Carroll Sexual Assault
                                                        Claim: ‘She’s Not My Type,’” appeared in at
                                                        least 20 additional publications.476 Further, the
                                                        June 22, 2019 Associated press article, titled
                                                        “Trump Denies Knowing NY Woman Accusing

475
        The analysis incorporates two versions of the same Reuters article: Doina Chiacu, Trump Denies Woman’s
        Sexual Assault Accusation: “She’s Not My Type”, BUS. INSIDER (June 25, 2019); and Doina Chiacu,
        Trump Denies Woman’s Sexual Assault Accusation: “She’s Not My Type”, REUTERS (June 25, 2019).
476
        https://www.pbs.org/newshour/politics/trump-says-woman-who-accused-him-of-sexual-assault-is-not-his-
        type; https://www.insider.com/trump-woman-who-accused-him-of-sexual-assault-not-his-type-2019-6;
        https://abcnews.go.com/Politics/wireStory/trump-woman-accused-sexual-assault-type-63921054;
        https://www.localsyr.com/news/politics/trump-woman-who-accused-him-of-sexual-assault-not-his-type/;
        https://libn.com/2019/06/25/trump-says-woman-accusing-him-of-sexual-assault-not-my-type;
        https://www.ksbw.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-author-in-
        store/28180018#; https://www.abqjournal.com/1332620/trump-woman-who-accused-him-of-sexual-assault-
        not-his-type.html; https://lasvegassun.com/news/2019/jun/24/trump-woman-who-accused-him-of-sexual-
        assault-not/; https://www.deseret.com/2019/6/24/20676380/trump-woman-who-accused-him-of-sexual-
        assault-not-his-type; https://wjla.com/news/nation-world/trump-woman-who-accused-him-of-sexual-assault-
        not-his-type; https://www.kcci.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-
        author-in-store/28180018; https://www.wvtm13.com/article/shes-not-my-type-president-trump-denies-
        sexually-assaulting-author-in-store/28180018#; https://www.theguardian.com/us-news/2019/jun/25/donald-
        trump-says-assault-accuser-e-jean-carroll-not-my-type; https://www.fox35orlando.com/news/trump-said-
        woman-who-accused-him-of-sexual-assault-not-his-type.amp; https://www.abc27.com/news/us-
        world/politics/trump-woman-who-accused-him-of-sexual-assault-not-his-type/;
        https://www.wtae.com/article/shes-not-my-type-president-trump-denies-sexually-assaulting-author-in-
        store/28180018#; https://www.kmbc.com/article/shes-not-my-type-president-trump-denies-sexually-
        assaulting-author-in-store/28180018#; https://www.kcra.com/article/shes-not-my-type-president-trump-
        denies-sexually-assaulting-author-in-store/28180018#; https://www.nbcboston.com/news/politics/trump-e-
        jean-carroll/108391/; and https://www.necn.com/news/local/trump-e-jean-carroll/220418/.



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                                                     Him of Sexual Assault” appeared in at least 7
                                                     additional publications. 477
                                                    I limited social media impressions to those
                                                     generated from Tweets published by the
                                                     primary account of the publisher or the article
                                                     author. I did not consider, for example, retweets
                                                     of quote tweets, any tweets from other
                                                     publishers of stories covering Mr. Trump’s
                                                     Statements, tweets from users who shared links
                                                     to the 52 articles (or other articles containing
      Social Media Posts Considered                  the Statements), or tweets in which users
                                                     repeated or otherwise amplified the Statements.


                                                    Additionally, due to the opacity of other
                                                     platforms, I do not account for impressions
                                                     generated on any other social media platform,
                                                     despite there being evidence the articles
                                                     considered in the impressions analysis were
                                                     spread widely online.
                                                    When identifying print articles, I limited the
                                                     analysis to publications that published an online
                                                     news article that was cited in the Complaint.


                                                    The 11 articles I found are an undercount of all
        Print Articles Considered
                                                     print articles published that covered the
                                                     Statements. I was able to find 33 print articles
                                                     via ProQuest published between June 22, 2019,
                                                     and September 28, 2022, that referenced the
                                                     Statements. 478 None of these articles
                                                     overlapped with the 14 articles I considered in
                                                     my analysis.

477
       https://www.marketwatch.com/story/new-york-advice-columnist-claims-trump-sexually-assaulted-her-in-
       mid-1990s-2019-06-22; https://www.gazettenet.com/Carroll-26480259; https://www.usnews.com/news/best-
       states/new-york/articles/2019-06-21/trump-faces-new-sexual-assault-allegation-he-issues-
       denial?context=amp; https://www.pressherald.com/2019/06/23/trump-denies-knowing-ny-woman-accusing-
       him-of-sexual-assault/; https://www.ksl.com/article/46579012/trump-denies-knowing-ny-woman-accusing-
       him-of-sexual-assault; https://www.courthousenews.com/trump-denies-knowing-ny-woman-accusing-him-of-
       sexual-assault/; and https://www.wwltv.com/article/news/trump-issues-denial-after-new-sexual-assault-
       allegation/507-33064ca1-b511-40e2-bbe2-57e7d672fc9f.
478
       Proquest search query of US Newstream: (e jean carroll) AND (stype.exact(“Newspapers”) AND
       ps.exact(“Carroll, E Jean”))



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                                                       Only 9 of the 11 articles I found contributed to
                                                        the impressions estimate as I was unable to find
                                                        publicly available circulation for all 11 articles.
                                                       I only considered TV broadcasts contained in
                                                        the Internet Archive’s TV News Archive
                                                        database from the following broadcasters: ABC,
                                                        Fox, NBC, MSNBC, CBS, and CNN.


                                                       Among the broadcasts I found on the TV News
                                                        Archive, I only included broadcasts that
                                                        included direct quotes from the Statements.
                                                        Broadcasts that only included paraphrases of
                                                        the Statements were not included. For example,
         TV Broadcasts Considered
                                                        The Tucker Carlson Show (ratings: 2,822,000)
                                                        covered the issue for 12 minutes on June 25,
                                                        2019, but I did not include it.


                                                       I only counted ratings for a particular program
                                                        once in a day, even if a program was aired
                                                        multiple times in day. I also did not consider
                                                        the number of times a Statement was mentioned
                                                        during a broadcast, even though multiple
                                                        mentions of a Statement generate multiple
                                                        impressions.
                                                       I did not include impressions generated from
                                                        podcasts or radio broadcasts that covered the
                                                        Statements. There is anecdotal evidence that
      Other Sources of Impressions Not                  these claims were discussed on popular
                                                        podcasts.479
                 Considered

                                                       I did not include impressions generated from
                                                        people who were exposed to the Statements in
                                                        article headlines while browsing Google News,

479
        See, for example, the June 27, 2019 broadcast of The Daily (https://www.listennotes.com/podcasts/the-
        daily/corroborating-e-jean-carroll-PfFq5DHZoag/) and two June 26, 2019 broadcasts of The Kevin Jackson
        Show (https://www.listennotes.com/podcasts/the-kevin-jackson/20190626-h1-s1-e-jean-FQEPcIrl3Rk/;
        https://www.listennotes.com/podcasts/the-kevin-jackson/20190626-h1-s2-e-jean-4OxWMCNKko_/)



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                                           Apple News, or other news aggregating
                                           applications.


                                       
                                   I did not consider the impact of word-of-mouth
                                   on the transmission of the Statements.
                                  Since tweets are seen only by a subset of a
                                   user’s followers, I incorporated an impression
                                   rate into the impressions model. When selecting
                                   an impression estimate, I relied on a model
    Social Media Impression
                                   developed by information scientists who relied
                                   on data collected from Buzzfeed’s accounts.
           Calculation
                                   Using their model, I relied on Buzzfeed’s
                                   impression rate as the high end for impression
                                   rates despite the fact Buzzfeed is less prominent
                                   than many of the sources included in my
                                   impression calculation.
                                  I incorporated a website’s bounce rate when
                                   calculating online news impressions to exclude
    Online News Impressions        users who navigated to a website without
                                   performing any actions. Nonetheless, it’s
           Calculation             possible that users could have navigated
                                   directly to the relevant article on the website
                                   and been exposed the Statement without taking
                                   any additional actions.
                       QUANTITATIVE IMPACT MODEL

                                          Any impression generated that linked Ms.
                                           Carroll’s person brand with the content of the
                                           Statements is harmful. Person brands need to be
                                           protected and any information that connects a
                                           person brand to ‘lying’ and other negative
Negative Associations are Harmful          information is harmful, even if the person’s fans
                                           or followers do not believe the claims.
                                           Nonetheless, I limited my estimate of the
                                           quantitative impact to potential readers and
                                           viewers who identify as Trump supporters
                                           and/or are Republicans who may find Trump’s
                                           Statements credible.
 Limited Set of Impressions as an         The impact model relies on the impressions
                                           estimate and therefore does not account for the
              Input                        impact associated with impressions generated
                                           from additional online and print articles, TV


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                                         broadcasts, and social media posts covering the
                                         Statements.
                                   DAMAGES MODEL

                                            The damages model also relies on the impact
                                             model and therefore does not account for
                                             impressions generated by additional online and
                                             print articles, TV broadcasts, and social media
                                             posts that covered the Statements.
Impressions and Impact as Inputs

                                            The damages model also relies on the impact
                                             model and therefore is limited to the costs
                                             needed to repair the impressions generated by
                                             people who are likely to be receptive to the
                                             Statements.
                                            The damages model does not incorporate the
       Production Costs
                                             production and operating costs associated with
                                             running the campaign.
                                            When calculating damages, I included attitude
                                             change multipliers (1x, 3x, and 5x) to account
                                             for the fact that it takes multiple impressions to
                                             change an attitude. I estimate that 3 exposures
                                             would be most appropriate.
  Attitude Change Multiplier                I incorporated the 1x attitude change multiplier
                                             to account for the fact that the same person may
                                             have been exposed to multiple impressions.
                                             Empirical data suggests that a multiplier of 1 is
                                             overly conservative, especially because Mr.
                                             Trump’s supporters are more likely to use only
                                             one news source.




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